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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO.:
  THE CITY OF CORAL GABLES
        Plaintiff,                               COMPLAINT AND
  v.                                             JURY DEMAND
  PURDUE PHARMA L.P.; PURDUE
  PHARMA, INC.; THE PURDUE
  FREDERICK COMPANY INC.;
  JOHNSON & JOHNSON; JANSSEN
  PHARMACEUTICALS, INC.; ORTHO-
  MCNEIL-JANSSEN
  PHARMACEUTICALS, INC. n/k/a
  JANSSEN PHARMACEUTICALS,
  INC.; JANSSEN PHARMACEUTICA,
  INC. n/k/a JANSSEN
  PHARMACEUTICALS, INC.; ENDO
  HEALTH SOLUTIONS INC.; ENDO
  PHARMACEUTICALS, INC.; TEVA
  PHARMACEUTICALS USA, INC.;
  CEPHALON, INC.; INSYS
  THERAPEUTICS; MALLINCKRODT,
  LLC; MCKESSON CORPORATION;
  CARDINAL HEALTH, INC.;
  AMERISOURCEBERGEN DRUG
  CORPORATION; and WALGREENS
  BOOTS ALLIANCE,


        Defendants.
                                  /


          COMPLAINT FOR: (1) VIOLATION OF THE FLORIDA DECEPTIVE
            AND UNFAIR TRADE PRACTICES ACT; (2) PUBLIC NUISANCE;
        (3) NEGLIGENCE; (4) UNJUST ENRICHMENT; AND (5) VIOLATION OF
       THE RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
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  I.     INTRODUCTION.

         1.      “I’d like to begin with a quote by Primo Levi, a concentration camp survivor,

  physician, and philosopher, which I believe should be the banner for all people living with pain. ‘If

  we know that pain and suffering can be alleviated and we do nothing about it, we, ourselves, are

  tormentors.’” 1 This from a September 16, 2003 article titled Breakthrough Pain: Treatment

  Rationale With Opioids, written by Michael J. Bennet, M.D. Throughout the article, the pain

  management doctor advocates for a proactive approach when prescribing opioids, and affectionately

  styles fentanyl, an opioid designed for terminal cancer patients, as a just one of several such drugs

  that he would consider prescribing for anyone with “chronic pain,” defined as “pain persisting in

  duration of 6 months or greater.”2

         2.      Primo Levi also wrote: “Monsters exist, but they are too few in number to be truly

  dangerous. More dangerous are … the functionaries ready to believe and act without asking

  questions.”3

         3.      In the late 1990s, healthcare providers began prescribing opioids to treat chronic pain

  (unrelated cancer), such as arthritis and back pain. 4 Over the following decades, “more opioid

  prescriptions were written, for more days per prescription, in higher doses.”5 In 2015, “the amount

  of opioids prescribed was enough for every American to be medicated around the clock for 3

  weeks.”6



  1
     Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,
  http://www.medscape.org/viewarticle/461612 (last visited June 7, 2018).
  2
    Id.
  3
    Primo Levi, If This is a Man Afterward (trans. The Orion Press, 1959).
  4
        Centers     for     Disease    Control      and    Prevention,     Opioid Prescribing,
  https://www.cdc.gov/vitalsigns/opioids/index.html.
  5
    Id.
  6
        Centers     for     Disease    Control      and    Prevention,     Opioid Prescribing,
  https://www.cdc.gov/vitalsigns/opioids/infographic.html.

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          4.      Between 2010 and 2012, Floridians received over 80 opioid prescriptions per 100

  people.7 In 2016, despite the rising epidemic and growing awareness of the dangers of opioid abuse,

  Florida healthcare providers continued to write approximately 66.5 prescriptions for opioids per 100

  people.8

          5.      In 2014, more than 47,000 people died in the United States from lethal drug

  overdoses. In 2015, that number exceeded 52,000,9 more deaths than caused by car crashes and gun

  homicides combined. According to the Centers for Disease Control and Prevention, opioids are

  involved in more than six out of every 10 drug overdose deaths and, since 1999, the rate of overdose

  deaths has nearly quadrupled to over 165,000 deaths from prescription opioid overdoses.10

          6.      Opioids have caused thousands of deaths in Florida in the past several years. In 2016,

  for example, fentanyl caused 1,390 deaths, heroin caused 952 deaths, oxycodone caused 723 deaths,

  and hydrocodone caused 245 deaths.11 Eight of out ten heroin addicts started with a prescription

  opiate, a pain pill.12


  7
      Centers for Disease Control and Prevention, U.S.                    Prescribing    Rate    Maps,
  https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
  8
   Matrix Global Advisors, LLC, Health Care Costs from Opioid Abuse: A State-By State Analysis,
  (April                           2015),                             https://drugfree.org/wp-
  content/uploads/2015/04/Matrix_OpioidAbuse_040415.pdf.
  9
   Rose A. Rudd, et al., Increases in Drug and Opioid-Involved Overdose Deaths – United States,
  2010-2015,    65     Morbidity      &    Mortality   Weekly     Report   1445-52     (2016),
  https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm (hereinafter “Rudd, Increases in
  Drug and Opioid-Involved Overdose”).
  10
     Ferriera, Christopher, County Commission Extends Opioid Task Force, (April 11, 2018),
  http://www.miamidade.gov/district13/Releases/2018-04-11-opioid-task-force-extension.asp.
  11
      Gov. Scott Signs Bill to Combat Opioids Crisis, WLRN,                        (Mar. 19, 2018),
  http://wlrn.org/post/gov-scott-signs-bill-combat-opioids-crisis.

  12
    Payne, Kate. Lawmakers Try to Slow State’s Opioid Crisis, WUSF Public Media, (Mar. 20,
  2017), http://wusfnews.wusf.usf.edu/post/lawmakers-try-slow-states-opioid-crisis.

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          7.     Florida ranks fourth in the nation for total health care costs attributed to opioid

  abuse. 13 By conservative estimates, in 2007, aggregate health care costs in the United States

  attributable to opioid abuse totaled $25 billion, with Florida accounting for $1.25 billion.14

          8.     On May 4, 2017, Governor Rick Scott officially declared the opioid epidemic a

  public health emergency in Florida, stating, “The individuals struggling with drug use are sons,

  daughters, mothers, fathers, sisters, brothers and friends and each tragic case leaves loved ones

  searching for answers and praying for help. Families across our nation are fighting the opioid

  epidemic, and Florida is going to do everything possible to help our communities.”15

          9.     Current estimates suggest 145 people die every day in the United States from opioid

  overdoses. 16 Public health officials have called the current epidemic the worst drug crisis in

  American history17 and, on October 26, 2017, President Donald Trump officially declared it a public

  health emergency. The following charts illustrate the rise of opioid-related deaths in the United

  States: 18



  13
    Kiah, Clara-Meretan, Dean Guilarte Appointed to County Opioid Addiction Task Force, FIU
  News, (Jan. 1, 2017), https://news.fiu.edu/2017/01/dean-guilarte-appointed-to-county-opioid-
  addiction-task-force/107644.
  14
    Matrix Global Advisors, LLC, Health Care Costs from Opioid Abuse: A State-By State Analysis,
  (April                            2015),                             https://drugfree.org/wp-
  content/uploads/2015/04/Matrix_OpioidAbuse_040415.pdf.
  15
    Michael Auslen, Gov. Scott declares public health emergency over opioid crisis, Miami Herald
  (May 3, 2017), http://www.miamiherald.com/news/health-care/article148355444.html.
  16
     Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
  https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
  (hereinafter “Keefe, Empire of Pain”).
  17
    Julie Borman, Inside a Killer Drug Epidemic: A Look at America’s Opioid Crisis, N.Y. Times
  (Jan. 6, 2017), https://www.nytimes.com/2017/01/06/us/opioid-crisis-epidemic.html.
  18
    German Lopez & Sarah Frostenson, How the opioid epidemic became America’s worst drug
  crisis ever, in 15 maps and charts, Vox (Mar. 23, 2017, 10:30 AM), http://www.vox.com/science-

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         10.     Plaintiff, The City of Coral Gables (“Coral Gables” or “City”), brings this action to

  redress Purdue Pharma, L.P.’s, Purdue Pharma, Inc.’s, the Purdue Frederick Company’s, Teva

  Pharmaceuticals USA’s, Johnson & Johnson’s, Janssen Pharmaceuticals, Inc.’s, Ortho-McNeil-

  Janssen Pharmaceuticals, Inc.’s, Janssen Pharmaceutica, Inc.’s, Endo Health Solutions, Inc.’s, Endo

  Pharmaceuticals, Inc.’s, Cephalon, Inc.’s, and Insys Therapeutics, Inc.’s (“Insys”) and Mallinckrodt,

  LLC’s (together, the “Manufacturing Defendants” or “Manufacturers”), campaign of unfairly,

  deceptively, and fraudulently marketing and promoting opioids in the City. These Defendants




  and-health/2017/3/23/14987892/opioid-heroin-epidemic-charts (hereinafter “Lopez, How the
  opioid epidemic”); National Institute on Drug Abuse, Overdose Death Rates,
  https://www.drugabuse.gov/related-topics/trends-statistics/overdose-death-rates (last visited June
  7, 2018).




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  violated Florida’s Deceptive and Unfair Trade Practices Act, created a public nuisance, were

  negligent, and violated the Racketeer Influenced and Corrupt Organizations Act (“RICO”).

         11.     Defendants Purdue Pharma, L.P., Purdue Pharma Inc., and the Purdue Frederick

  Company (collectively, “Purdue”), Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. (together,

  “Cephalon”), and Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., and

  Janssen Pharmaceutica, Inc. (collectively, “Janssen”), Endo Health Solutions, Inc., and Endo

  Pharmaceuticals, Inc. (together, “Endo”), Mallinckrodt LLC, and Insys manufacture, market, and

  sell prescription opioid pain medications, including the brand-name drugs OxyContin, Butrans,

  Hysingla ER, Actiq, Fentora, Opana/Opana ER, Percodan, Percocet, Zydone, Nucynta/Nucynta ER,

  Duragesic, generic oxycodone, and Subsys.

         12.     Defendants     McKesson       Corporation    d/b/a    McKesson      Drug     Company,

  AmerisourceBergen Drug Corporation, Walgreens Boots Alliance d/b/a Walgreens Co., and

  Cardinal Health, Inc., (collectively, the “Distributor Defendants” or “Distributors”) distribute opioid

  medications, including the medications listed above, to pharmacies, pain clinics and other

  dispensaries across the country and in Coral Gables.

         13.     The Manufacturers’ deceptive marketing and sale of opioids to treat chronic pain is

  one of the main drivers19 of this catastrophic epidemic. Prescription opioids have historically been

  used for short-term, post-surgical and trauma-related pain, and for palliative end-of-life care

  primarily in cancer patients. Because opioids are, by their very nature, highly addictive and

  dangerous, the U.S. Drug Enforcement Administration (“DEA”) regulates them as Schedule II




  19
     The other main driver of this epidemic is both the drugs Manufacturers’ and Distributors’ failure
  to report suspicious orders as required by state and federal law, discussed infra.

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  Controlled Substances, i.e., drugs that have a high potential for abuse and that may lead to severe

  psychological or physical dependence.

         14.     This demonstrated need for caution comports with the historical understanding of

  both the medical community and the American culture at large regarding the serious consequences

  of opioid use and misuse. Thousands of years of experience have taught that opium’s ability to

  relieve pain comes at a steep price; it is a dangerously addictive and often lethal substance. For

  generations, physicians were taught that opioid painkillers were highly addictive and should be used

  sparingly and primarily for patients near death. 20 The medical community also understood that

  opioids were poorly suited for long-term use because tolerance would require escalating doses and

  dependence would make it extremely difficult to discontinue their use.

         15.     The prevailing and accurate understanding of the risks and benefits of long-term

  opioid use limited the Manufacturers’ ability to increase sales. In order to reduce concerns about

  opioids and to maximize profits, opioid manufacturers, including the Manufacturing Defendants,

  engaged in a concerted, coordinated strategy to shift the way doctors and patients think about pain.

  Specifically, Defendants encouraged the use of opioids to treat not just the relative few who suffer

  from acute post-surgical pain and end-stage cancer pain, but the masses who suffer from all forms

  of chronic pain.

         16.     The Manufacturing Defendants employed marketing strategies designed to “re-

  educate” the public and prescribers. They deliberately conceived these strategies to create, and in

  fact did create, an entirely new health care narrative—one in which opioids are considered safe and




  20
    Harriet Ryan, et al., OxyContin goes global – “We’re only just getting started,” L.A. Times
  (Dec. 18, 2016), http://www.latimes.com/projects/la-me-oxycontin-part3/ (hereinafter “Ryan,
  OxyContin goes global”).

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  effective for long-term use, and pain is aggressively treated despite the risk of addiction. According

  to this new narrative, because opioids were under prescribed, pain was seriously under-treated

  throughout the United States.

         17.     The Manufacturing Defendants’ intention was to normalize aggressive prescribing

  of opioids for chronic pain by downplaying the very real risks of opioids, especially the risk of

  addiction, and by exaggerating the benefits of use for chronic pain. To accomplish this goal, they

  intentionally misled doctors and patients about the appropriate uses, risks, safety and efficacy of

  prescription opioids. They did so directly through sales representatives and marketing materials, and

  indirectly through financial relationships with academic physicians, professional societies, hospitals

  and the trade association for state medical boards and seemingly neutral third-party foundations.

  False messages about the safety, addictiveness, and efficacy were disseminated by infiltrating

  professional medical societies and by crafting and influencing industry guidelines in order to

  disseminate false and deceptive pro-opioid communiques under the guise of science and truth.

         18.     The Manufacturing Defendants assured the public and prescribers that the risk of

  becoming addicted to prescription opioids among patients being treated for pain was less than 1%.

  In reality, many people with no addiction history can become addicted after just days or weeks of

  use. 21 The risk of addiction for patients receiving long-term prescription opioid painkillers is

  estimated to be 56%.22 Nearly one in five people who take an opioid for only ten days will still be




  21
     Anna Lembke, Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why
  It’s So Hard to Stop, at 22 (John Hopkins University Press 2016).
  22
     Bridget A. Martell, et al., Systematic Review: Opioid Treatment for Chronic Back Pain:
  Prevalence, Efficacy, and Association with Addiction, 146(2) Ann. Intern. Med. 116-27 (2007),
  http://annals.org/aim/article/732048/systematic-review-opioid-treatment-chronic-back-pain
  prevalence-efficacy-association.

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  taking opioids one year later.23

         19.     The Distributor Defendants are major distributors of controlled substances and act as

  middlemen between drug companies and pharmacies. The Distributor Defendants were aware of a

  growing epidemic from the addiction to, and abuse of, prescription opioids they supplied. The

  Manufacturing Defendants and the Distributor Defendants were aware of the quantities and

  frequency with which those drugs were distributed to entities in Coral Gables. The Defendants failed

  to report suspicious sales as required by state and federal law. Defendants’ failure to follow the law

  contributed to soaring addiction and overdose rates in Coral Gables.

         20.     The Distributor Defendants’ violations have already led to fines elsewhere.

  McKesson, the largest prescription drug wholesaler company in the United States, agreed on January

  17, 2017, to pay a $150 million fine to the federal government for its misconduct. In December 2016,

  Cardinal Health reached a $44 million settlement with the federal government. One month later,

  Cardinal Health reached a $20 million settlement with the State of West Virginia, which has been

  among the states hardest hit by opioid abuse. AmerisourceBergen also recently agreed to pay West

  Virginia $16 million for similar violations.24

         21.     Despite several Defendants admitting to the unlawful marketing and sale of opioids,

  and/or the failure to report suspicious orders, Defendants’ conduct does not abate. Profits derived

  from the aggressive marketing and prescribing of opioids dwarf the penalties imposed. The scheme

  was so financially successful that despite the devastation wrought on the United States, Purdue’s



  23
    Sarah Frostenson, The risk of a single 5-day opioid prescription, in one chart, Vox (Mar. 18,
  20107, 7:30 AM), www.vox.com/2017/3/18/14954626/one-simple-way-to-curb-opioid-overuse-
  prescribe-them-for-3-days-or-less.
  24
    Charles Ornstein, Drug Distributors Penalized For Turning Blind Eye In Opioid Epidemic,
  National     Public   Radio     (Jan.      27,     2017),     http://www.npr.org/sections/health-
  shots/2017/01/27/511858862/drug-distributors-penalized-for-turning-blind-eye-in-opioid-epidemic.

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  owners, the Sackler family, are now pursuing the same strategy abroad. As reported by the Los

  Angeles Times, Purdue is “just getting started,” and intends to “[p]ut the painkiller that set off the

  United States opioid crisis into medicine cabinets around the world. A network of international

  companies owned by the family is moving rapidly into Latin America, Asia, the Middle East, Africa

  and other regions, and pushing for broad use of painkillers in places ill-prepared to deal with the

  ravages of opioid abuse and addiction.”25

            22.    Every day, 145 people die across the United States from opioid-related overdose,26

  and over 1,000 patients are given emergency treatment for misusing them.27 Many others are swept

  into a cycle of addiction and abuse with which they will struggle their entire lives. In 2014, almost

  two million Americans were addicted to prescription opioids, and another 600,000 to heroin.28

            23.    The impact of prescription drugs on Coral Gables is catastrophic. In the past several

  years, the City collected over 140 pounds of surplus prescription drugs in a single receptacle located

  within the Coral Gables Police Department.

            24.    Between 2014 and 2018, the City has expended thousands of dollars related to opioid

  use. From October 1, 2014, through March 31, 2018, the City subsidized 770 opioid prescriptions

  written for its employees and retirees, many of which were likely excessive and unnecessary. One




  25
       Ryan, OxyContin goes global, supra n.20.
  26
       Keefe, Empire of Pain, supra n.16.
  27
    CDC Rx Awareness Campaign Overview, Centers for Disease Control and Prevention, (last
  visited June 13, 2018), https://www.cdc.gov/rxawareness/pdf/RxAwareness-Campaign-
  Overview-a.pdf.
  28
     Melissa Healy, The U.S. should rethink its entire approach to painkillers and the pople addicted
  to them, panel urges, L.A. Times (July 13, 2017), http://www.latimes.com/science/sciencenow/la-
  sci-sn-opioid-crisis-recommendations-20170713-story.html.

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  in five individuals prescribed opioids remain on those drugs one year later, whether or not the opioids

  are necessary for pain.29

             25.   The City contains several drug rehabilitation centers. Because the lash of opioid

  addiction is second in strength only to tobacco, the rehab centers require frequent visits from the

  Coral Gables Fire Department to distribute Naloxone, an antidote to opioids.

             26.   For every addicted citizen, Coral Gables suffers the economic consequences

  associated with treatment, public safety expenses, lost productivity in the workforce, decreased

  economic opportunity, and declining tax revenue. Combined, these costs are likely in the millions of

  dollars.

             27.   Defendants’ conduct has violated, and continues to violate, the Florida Deceptive and

  Unfair Trade Practices Act, § 501.201, et seq., Florida Statutes. Additionally, Defendants’ conduct

  constitutes a common law public nuisance and negligence, resulting in their unjust enrichment, and

  violates RICO.

             28.   Accordingly, Coral Gables brings this action to hold Defendants accountable for their

  conduct and seeks disgorgement, restitution, abatement, damages, and any other injunctive and

  equitable relief within this Court’s powers to redress and halt these unfair, deceptive and unlawful

  practices.




  29
    Sarah Frostenson, The risk of a single 5-day opioid prescription, in one chart, Vox, (Mar. 18,
  2017),       https://www.vox.com/2017/3/18/14954626/one-simple-way-to-curb-opioid-overuse-
  prescribe-them-for-3-days-or-less

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  II.     PARTIES.

          A. Plaintiff.

          29.     Plaintiff the City of Coral Gables is a municipal corporation organized under the laws

  of the State of Florida. Coral Gables is responsible for the public health, safety, and welfare of its

  residents, is a citizen of the State of Florida for diversity purposes and has the capacity to sue and be

  sued. The City has been authorized by the City Commission to bring this suit.

          30.     The City brings this action on its own behalf and as parens patrae in the public

  interest.

          B. Defendants.

          31.     Defendant Purdue Pharma L.P. is a limited partnership organized under the laws of

  Delaware. Purdue Pharma, Inc. is a New York corporation with its principal place of business in

  Stamford, Connecticut. The Purdue Frederick Company is a Delaware corporation with its principal

  place of business in Stamford, Connecticut. These Defendants are collectively referred to herein as

  “Purdue.”

          32.     Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

  MS Contin, Dilaudid and Dilaudid-HP, Butrans, and Hysingla ER in the United States and in Coral

  Gables. 30 OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual sales of

  OxyContin have fluctuated between $2 billion and $3 billion. Nationwide, OxyContin constitutes

  roughly 25% of the entire market, by spending, for prescription opioids.

          33.     Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place

  of business in Titusville, New Jersey, and is a wholly owned subsidiary of Johnson & Johnson



  30
    Purdue has also obtained approval to market Targiniq ER (oxycodone hydrochloride and
  naloxone hydrochloride) in 2014, but has not actively marketed it.

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  (“J&J”), a New Jersey corporation with its principal place of business in New Brunswick, New

  Jersey. Ortho-McNeil-Janssen Pharmaceuticals, Inc., now known as Janssen Pharmaceuticals, Inc.,

  is a Pennsylvania corporation with its principal place of business in Titusville, New Jersey. Janssen

  Pharmaceutica Inc., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with

  its principal place of business in Titusville, New Jersey. J&J is the only company that owns more

  than 10% of Janssen Pharmaceuticals, Inc.’s stock, and corresponds with the United States Food and

  Drug Administration (“FDA”) regarding Janssen Pharmaceuticals, Inc.’s products. Upon

  information and belief, J&J controls the sale and development of Janssen Pharmaceuticals, Inc.’s

  drugs and Janssen Pharmaceuticals, Inc.’s profits inure to J&J’s benefit. These Defendants are

  collectively referred to herein as “Janssen.”

          34.     Janssen manufactures, promotes, sells, and distributes drugs in the United States and

  the City of Coral Gables, including the opioid Duragesic. Before 2009, Duragesic accounted for at

  least $1 billion in annual sales. Until January 2015, Janssen developed, marketed, and sold the

  opioids Nucynta and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million

  in sales in 2014.

          35.     Endo Health Solutions, Inc., is a Delaware corporation with its principal place of

  business in Malvern, Pennsylvania. Endo Pharmaceuticals, Inc., is a wholly-owned subsidiary of

  Endo Health Solutions, Inc., and is a Delaware corporation with its principal place of business in

  Malvern, Pennsylvania. These Defendants are collectively referred to herein as “Endo.”

          36.     Endo develops, markets, and sells prescription drugs, including the opioids

  Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States and the City of Coral

  Gables. Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in 2012.

  Opana ER yielded $1.15 billion in revenue from 2010 to 2013, and it accounted for 10% of Endo’s



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  total revenue in 2012. Endo also manufactures and sells generic opioids such as oxycodone,

  oxymorphone, hydromorphone, and hydrocodone products in the United States and Coral Gables,

  by itself and through its subsidiary, Qualitest Pharmaceuticals, Inc. On July 6, 2017, in response to

  an FDA request that Endo voluntarily withdraw the product from the market, the company

  announced that it would stop marketing and selling a reformulated version of Opana ER that it had

  marketed as an abuse deterrent.

         37.     Teva Pharmaceuticals USA, Inc. (“Teva USA”), is a Delaware corporation with its

  principal place of business in North Wales, Pennsylvania. Teva USA acquired Cephalon, Inc.

  (“Cephalon”), in October 2011. Cephalon is a Delaware corporation with its principal place of

  business in Frazer, Pennsylvania. Teva USA and Cephalon work together closely to market and sell

  Cephalon products in the United States and the City of Coral Gables. Teva USA also sells generic

  opioids in the United States and the City of Coral Gables, including generic opioids previously sold

  by Allergan plc, whose generics business Teva Pharmaceutical Industries Ltd., Teva USA’s Israeli-

  based parent company, acquired in August 2016. Teva USA and Cephalon are collectively referred

  to herein as “Cephalon.”

         38.     Cephalon manufactures, promotes, sells, and distributes opioids such as Actiq, a

  fentanyl lollipop, and Fentora, a dissolving pill, in the United States and City of Coral Gables. Actiq

  and Fentora have been approved by the FDA only for the “management of breakthrough cancer pain

  in patients 16 years of age and older who are already receiving and who are tolerant to opioid therapy

  for their underlying persistent cancer pain.” In 2008, Cephalon pled guilty to a criminal violation of

  the federal Food, Drug and Cosmetic Act for its misleading promotion of Actiq and two other drugs

  and agreed to pay $425 million.




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          39.     Insys Therapeutics, Inc. (“Insys”), is a Delaware corporation with its principal place

  of business in Chandler, Arizona. Insys’ principal product and source of revenue is Subsys, a

  transmucosal immediate-release formulation (“TIRF”) of fentanyl, contained in a single-dose spray

  device intended for oral sublingual administration. Subsys was approved by the FDA solely for the

  treatment of breakthrough cancer pain. In 2016, Insys made approximately $330 million in net

  revenue from Subsys. Insys promotes, sells, and distributes Subsys throughout the United States and

  in the City of Coral Gables. Insys’ founder and owner was recently arrested and charged, along with

  other Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

  practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

  managers were previously indicted.

          40.     Mallinckrodt, LLC (“Mallinckrodt”) is a limited liability company organized and

  existing under the laws of the State of Delaware and licensed to do business in Florida. Mallinckrodt

  manufactures, markets, and sells drugs in the United States including generic oxycodone, of which

  it is one of the largest manufacturers. In July 2017, Mallinckrodt agreed to pay $35 million to settle

  allegations brought by the Department of Justice (“DOJ”) that it failed to detect and notify the DEA

  of suspicious orders of controlled substances.

          41.     McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500 companies,

  ranking immediately after Apple and ExxonMobil, with annual revenue of $191 billion in 2016.

  McKesson is a wholesaler of pharmaceutical drugs that distributes opioids in Coral Gables and

  throughout the United States. McKesson is incorporated in Delaware and its principal place of

  business is in San Francisco, California. In January 2017, McKesson paid a record $150 million to

  resolve an investigation by the DOJ for failing to report suspicious orders of certain drugs, including

  opioids, and for failing to maintain effective controls against diversion at its distribution centers.



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         42.     Cardinal Health, Inc. (“Cardinal”), describes itself as a “global, integrated health care

  services and products company,” and is the fifteenth largest company by revenue in the United

  States, with annual revenue of $121 billion in 2016. Cardinal distributes pharmaceutical drugs,

  including opioids, in Coral Gables and throughout the United States. Cardinal is an Ohio corporation

  and is headquartered in Dublin, Ohio. Based on Defendant Cardinal’s own estimates, one of every

  six pharmaceutical products dispensed to U.S. patients travels through the Cardinal Health

  network.31

         43.     AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is a wholesaler of

  pharmaceutical drugs that distributes opioids in Coral Gables and throughout the United States.

  AmerisourceBergen’s principal place of business is located in Chesterbrook, Pennsylvania, and it is

  incorporated in Delaware.

         44.     Walgreens Boots Alliance (“Walgreens”) includes a captive distributor that supplies

  pharmaceutical drugs and opioids to Walgreens pharmacies in Coral Gables and throughout the

  United States. Walgreens is headquartered in Deerfield, Illinois, and has a distribution center in

  Jupiter, Florida, which distributes medications, including opioids, to several states and Puerto Rico,

  and was the largest distributor of oxycodone to retail pharmacies in Florida. According to the Florida

  Department of State website, Walgreens is registered to do business in Florida under the name

  Walgreen Co.

         45.     In June 2013, Walgreens entered into an $80 million settlement with the DEA for

  allowing oxycodone and other prescription drugs to be diverted for illicit sales and use. In addition




  31
     Pharmaceutical Distribution, Cardinal Health,
  https://www.cardinalhealth.com/en/services/acute/logistics-solutions-
  acute/distribution/pharmaceutical-distribution.html

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  to the settlement, the Jupiter, Florida, distribution center lost its authority to distribute or dispense

  controlled substances, including opioids, until 2014.32

          46.      The Distributor Defendants dominate the wholesale distribution market, including in

  Coral Gables. Defendants McKesson, Cardinal, AmerisourceBergen, and Walgreens together

  distribute 85% to 90% of the prescription drugs in the United States. The Distributor Defendants

  accounted for 73% of opioids distributed to Florida between 2006 and 2016.

  III.    JURISDICTION AND VENUE .

          47.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 and 28

  U.S.C. §1332.

          48.      Venue is proper pursuant to 28 U.S.C. §1391.

          49.      This Court has personal jurisdiction over each defendant as each purposefully availed

  itself of the privilege of exploiting forum-based business opportunities, and the exercise of personal

  jurisdiction is consistent with Fla. Stat. §48.193.

  IV.     FACTUAL ALLEGATIONS .

          A. Over the Course of More than Two Decades, the Manufacturing Defendants

                Misled the Public Regarding the Dangers of Opioid Addiction and the Efficacy of

                Opioids for Long-Term Use, Causing Sales and Overdose Rates to Soar.

          50.      From the mid-90s to the present, the Manufacturing Defendants aggressively

  marketed and falsely promoted liberal opioid prescribing as presenting little to no risk of addiction,

  even when used long-term for chronic pain. They infiltrated academic medicine and regulatory

  agencies to convince doctors that treating chronic pain with long-term opioids was evidence-based


  32
    Linda Chiem, Walgreens To Pay $80M To End Painkiller Sales Probe, Law360, (June 11,
  2013), https://www.law360.com/articles/449305/walgreens-to-pay-80m-to-end-painkiller-sales-
  probe

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  medicine when, in fact, it was not. Huge profits resulted from these efforts, as did the present

  addiction and overdose crisis.

                 1.      Background on Opioid Overprescribing.
         51.     The Manufacturing Defendants’ scheme to drive their rapid and dramatic expansion

  of prescription opioids was rooted in two pieces of so-called evidence. First was the publication of a

  100-word letter to the editor published in 1980 in the New England Journal of Medicine (“1980

  Letter to the Editor”).33 A recent article about the letter, titled “A 5-sentence letter helped trigger

  America’s deadliest drug overdose crisis ever,” quoted a 2017 study in the New England Journal of

  Medicine, in which researchers concluded:


         [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
         and uncritically cited as evidence that addiction was rare with long-term opioid
         therapy. We believe that this citation pattern contributed to the North American
         opioid crisis by helping to shape a narrative that allayed prescribers’ concerns about
         the risk of addiction associated with long-term opioid therapy.34




  33
     The 1980 Letter to the Editor, by Jane Porter (“Porter”) and Dr. Herschel Jick (“Jick”), reported
  that less than 1% of patients at Boston University Medical Center who received narcotics while
  hospitalized became addicted. Jane Porter & Hershel Jick, Addiction rate in patients treated with
  narcotics, 302(2) New Eng. J. Med. 123 (Jan. 10, 1980). However, the letter did not support the
  conclusion for which it was often cited by the industry. Harrison Jacobs, This one-paragraph letter
  may have launched the opioid epidemic, Bus. Insider (May 26, 2016),
  http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-2016-5
  (hereinafter “Jacobs, One-paragraph letter”). As discussed in a 2009 article in the American
  Journal of Public Health, the 1980 Letter to the Editor “shed[] some light on the risk of addiction
  for acute pain, [but did] not help establish the risk of iatrogenic addiction when opioids are used
  daily for a prolonged time in treating chronic pain. There are a number of studies . . . that
  demonstrate that in the treatment of chronic non-cancer-related pain with opioids, there is a high
  incidence of prescription drug abuse.” Art Van Zee, The Promotion and Marketing of OxyContin:
  Commercial Triumph, Public Health Tragedy, 99(2) Am. J. Pub. Health 221-27 (Feb. 2009)
  (hereinafter, “Van Zee, Promotion and Marketing”).
  34
    German Lopez, A 5-sentence letter helped trigger America’s deadliest drug overdose crisis ever,
  Vox (June 1, 2017), https://www.vox.com/science-and-health/2017/6/1/15723034/opioid-
  epidemic-letter-1980-study.

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         52.     Second was a single medical study published by Drs. Russell Portenoy (“Portenoy”)

  and Kathleen Foley (“Foley”) (the “Portenoy Publication”). 35 Portenoy emerged as one of the

  industry’s most vocal proponents of long-term opioid use, and essentially made it his life’s work to

  campaign for the movement to increase use of prescription opioids. He was one of Big Pharma’s36

  “thought leaders,” and was paid to travel the country to promote more liberal opioid prescribing for

  many types of pain. His talks were sponsored by the Manufacturing Defendants and organizations

  paid by them, and billed as continuing medical education (“CME”) programs for doctors. He had

  financial relationships with at least a dozen pharmaceutical companies, most of which produce

  prescription opioids.37

         53.     On November 1, 2017, the President’s Commission on Combating Drug Addiction

  and the Opioid Crisis noted the important and detrimental role played by the 1980 Letter to the Editor

  and the Portenoy Publication. In a section of the Commission’s Report with the header “Contributors

  to the Current Crisis,” the Commission wrote the following:




  35
     In 1986, the medical journal Pain, which would eventually become the official journal of the
  American Pain Society (“APS”), published an article by Portenoy and Foley summarizing the results
  of a “study” of 38 chronic non-cancer pain patients who had been treated with opioid painkillers.
  Portenoy and Foley concluded that, for non-cancer pain, opioids “can be safely and effectively
  prescribed to selected patients with relatively little risk of producing the maladaptive behaviors which
  define opioid abuse.” However, their study was neither scientific nor did it meet the rigorous standards
  commonly used to evaluate the validity and strength of such studies in the medical community. For
  instance, there was no placebo control group, and the results were retroactive (asking patients to
  describe prior experiences with opioid treatment rather than less biased, in-the-moment reports). The
  authors themselves advised caution, stating that the drugs should be used as an “alternative therapy”
  and recognizing that longer term studies of patients on opioids would have to be performed. None
  were. See Russell K. Portenoy & Kathleen M. Foley, Chronic use of opioid analgesics in non-
  malignant pain: report of 38 cases, 25(2) Pain 171-86 (May 1986).
  36
    “Big Pharma” is used herein to refer to large pharmaceutical companies considered as a politically
  influential group
  37
     Lembke (2016), supra n.21, at 59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s Trail
  of Addiction and Death (St. Martin’s Press, 1st ed. 2003)).

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         Unsubstantiated claims: One early catalyst can be traced to a single letter to the
         Editor of the New England Journal of Medicine published in 1980, that was then
         cited by over 600 subsequent articles. With the headline “Addiction Rare in Patients
         Treated with Narcotics,” the flawed conclusion of the five-sentence letter was based
         on scrutiny of records of hospitalized patients administered an opioid. It offered no
         information on opioid dose, number of doses, the duration of opioid treatment,
         whether opioids were consumed after hospital discharge, or long-term follow-up,
         nor a description of criteria used to designate opioid addiction. Six years later,
         another problematic study concluded that “opioid maintenance therapy can be a
         safe, salutary and more humane alternative to the options of surgery or no treatment
         in those patients with intractable non-malignant pain and no history of drug abuse.”
         High quality evidence demonstrating that opioids can be used safely for chronic
         non-terminal pain did not exist at that time. These reports eroded the historical
         evidence (see Appendix 2) of iatrogenic addiction and aversion to opioids, with the
         poor-quality evidence that was unfortunately accepted by federal agencies and
         other oversight organizations.38


         54.     Portenoy has now admitted that he minimized the risks of opioids.39 In a 2011

  interview released by Physicians for Responsible Opioid Prescribing, Portenoy stated that his earlier

  work purposefully relied on evidence that was not “real”:


         I gave so many lectures to primary care audiences in which the Porter and Jick
         article was just one piece of data that I would then cite, and I would cite six, seven,
         maybe ten different avenues of thought or avenues of evidence, none of which
         represented real evidence, and yet what I was trying to do was to create a narrative
         so that the primary care audience would look at this information in [total] and feel
         more comfortable about opioids in a way they hadn’t before. In essence this was
         education to destigmatize [opioids], and because the primary goal was to
         destigmatize, we often left evidence behind.40




  38
     The President’s Commission on Combating Drug Addiction and the Opioid Crisis at 20 (Nov.
  1, 2017), https://www.whitehouse.gov/sites/whitehouse.gov/files/images/Final_Report_Draft_11-
  1-2017.pdf.

  39
     Celine Gounder, Who Is Responsible for the Pain-Pill Epidemic?, New Yorker (Nov. 8, 2013),
  http://www.newyorker.com/business/currency/who-is-responsible-for-the-pain-pill-epidemic
  (hereinafter “Gounder, Who Is Responsible”).
  40
    Jacobs, One-paragraph letter, supra n.33; Andrew Kolodny, Opioids for Chronic Pain:
  Addiction is NOT Rare, YouTube (Oct. 30, 2011), https://www.youtube.com/
  watch?v=DgyuBWN9D4w&feature=youtu.be.

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             55.   The damage, however, was already done. The Manufacturing Defendants used these

  two publications, the 1980 Letter to the Editor and the Portenoy Publication, as the foundation for a

  massive, far-reaching campaign to dramatically shift the thinking of healthcare providers, patients,

  policymakers, and the public on addiction risks presented by opioid therapy. By 1997, the APS and

  the American Academy of Pain Medicine (“AAPM”) (both received funding from Manufacturing

  Defendants) issued a “landmark consensus,” co-authored by Portenoy, stating there is little risk of

  addiction or overdose for pain patients.41

             56.   In the years following publication of the 1980 Letter to the Editor and the Portenoy

  Publication, the Manufacturing Defendants introduced powerful prescription opioids into the

  market. Purdue introduced MS Contin in 1987 and OxyContin in 1995. Janssen introduced

  Duragesic in 1990. Cephalon’s Actiq was first approved by the FDA in 1998. More recently, Endo’s

  Opana and Opana ER were approved by the FDA in 2006, Janssen’s Nucynta and Nucynta ER in

  2008 and 2011 respectively, Cephalon’s Fentora in 2006 and Insys’ Subsys in 2012.

             57.   These branded prescription opioids and their generic counterparts are highly

  addictive. Between doses, patients can suffer body aches, nausea, sweats, racing heart, hypertension,

  insomnia, anxiety, agitation, opioid cravings, opioid-induced hyperalgesia (heightened sensitivity to

  pain), and other symptoms of withdrawal. When the agony is relieved by the next dose, it creates a

  cycle of dysphoria and euphoria that fosters addiction and dependence.

             58.   Despite prescription opioids’ highly-addictive qualities, the Manufacturing

  Defendants launched aggressive pro-opioid marketing efforts that effected a dramatic shift in the

  public’s and prescribers’ perception of the safety and efficacy of opioids for chronic long-term pain




  41
       Id.

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  and everyday use. Contrary to what doctors had previously understood about opioid risks and

  benefits, they were encouraged for the last two decades by the Manufacturing Defendants to

  prescribe opioids aggressively. Doctors were assured, based on false evidence provided directly by

  the Manufacturing Defendants and numerous medical entities funded by the Manufacturing

  Defendants, that: (i) the risk of becoming addicted to prescription opioids among patients being

  treated for pain was low, even as low as less than 1%; and (ii) great harm was caused by “under-

  treated pain.” These two foundational falsehoods led directly to the current opioid crisis.

           59.    Defendants’ marketing strategy was a sensational success. It was designed to redefine

  back pain, neck pain, headaches, arthritis, fibromyalgia, and other common conditions suffered by

  most of the population as chronic pain, which doctors and patients should take seriously and for

  which opioids were an appropriate, successful, and low-risk treatment. Today, more than 85% of

  patients taking OxyContin at common doses are doing so for “chronic” non-cancer pain.42

           60.    Defendants’ false and misleading marketing strategy continued despite studies

  revealing that up to 56% of patients receiving long-term prescription opioid painkillers for chronic

  back pain progress to addictive opioid use, including patients with no prior history of addiction.43

           61.    Employing false and incomplete evidence, the Manufacturing Defendants expanded

  their market exponentially, from patients with end-stage cancer and acute pain (a limited customer

  base), to anyone suffering from chronic pain. Approximately 100 million Americans, nearly one-




  42
       Ryan, OxyContin goes global, supra n.20.
  43
    Lembke (2016), supra n.21, at 22 (citing Martell, et al., Systematic review: opioid treatment for
  chronic back pain: prevalence, efficacy and association with addiction, 146(2) Ann. Intern. Med.
  116-27 (2007)).

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  third of the country’s population, suffers from chronic pain as defined by Defendants. 44 The

  treatment of chronic pain includes patients whose general health is good enough to refill

  prescriptions month-after-month and year-after-year. The promotion, distribution (without reporting

  suspicious sales), and rampant sale of opioids for chronic pain treatment has made the Defendants

  billions of dollars and led to the opioid addiction and overdose crisis in Coral Gables.

                  2.      The Fraudulent Sales Practices.

          62.     The Manufacturing Defendants employed a variety of strategies to normalize the use

  of opioids for chronic long-term pain without informing the public or prescribers about the very

  significant risks of addiction, overdose and death.

                              a. The Manufacturing Defendants Funded Front
                                 Organizations that Published and Disseminated False
                                 and Misleading Marketing Materials.

          63.     Defendants sponsored purportedly neutral medical boards and foundations that

  educated doctors and set guidelines to promote the liberal prescribing of opioids for chronic pain.

  The following organizations, funded by the Manufacturing Defendants, advised doctors that liberal

  prescribing of opioids was both safe and effective. In truth, it was neither.

          64.     Federation of State Medical Boards: Representing the 70 medical and osteopathic

  boards in the United States, including the Florida Board of Medicine and the Florida Board of

  Osteopathic Medicine, the Federation of State Medical Boards (“FSMB”) functions as a trade group.

  The FSMB develops guidelines and model policies, with the stated goal of improving medical

  practice. Defendants Purdue, Cephalon, and Endo have provided substantial funding to the FSMB.




  44
      AAPM Facts and Figures on Pain, The American Academy of Pain Medicine,
  http://www.painmed.org/patientcenter/facts_on_pain.aspx#refer (last visited June 7, 2018).

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          65.    In 2007, the FSMB printed and distributed a physician’s guide on the use of opioids

  to treat chronic pain titled “Responsible Opioid Prescribing” by Dr. Scott M. Fishman (“Fishman”).

  After the guide (in the form of a book, still available for sale on Amazon) was adopted as a model

  policy, the FSMB reportedly asked Purdue for $100,000 to help pay for printing and distribution.

  Ultimately, the guide was disseminated by the FSMB to 700,000 practicing doctors.

          66.    The guide’s clear purpose is to focus prescribers on the purported under-treatment of

  pain and falsely assure them that opioid therapy is an appropriate treatment for chronic, non-cancer

  pain:

                Pain management is integral to good medical practice and for all patients;

                Opioid therapy to relieve pain and improve function is a legitimate medical
                 practice for acute and chronic pain of both cancer and non-cancer origins;

                Patients should not be denied opioid medications except in light of clear
                 evidence that such medications are harmful to the patient.

                                        *       *        *
                 Four key factors contribute to the ongoing problem of under-treated pain:

                 1.      Lack of knowledge of medical standards, current research, and
                         clinical guidelines for appropriate pain treatment;
                 2.      The perception that prescribing adequate amounts of opioids will
                         result in unnecessary scrutiny by regulatory authorities;
                 3.      Misunderstanding of addiction and dependence; and
                 4.      Lack of understanding of regulatory policies and processes.45

          67.    While it acknowledges the risk of “abuse and diversion” (with little attention to

  addiction), the guide purports to offer “professional guidelines” that will “easily and efficiently”




  45
    Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
  Sciences 2007) (emphasis added).

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  allow physicians to manage that risk and “minimize the potential for [such] abuse.”46 It states that

  even for those patients assessed to have a risk of substance abuse, “it does not mean that opioid use

  will become problematic or that opioids are contraindicated,” just that physicians should use

  additional care in prescribing.

             68.    The guide further warns physicians to “[b]e aware of the distinction between

  pseudoaddiction and addiction” and teaches that behaviors such as “[r]equesting [drugs] by name,”

  “[d]emanding or manipulative behavior,” “[o]btaining opioid drugs from more than one physician”

  and “[h]oarding opioids,” which are, in fact, indicative of genuine addiction, are all really just signs

  of “pseudoaddiction.”47 It defines “Physical Dependence” as an acceptable result of opioid therapy

  not to be equated with addiction and states that, while “[i]t may be tempting to assume that patients

  with chronic pain and a history of recreational drug use who are not adherent to a treatment regimen

  are abusing medications,” there could be other acceptable reasons for non-adherence.48 The guide

  became the seminal authority on opioid prescribing for the medical profession.

             69.    In 2012, Fishman updated the guide and continued emphasizing the “catastrophic”

  “under-treatment” of pain and the “crisis” such under-treatment created:

                     Given the magnitude of the problems related to opioid analgesics, it can be
             tempting to resort to draconian solutions: clinicians may simply stop prescribing
             opioids, or legislation intended to improve pharmacovigilance may inadvertently
             curtail patient access to care. As we work to reduce diversion and misuse of
             prescription opioids, it’s critical to remember that the problem of unrelieved pain
             remains as urgent as ever.49



  46
       Id. at 9.
  47
       Id. at 62.
  48
       Id.
  49
    Scott M. Fishman, Responsible Opioid Prescribing: A Clinician’s Guide, 10-11 (2d ed. 2012)
  (emphasis added).

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            70.    The updated guide still assures that “[o]pioid therapy to relieve pain and improve

  function is legitimate medical practice for acute and chronic pain of both cancer and

  noncancer origins.”50

            71.    The revised guide continues: “I believe clinicians must be very careful with the

  label ‘addict.’ I draw a distinction between a ‘chemical coper’ and an addict.” 51 Fishman

  persists in portraying symptoms of addiction as symptoms of “pseudoaddiction.”

            72.    Under-treatment of pain is a concept designed by Big Pharma to sell opioids. The

  FSMB actually issued a report calling on medical boards to punish doctors for inadequately treating

  pain.52 Among the drafters of this policy was Dr. J. David Haddox (“Haddox”), who coined the term

  “pseudoaddiction.” The term lacks scientific evidence, but was employed to promote opioid

  prescriptions, even to patients displaying the symptoms. Haddox later became a vice president of

  Purdue,53 where he likened potential harm associated with OxyContin to the harm an individual

  would suffer if they improperly consumed celery. Haddox said, if “I gave you a stalk of celery and

  you ate that, it would be healthy. But if you put it in a blender and tried to shoot it into your veins, it

  would not be good.”54

            73.    As described in ¶¶ 113-124 infra, in 2012 and again in 2017, the FSMB’s guides, as

  well as the FSMB’s funding sources, became the subject of a Senate investigation.



  50
       Id. at 11 (emphasis added).
  51
    Scott M. Fishman, Listening to Pain: A Physician’s Guide to Improving Pain Management
  Through Better Communication 45 (Oxford University Press 2012) (emphasis added).
  52
    Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec.
  17, 2012, at A1.
  53
       Gounder, Who Is Responsible, supra n.39.
  54
       Keefe, Empire of Pain, supra n.16.

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             74.   On June 8, 2012, the FSMB submitted a letter to the U.S. Senate Committee on

  Finance (“Senate Finance Committee”) regarding the abuse and misuse of opioids.55 While the letter

  acknowledged the escalation of drug abuse and death tied to prescription painkillers, the FSMB

  continued to focus on the “serious and related problem” that “[m]illions of Americans suffer from

  debilitating pain – a condition that, for some, can be relieved through the use of opioids.”56 Among

  other things, the letter stated, “Studies have concluded that both acute pain and chronic pain are often

  under-treated in the United States, creating serious repercussions that include the loss of productivity

  and quality of life.”57 The letter cited no such studies. The letter also confirmed that the FSMB’s

  “Responsible Opioid Prescribing: A Physician’s Guide” has been distributed in all 50 states and the

  District of Columbia.

             75.   In addition, the FSMB letter disclosed payments the FSMB received from

  organizations that develop, manufacture, produce, market, or promote the use of opioid-based drugs

  from 1997 through 2012. Included in the payments received are the following payments from the

  Manufacturing Defendants:


       Company                                        Fiscal Year                   Amount
   Purdue                   2001                                               $38,324.56
                            2002                                               $10,000.00
                            2003                                               $85,180.50
                            2004                                               $87,895.00
                            2005                                               $244,000.00
                            2006                                               $207,000.00
                            2007                                               $50,000.00
                            2008                                               $100,000.00


  55
    June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus and
  Charles Grassley.
  56
       Id.
  57
       Id.

                                                    26
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                           Total Purdue Payments                             $822,400.06
   Endo                    2007                                              $40,000.00
                           2008                                              $100,000.00
                           2009                                              $100,000.00
                           2011                                              $125,000.00
                           2012                                              $46,620.00
                           Total Endo Payments                               $371,620.00
   Cephalon                2007                                              $30,000.00
                           2008                                              $100,000.00
                           2011                                              $50,000.00
                           Total Cephalon Payments                           $180,000.00
   Mallinckrodt            2011                                              $100,000.00
                           Total Mallinckrodt Payments                       $100,000.00


          76.    The letter also disclosed payments of $40,000 by Endo and $50,000 by Purdue to

  directly fund the production of “Responsible Opioid Prescribing,” and disclosed that 42,366 copies

  of “Responsible Opioid Prescribing” were distributed in Florida alone.

          77.    The Joint Commission: The Joint Commission is an organization that establishes

  treatment standards and accredits U.S. healthcare organizations. The Manufacturing Defendants,

  including Purdue, contributed misleading and baseless educational materials and videos to the Joint

  Commission. The materials emphasize the “under-treatment of pain,” refer to pain as the “fifth vital

  sign” (the first and only unmeasurable/subjective vital sign) that must be monitored and treated, and

  encourage the use of prescription opioids for chronic pain, while minimizing the danger of addiction.

  It also called doctors’ concerns about addiction “inaccurate and exaggerated.”

          78.    In 2000, the Joint Commission printed a book for doctors’ required continuing

  education seminars. The book cites studies claiming “there is no evidence that addiction is a




                                                   27
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  significant issue when persons are given opioids for pain control.”58 The book was sponsored by

  Purdue.59

             79.     In 2001, the Joint Commission and the National Pharmaceutical Council (founded in

  1953 and supported by the nation’s major research-based biopharmaceutical companies) 60

  collaborated to issue a 101-page monograph titled “Pain: Current understanding of assessment,

  management, and treatments.” The monograph states that beliefs about opioids being addictive are

  “erroneous”:


             Societal issues that contribute to the undertreatment of pain include drug abuse
             programs and erroneous beliefs about tolerance, physical dependence, and
             addiction (see I.E.5). For example, some clinicians incorrectly assume that
             exposure to an addictive drug usually results in addiction.

                                             *       *        *
                                 b. Etiology, issues, and concerns


                     Many medications produce tolerance and physical dependence, and some
             (e.g., opioids, sedatives, stimulants, anxiolytics, some muscle relaxants) may cause
             addiction in vulnerable individuals. Most experts agree that patients who undergo
             prolonged opioid therapy usually develop physical dependence but do not develop
             addictive disorders. In general, patients in pain do not become addicted to opioids.
             Although the actual risk of addiction is unknown, it is thought to be quite low. A
             recent study of opioid analgesic use revealed “low and stable” abuse of opioids
             between 1990 and 1996 despite significant increases in opioids prescribed. . . .
                      Fear of causing addiction (i.e., iatrogenic addiction), particularly with opioid
             use, is a major barrier to appropriate pain management. This fear sometimes reflects
             a lack of understanding of the risk of addiction with therapeutic drug use. Although
             studies suggest that the risk of iatrogenic addiction is quite low (e.g., Perry and
             Heidrich, Zenz et al.), surveys indicate that clinicians often overestimate this



  58
     Sonia Moghe, Opioid history: From ‘wonder drug’ to abuse epidemic, CNN, (Oct. 14, 2016),
  https://www.cnn.com/2016/05/12/health/opioid-addiction-history/index.html.
  59
       Id.

  60
       Currently funded by Johnson & Johnson, Purdue and Cephalon, among others.

                                                         28
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            risk.61
            80.       Additionally, the monograph suggests that long-acting (i.e., extended release) pain

  medications are superior and should be used whenever possible:

            Long-acting and sustained-release opioids are useful for patients with
            continuous pain, as they lessen the severity of end-of-dose pain and often allow
            the patient to sleep through the night.
                                             *       *        *
                     Administer opioids primarily via oral or transdermal routes, using long-acting
                      medications when possible.62
  In truth, such medications often do not last as long as promised, and there is evidence to suggest

  that the use of long-acting drugs may actually create more addicts.

            81.       The Manufacturing Defendants’ infiltration and influence over the Joint

  Commission’s standards and literature exerted overwhelming pressure on doctors to treat and

  eliminate pain. As more and more doctors migrated from private practice to integrated healthcare

  systems in the 2000s, treatment options were dictated by, among other things, the Joint

  Commission’s guidelines.63 Consistent with the guidelines, doctors who left pain untreated were

  viewed as demonstrating poor clinical skills and/or being morally compromised.64

            82.       The U.S. General Accounting Office’s December 2003 Report to Congressional

  Requesters confirms that Purdue funded the “pain management educational courses” that taught the

  new standard of care for treating pain. It further revealed that Purdue disseminated educational




  61
     Pain: Current Understanding of Assessment, Management, and Treatments 16-17 (Dec. 2001),
  http://www.npcnow.org/system/files/research/download/Pain-Current-Understanding-of-
  Assessment-Management-and-Treatments.pdf (footnotes and citations omitted) (emphasis added).
  62
       Id. at 38, 68 (Table 38) (emphasis added).
  63
       Lembke (2016), supra n.21, at 119.
  64
       Id. at 42.

                                                         29
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  materials on pain management that “facilitated [Purdue’s] access to hospitals to promote

  OxyContin.”65

         83.      The American Pain Foundation: The American Pain Foundation (“APF”),

  headquartered in Baltimore, Maryland, describes itself as the nation’s largest organization for pain

  patients.66 While the APF held itself out as an independent patient advocacy organization, in reality

  it received 90% of its funding in 2010 from the drug and medical-device industry, including from

  defendants Purdue, Endo, Janssen and Cephalon. It received more than $10 million in funding from

  opioid manufacturers from 2007 to 2012, when it shut down days after the Senate Finance

  Committee launched an investigation into APF’s promotion of prescription opioids.

         84.      The APF’s guides for patients, journalists and policymakers trivialized the risk of

  addiction and greatly exaggerated the benefits associated with opioid painkillers.67

         85.      For example, in 2001, APF published “Treatment Options: A Guide for People

  Living with Pain.” 68 The guide, produced with support from opioid manufacturers, including

  defendants Cephalon and Purdue, misrepresented the risks associated with opioid use. Among other

  things, the guide:

                 lamented that opioids were sometimes called narcotics, because “[c]alling


  65
    Gounder, Who Is Responsible, supra n.39; U.S. General Accounting Office, GAO-04-110,
  Prescription Drugs, OxyContin Abuse and Diversion and Efforts to Address the Problem (Dec.
  2003), http://www.gao.gov/new.items/d04110.pdf.
  66
    The APF was the focus of a December investigation by ProPublica in the Washington Post that
  detailed its close ties to drug makers.
  67
     Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch
  Investigation of Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
  http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_inv
  estigation_of_prescription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).
  68
     Treatment Options: A Guide for People Living with Pain, American Pain Foundation,
  https://assets.documentcloud.org/documents/277605/apf-treatment options.pdf.

                                                   30
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                    opioid analgesics ‘narcotics’ reinforces myths and misunderstandings as
                    it places emphasis on their potential abuse rather than on the importance of
                    their use as pain medicines”;69

                   stated that “[o]pioids are an essential option for treating moderate to severe
                    pain associated with surgery or trauma”;70 and

                   opined that “[r]estricting access to the most effective medications for
                    treating pain [opioids] is not the solution to drug abuse or addiction.”71

  The guide includes blurbs from Portenoy, who is quoted as saying “[t]his is a very good

  resource for the pain patient,” and Fishman, who is quoted as saying, “[w]hat a great job!

  Finally, a pill consumer resource created for patients with pain. A ‘must have’ for every

  physician’s waiting room.”72

            86.     In 2003, the APF published a newsletter titled “Best of … The Pain Community

  News” that purported to clarify any confusion over addiction and opioids by emphasizing the “tragic

  consequences of leaving many people with severe pain under-treated because they—or their

  doctors—fear that opioids will cause addiction.”

            87.     In 2009, Endo sponsored the APF’s publication and distribution of “Exit Wounds: A

  Survival Guide to Pain Management for Returning Veterans & Their Families” (“Exit Wounds”), a

  book described as “the inspirational story of how one courageous veteran, with the aid of his family,

  recovered and thrived despite near death, traumatic brain injury, and the loss of a limb.”73 It also



  69
       Id. at 11 (emphasis added).
  70
       Id. (emphasis added)
  71
       Id. at 15.
  72
       Id. at 76.
  73
    Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival
  Guide to Pain Management for Returning Veterans and Their Families, Coalition for Iraq +
  Afghanistan                       Veterans,                       https://web.archive.org/web/
  20160804131030/http://coalitionforveterans.org/2009/10/iraq-war-veteran-amputee-pain-

                                                      31
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  purported to “offer[] veterans and their families comprehensive and authoritative information on . .

  . treatment options, and strategies for self-advocating for optimal pain care and medical resources

  inside and outside the VA system.”74

             88.     Exit Wounds reports: “Long experience with opioids shows that people who are not

  predisposed to addiction are very unlikely to become addicted to opioid pain medications.”

  Endo, through APF, distributed Exit Wounds with the intent to provide veterans with false

  information so that veterans could “self-advocat[e]” for opioids, despite omitting the risks associated

  with opioid use.

             89.     In 2009, APF played a central role in a first-of-its-kind internet series titled “Let’s

  Talk Pain,” hosted by veteran TV journalist Carol Martin. The series brought together healthcare

  providers and “people with pain to discuss a host of issues from managing health care for pain to

  exploring integrative treatment approaches to addressing the psychological aspects associated with

  pain.” Let’s Talk Pain is still available online. In the very first episode of the show, the following

  exchange took place:

                     [Teresa Shaffer (APF Action Network Leader)]: As a person who has been
             living with pain for over 20 years, opioids are a big part of my pain treatment. And I
             have been hearing such negative things about opioids and the risk factors of opioids.
             Could you talk with me a little bit about that?

                     [Dr. Al Anderson (AAPM Board of Directors)]: The general belief system in
             the public is that the opioids are a bad thing to be giving a patient. Unfortunately, it’s
             also prevalent in the medical profession, so patients have difficulty finding a doctor
             when they are suffering from pain for a long period of time, especially moderate to
             severe pain. And that’s the patients that we really need to use the opioids methods
             of treatment, because they are the ones who need to have some help with the function
             and they’re the ones that need to be controlled enough so that they can increase their



  advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-
  returning-veterans-and-their-families/ (last visited June 7, 2018).
  74
       Id.

                                                        32
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          quality of life.75
          90.     In reality, there is little scientific evidence to support the contention that opioids taken

  long-term improve function or quality of life for chronic pain patients.76 To the contrary, there is

  ample evidence that opioids impose significant risks and adverse outcomes on long-term users and

  that they may actually reduce function.77 As a recent article in the New England Journal of Medicine

  concluded: “Although opioid analgesics rapidly relieve many types of acute pain and improve

  function, the benefits of opioids when prescribed for chronic pain are much more questionable.” The

  article continues, “opioid analgesics are widely diverted and improperly used, and the widespread

  use of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.”78




  75
      Episode 1: Safe Use of Opioids (PainSAFE), Let’s Talk Pain (Sept. 28, 2010),
  https://www.youtube.com/watch?v=zeAIvAMRgsk (emphasis added).
  76
    Lembke (2016), supra n.21, at 59 (citing Agency for Healthcare Research and Quality (US): The
  Effectiveness and Risks of Long-Term Opioid Treatment of Chronic Pain, Evid. Rep./Tech.
  Assess., No. 218 (2014), https://ahrq-ehc-application.s3.amazonaws.com/media/pdf/chronic-pain-
  opioid-treatment-research.pdf).
  77
    Discussing the “March 2016 Guideline for Prescribing Opioids for Chronic Pain” by the Centers
  for Disease Control (“CDC”), doctors wrote:

       Most placebo-controlled, randomized trials of opioids have lasted 6 weeks or less, and
       we are aware of no study that has compared opioid therapy with other treatments in terms
       of long-term (more than 1 year) outcomes related to pain, function, or quality of life. The
       few randomized trials to evaluate opioid efficacy for longer than 6 weeks had consistently
       poor results. In fact, several studies have showed that use of opioids for chronic pain may
       actually worsen pain and functioning, possibly by potentiating pain perception.

  Thomas Frieden & Debra Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing
  Guideline, 374 New Eng. J. Med. 1501-04 (Apr. 21, 2016), http://www.nejm.org/doi/full/10.1056/
  NEJMp1515917?af=R&rss=currentIssue&#t= article.
  78
    Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain – Misconceptions and
  Mitigation Strategies, 374 New Eng. J. Med. 1253-63 (Mar. 31, 2016), http://www.nejm.org/
  doi/full/10.1056/NEJMra1507771#t=article.

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         91.     The APF also developed the National Initiative on Pain Control (“NIPC”), which

  operated a facially-unaffiliated website (now defunct) called www.painknowledge.org. The NIPC

  promoted itself as an education initiative, citing its expert leadership team composed of purported

  experts in the pain management field. Www.PainKnowledge.org promised that, on opioids, “your

  level of function should improve; you may find you are now able to participate in activities of daily

  living, such as work and hobbies, that you were not able to enjoy when your pain was worse.”

  Elsewhere, the website touted improved quality of life (as well as “improved function”) as benefits

  of opioid therapy. In a brochure available on www.painknowledge.org titled “Pain: Opioid Facts,”

  the NIPC misleadingly stated that “people who have no history of drug abuse, including tobacco,

  and use their opioid medication as directed will probably not become addicted,” and refused to rule

  out the use of opioid pain relievers for patients who have a history of addiction to opioids.79

         92.     In or around 2011, the APF published a “Policymaker’s Guide,” sponsored by

  Purdue, to dispel the notion that “strong pain medication leads to addiction” by characterizing it as

  a “common misconception[]”:

         Many people living with pain, and even some health care practitioners, falsely
         believe that opioid pain medicines are universally addictive. As with any medication,
         there are risks, but these risks can be managed when these medicines are properly
         prescribed and taken as directed. For more information about safety issues related to
         opioids and other pain therapies, visit http://www.painsafe.org.80
         93.     The guide describes “pain in America” as “an evolving public health crisis” and

  characterizes concerns about opioid addiction as misconceptions: “Unfortunately, too many



  79
      Pain: Opioid Facts Pain Knowledge, https://web.archive.org/web/20101007102042/
  http://painknowledge.org/patiented/pdf/Patient%20Education%20b380_b385%20%20pf%20opio
  d.pdf (last visited June 7, 2018).
  80
     A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation at
  5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited June
  7, 2018) (emphasis added).

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  Americans are not getting the pain care they need and deserve. Some common reasons for difficulty

  in obtaining adequate care include…Misconceptions about opioid addiction.” 81 It even

  characterizes as a “myth” that “[c]hildren can easily become addicted to pain medications.”82

  The guide further asserts that “multiple clinical studies” have shown that opioids are effective in

  improving daily function, psychological health and health-related quality of life for chronic pain

  patients, which was not the case.83

            94.    In December 2011, the Washington Post reported on ProPublica’s investigation of

  the APF and detailed APF’s close ties to drug makers:

            [T]he pills continue to have an influential champion in the American Pain
            Foundation, which describes itself as the nation’s largest advocacy group for
            pain patients. Its message: The risk of addiction is overblown, and the drugs
            are underused.

                   What the nonprofit organization doesn’t highlight is the money
            behind that message.

                    The foundation collected nearly 90 percent of its $5 million in funding
            last year from the drug and medical-device industry – and closely mirrors its
            positions.84


  81
       Id. at 6 (emphasis added).
  82
       Id. at 40 (emphasis added).
  83
     The “Policymaker’s Guide” cites for support “Opioids for chronic noncancer pain: a meta-
  analysis of effectiveness and side effects,” a review published in 2006 in the Canadian Medical
  Association Journal. Id. at 34. However, the review concludes: “For functional outcomes, the other
  analgesics were significantly more effective than were opioids.” Andrea D. Furlan, et al., Opioids
  for chronic noncancer pain: a meta-analysis of effectiveness and side effects, 174(11) Canadian
  Med.      Assoc.     J.     1589-94       (May     23,    2006),       https://www.ncbi.nlm.nih.gov/
  pmc/articles/PMC1459894/ (emphasis added). The Purdue-sponsored guide failed to disclose both
  this conclusion and the fact that the review analyzed studies that lasted, on average, five weeks and
  therefore could not support the long-term use of opioids.
  84
     Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller drugs,
  probe finds, Wash. Post (Dec. 23, 2011), https://www.washingtonpost.com/national/health-
  science/patient-advocacy-group-funded-by-success-of-painkiller-drugs-probe-
  finds/2011/12/20/gIQAgvczDP_story.html?utm_term=. 22049984c606 (emphasis added).

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          95.     American Academy of Pain Medicine (“AAPM”) and American Pain Society

  (“APS”): The Manufacturing Defendants, including Endo, Janssen, and Purdue, have contributed

  funding to the AAPM and the APS for decades.

          96.     In 1997, the AAPM issued a “consensus” statement endorsing opioids to treat chronic

  pain, while claiming that the risk that patients would become addicted to opioids was low. The

  chairman of the committee issuing the consensus, Haddox, at the time was a paid speaker for Purdue.

  As discussed in ¶ 72, supra, Haddox was later hired as Purdue’s vice president for health policy. The

  consensus became the foundation of the AAMP’s 1998 guidelines. AAPM’s corporate council

  includes Purdue, Depomed, Teva and other pharmaceutical companies. AAPM’s past presidents

  include Haddox (1998), Fishman (2005), Dr. Perry G. Fine (“Fine”) (2011) and Lynn R. Webster

  (“Webster”) (2013), all of whose connections to the opioid manufacturers are well documented, as

  set forth herein.

          97.     At or about the same time, the APS introduced the “pain as the 5th vital sign”

  campaign, followed soon thereafter by the U.S. Department of Veterans Affairs adopting that

  campaign as part of their national pain management strategy.

          98.     AAPM and APS issued guidelines in 2009 (“2009 Guidelines”) that continued to

  recommend the use of opioids to treat chronic pain. Fourteen of the 21 panel members who drafted

  the 2009 Guidelines received funding from defendants Janssen, Cephalon, Endo, or Purdue.

          99.     The 2009 Guidelines falsely promoted opioids as safe and effective for treating

  chronic pain and concluded that the risk of addiction was manageable for patients regardless of past




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  abuse histories.85 The 2009 Guidelines have been a particularly effective channel of deception and

  have influenced not only treating physicians but also the body of scientific evidence on opioids. They

  were reprinted in the journal Pain, have been cited hundreds of times in academic literature, and

  remain available online. The Manufacturing Defendants widely cited and promoted the 2009

  Guidelines without disclosing the lack of evidence to support its conclusions.

         100.    The Alliance for Patient Access (“APA”): Founded in 2006, APA is a self-

  described patient advocacy and health professional organization that styles itself as “a national

  network of physicians dedicated to ensuring patient access to approved therapies and appropriate

  clinical care.”86 It is run by Woodberry Associates, a lobbying firm also established in 2006.87 As

  of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The list includes

  Johnson & Johnson, Endo, Mallinckrodt, Purdue, and Cephalon.

         101.    APA’s board members received substantial funding from pharmaceutical

  companies. 88 For instance, board vice president Srinivas Nalamachu, M.D., who practices in

  Kansas, received more than $800,000 from 2013 through 2015 from pharmaceutical companies—




  85
    Roger Chou, et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic
  Non-Cancer Pain, 10(2) J. Pain 113 (Feb. 2009), http://www.jpain.org/article/S1526-
  5900(08)00831-6/pdf (hereinafter “Chou, Clinical Guidelines”).
  86
     The Alliance for Patient Access, About AfPA, http://allianceforpatientaccess.org/about-
  afpa/#membership (last visited June 7, 2018). References herein to APA include two affiliated
  groups: the Global Alliance for Patient Access and the Institute for Patient Access.
  87
     Mary Chris Jaklevic, Non-profit Alliance for Patient Access uses journalists and politicians to
  push      Big    Pharma’s     agenda,     Health     News      Review      (Oct.    2,     2017),
  https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
  politicians-push-big-pharmas-agenda/ (hereinafter “Jaklevic, Non-profit Alliance for Patient
  Access”).
  88
    All information concerning pharmaceutical company payments to doctors in this paragraph is from
  ProPublica’s Dollars for Docs database, available at https://projects.propublica.org/docdollars/.

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  nearly all of it from manufacturers of opioids or drugs that treat opioids’ side-effects, including

  defendants Endo, Insys, Purdue, and Cephalon. Dr. Nalamachu’s clinic was raided by federal agents

  in connection with an investigation of Insys and its payment of kickbacks to physicians who

  prescribe Subsys.89 Other board members include Dr. Robert A. Yapundich, from North Carolina,

  who received $215,000 from pharmaceutical companies between 2013 and 2015, including

  payments by defendants Cephalon and Mallinckrodt; Dr. Jack D. Schim, from California, who

  received more than $240,000 from pharmaceutical companies between 2013 and 2015, including

  from defendants Endo, Mallinckrodt and Cephalon; Dr. Howard Hoffberg, from Maryland, who

  received $153,000 from pharmaceutical companies between 2013 and 2015, including from

  defendants Endo, Purdue, Insys, Mallinckrodt and Cephalon; and Dr. Robin K. Dore, from

  California, who received $700,000 from pharmaceutical companies between 2013 and 2015.

         102.    The APA issued a white paper titled “Prescription Pain Medication: Preserving

  Patient Access While Curbing Abuse.”90 Among other things, the white paper criticizes prescription

  monitoring programs by expressing concerns that they are burdensome, not user friendly and of

  questionable efficacy:

         Prescription monitoring programs that are difficult to use and cumbersome can
         place substantial burdens on physicians and their staff, ultimately leading many
         to stop prescribing pain medications altogether. This forces patients to seek
         pain relief elsewhere, which may be much less convenient and familiar and
         may even be dangerous or illegal.

                                        *      *        *
         In some states, physicians who fail to consult prescription monitoring databases


  89
    Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, Kansas City Star
  (July 20, 2017), http://www.kansascity.com/news/business/health-care/article162569383.html.
  90
    Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Institute for
  Patient Access (Oct. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-
  content/uploads/2013/12/PT_White-Paper_Finala.pdf.

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             before prescribing pain medications for their patients are subject to fines; those
             who repeatedly fail to consult the databases face loss of their professional
             licensure. Such penalties seem excessive and may inadvertently target older
             physicians in rural areas who may not be facile with computers and may not have
             the requisite office staff. Moreover, threatening and fining physicians in an
             attempt to induce compliance with prescription monitoring programs represents
             a system based on punishment as opposed to incentives.

                                            *       *        *
             We cannot merely assume that these programs will reduce prescription pain
             medication use and abuse.91

             103.   The white paper also expresses concern about policies that have been enacted in

  response to the prevalence of pill mills:

             Although well intentioned, many of the policies designed to address this problem
             have made it difficult for legitimate pain management centers to operate. For
             instance, in some states, [pain management centers] must be owned by physicians
             or professional corporations, must have a Board certified medical director, may
             need to pay for annual inspections, and are subject to increased record keeping and
             reporting requirements. . . . [I]t is not even certain that the regulations are helping
             prevent abuses.92
             104.   In addition, in an echo of earlier industry efforts to push back against what they

  termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking pain

  medication:

             Both pain patients and physicians can face negative perceptions and outright stigma.
             When patients with chronic pain can’t get their prescriptions for pain medication filled
             at a pharmacy, they may feel like they are doing something wrong – or even criminal.
             . . . Physicians can face similar stigma from peers. Physicians in non-pain specialty
             areas often look down on those who specialize in pain management – a situation fueled
             by the numerous regulations and fines that surround prescription pain medications.93




  91
       Id.
  92
       Id.
  93
       Id.

                                                        39
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             105.   In conclusion, the white paper states that “Prescription pain medications, and

  specifically the opioids, can provide substantial relief for people who are recovering from surgery,

  afflicted by chronic painful diseases, or experiencing pain associated with other conditions that does

  not adequately respond to over-the-counter drugs.”94

             106.   The APA also issues financial awards to members of Congress, styling them as

  deserving of recognition as “Patient Access Champions.” The APA gave out 50 such awards in 2015.

  The awards were funded by a $7.8 million donation from unnamed donors. While the awards are

  ostensibly given for protecting patients’ access to Medicare, and are thus touted by their recipients

  as demonstrating a commitment to protecting the rights of senior citizens and the middle class, they

  are actually granted to reward, and provide cover to, members of Congress who have supported the

  APA’s agenda.95

             107.   The APA also lobbies Congress directly. In 2015, the APA and AAPM signed a letter

  supporting proposed legislation limiting the ability of the U.S. Drug Enforcement Administration

  (“DEA”) to enforce the “suspicious orders” provision of the Controlled Substances Act, 21 U.S.C.

  § 801, et seq. (“CSA”).96 An internal DOJ memo states that the proposed bill “could actually result

  in increased diversion, abuse, and public health and safety consequences”97 and, according to DEA




  94
       Id.
  95
       Jaklevic, Non-profit Alliance for Patient Access, supra n.87.
  96
    Letter from Alliance for Patient Access, et al., to Congressmen Tom Marino, Marsha Blackburn,
  Peter Welch, and Judy Chu (Jan. 26, 2015), http://webcache.googleusercontent.com/
  search?q=cache:-poWY1gKeEgJ:allianceforpatientaccess.org/wp-content/uploads/2013/12/FINAL-
  Patient-Access-Letter-of-Support-House-Bill.pdf+&cd=1&hl=en&ct=clnk&gl=us.
  97
    Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS News
  (Oct. 17, 2017), https://www.cbsnews.com/news/ ex-dea-agent-opioid-crisis-fueled-by-drug-
  industry-and-congress/.

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  chief administrative law judge John J. Mulrooney, the law would make it “all but logically

  impossible” to prosecute violations by manufacturers and distributors, like Defendants, in the federal

  courts.98 The legislation passed both houses of Congress and was signed into law in 2016.

                                c. The Manufacturing Defendants Paid Key Opinion
                                   Leaders and Sponsored Speakers’ Bureaus to
                                   Disseminate False and Misleading Messaging.

              108.   The Manufacturing Defendants have paid millions of dollars to physicians to promote

  aggressive prescribing of opioids for chronic pain. Recently released federal data shows that the

  Manufacturing Defendants increased payments to physicians who treat chronic pain even while the

  opioid crisis accelerated and overdose deaths from prescription opioids, and related illicit drugs such

  as heroin, soared to record rates.99 These payments come in the form of consulting and speaking

  fees, free food and beverages, discount coupons for drugs, and other freebies. Total payments from

  the Manufacturing Defendants to doctors related to opioids doubled from 2014 to 2015. Moreover,

  according to experts, research shows even small amounts of money can have large effects on doctors’

  prescribing practices. 100 Physicians who are high prescribers are more likely to be invited to

  participate in Defendants’ speakers’ bureaus. According to a study published by the U.S. National

  Institutes of Health, “[i]n the speakers’ bureau system, physicians are recruited and trained by

  pharmaceutical, biotechnology, and medical device companies to deliver information about products




  98
    John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion Law:
  Hidden Rocks in Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev. 333 (Feb. 27,
  2018), http://scholarship.law.marquette.edu/mulr/vol101/iss2/3/.
  99
    Joe Lawlor, Even amid crisis, opioid makers plied doctors with perks, Portland Press Herald
  (Dec. 25, 2016), http://www.pressherald.com/2016/12/25/even-amid-crisis-opioid-makers-plied-
  doctors-with-perks/.
  100
        Id.

                                                     41
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  to other physicians, in exchange for a fee.”101

         109.    The use of speakers’ bureaus has led to substantial ethical concerns within the

  medical field. According to a 2013 publication by the Institute on Medicine as a Profession, speakers’

  bureaus are ethically compromised because they often present information as objective when, in

  actuality, it is heavily biased toward the interests of an industry sponsor and may lead to the

  dissemination of false or biased information. These findings are substantiated by citations to research

  in the Journal of the American Medical Association, The Journal of Law, Medicine & Ethics and

  Academic Psychiatry:

         The Problem:

                Pharmaceutical companies often recruit physicians to perform speeches
         or presentations for the purpose of marketing a specific drug. In 2010, 8.6% of
         physicians reported having received payments for participating in speakers’
         bureaus. These speakers’ bureaus leverage the credibility of physicians in order to
         promote the use of pharmaceutical products. The physicians are generally trained
         to present a certain message, or are provided with pre-produced slides. The
         audience may assume that these presentations are objective, when in fact they
         are heavily biased towards the interests of the industry sponsor.

                Speakers’ bureaus may lead to the dissemination of false or biased
         information. Exposure to industry-sponsored speaking events is associated with
         decreased quality of prescribing. Additionally, the compensation provided for these
         engagements may influence the attitudes or judgment of the presenter.102
         110.    For example, Fishman is a physician whose ties to the opioid drug industry are legion.

  He has served as an APF board member and as president of the AAPM, and has participated in

  numerous CME activities for which he received “market rate honoraria.” As discussed above, he has



    Lynette Reid & Matthew Herder, The Speakers’ bureau system: a form of peer selling, 7(2) Open
  101

  Med. e31-e39 (Apr. 2, 2013), https://www.ncbi.nlm.nih.gov/ pmc/articles/ PMC3863750/.
  102
      Speakers’ Bureaus: Best Practices for Academic Medical Centers, IMAP (Oct. 10, 2013),
  http://imapny.org/wp-
  content/themes/imapny/File%20Library/Best%20Practice%20toolkits/Best-Practices_Speakers--
  bureaus.pdf (emphasis added).

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  authored publications, including the seminal guides on opioid prescribing, which were funded by the

  Manufacturing Defendants. Fishman has also worked to oppose legislation requiring doctors and

  others to consult pain specialists before prescribing high doses of opioids to non-cancer patients. He

  has himself acknowledged his failure to disclose all potential conflicts of interest in a letter in the

  Journal of the American Medical Association titled “Incomplete Financial Disclosures in a Letter on

  Reducing Opioid Abuse and Diversion.”103

           111.   Similarly, Fine’s ties to the Manufacturing Defendants have been well

  documented.104 He has authored articles and testified in front of state and federal committees as

  well as in courts of law. In one such instance, he testified that the 1,500 pills a month prescribed to

  celebrity Anna Nicole Smith for pain did not make her an addict before her death.105 Fine has served

  as president of the AAPM and has argued against legislation restricting high-dose opioid

  prescriptions for non-cancer patients. Multiple videos feature him delivering educational talks about

  prescription opioids. Fine also acknowledges his failure to disclose numerous conflicts of interest.106

           112.   Fishman and Fine are only two of the many physicians whom the Manufacturing

  Defendants paid to present false or biased information on the use of opioids for chronic pain.

                             d. Senate Investigations of the Manufacturing Defendants.



  103
     Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and
  Diversion, 306(13) JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in Pain
  Treatment Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011, 2:14 PM),
  https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry
  (hereinafter “Weber, Two Leaders in Pain”).
  104
        Weber, Two Leaders in Pain, supra n.103.
  105
     Linda Deutsch, Doctor: 1,500 pills don’t prove Smith was addicted, Seattle Times (Sept. 22,
  2010, 5:16 PM), http://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-smith-
  was-addicted/.
  106
        Weber, Two Leaders in Pain, supra n.103.

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         113.    In May 2012, the Chair and Ranking Member of the Senate Finance Committee, Max

  Baucus (D-MT) and Chuck E. Grassley (R-IA) respectively, launched an investigation into makers

  of narcotic painkillers and groups that champion them. The investigation was triggered by “an

  epidemic of accidental deaths and addiction resulting from the increased sale and use of powerful

  narcotic painkillers,” including popular brand names like OxyContin, Vicodin, and Opana.

         114.    The Senate Finance Committee sent letters to Purdue, Endo, and Johnson & Johnson,

  as well as five groups that support pain patients, physicians or research, including the APF, AAMP,

  APS, University of Wisconsin Pain & Policy Studies Group, and Center for Practical Bioethics.

  Letters also went to the FSMB and the Joint Commission.

         115.    The Senators addressed the magnitude of the epidemic and asserted that mounting

  evidence supports the notion that pharmaceutical companies may be responsible:

                 It is clear that the United States is suffering from an epidemic of accidental
         deaths and addiction resulting from the increased sale and use of powerful narcotic
         painkillers such as Oxycontin (oxycodone), Vicodin (hydrocodone), Opana
         (oxymorphone). According to CDC data, “more than 40% (14,800)” of the “36,500
         drug poisoning deaths in 2008” were related to opioid-based prescription painkillers.
         Deaths from these drugs rose more rapidly, “from about 4,000 to 14,800” between
         1999 and 2008, than any other class of drugs, [killing] more people than heroin and
         cocaine combined. More people in the United States now die from drugs than car
         accidents as a result of this new epidemic. Additionally, the CDC reports that
         improper “use of prescription painkillers costs health insurers up to $72.5 billion
         annually in direct health care costs.”

                                        *       *        *
                 Concurrent with the growing epidemic, the New York Times reports that,
         based on federal data, “over the last decade, the number of prescriptions for the
         strongest opioids has increased nearly fourfold, with only limited evidence of
         their long-term effectiveness or risks” while “[d]ata suggest that hundreds of
         thousands of patients nationwide may be on potentially dangerous doses.”
                There is growing evidence pharmaceutical companies that manufacture
         and market opioids may be responsible, at least in part, for this epidemic by
         promoting misleading information about the drugs’ safety and effectiveness.
         Recent investigative reporting from the Milwaukee Journal Sentinel/MedPage
         Today and ProPublica revealed extensive ties between companies that manufacture

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         and market opioids and non-profit organizations such as the American Pain
         Foundation, the American Academy of Pain Medicine, the Federation of State
         Medical Boards, and University of Wisconsin Pain and Policy Study Group, and
         the Joint Commission.


                 In a ProPublica story published in the Washington Post, the watchdog
         organization examined the American Pain Foundation, a “health advocacy”
         organization that received “nearly 90 percent of its $5 million funding from the
         drug and medical device industry.” ProPublica wrote that its review of the American
         Pain Foundation’s “guides for patients, journalists, and policymakers play down the
         risks associated with opioids and exaggerate their benefits. Some of the foundation’s
         materials on the drugs include statements that are misleading or based on scant or
         disputed research.”

                According to the Milwaukee Journal Sentinel/MedPage Today, a “network
         of national organizations and researchers with financial connections to the
         makers of narcotic painkillers . . . helped create a body of dubious information”
         favoring opioids “that can be found in prescribing guidelines, patient literature,
         position statements, books and doctor education courses.”107

                 Although it is critical that patients continue to have access to opioids to treat
         serious pain, pharmaceutical companies and health care organizations must
         distribute accurate and unbiased information about these drugs in order to
         prevent improper use and diversion to drug abusers.108
         116.    The Senators demanded substantial discovery, including payment information from

  the pharmaceutical companies to various groups, including the front organizations identified above,

  and to physicians, including Portenoy, Fishman, and Fine, among others. They asked about any

  influence the pharmaceutical companies had on the FSMB’s 2004 pain guide for physicians, the



  107
      For example, the Sentinel reported that the FSMB, with financial support from opioid
  manufacturers, distributed “[m]ore than 160,000 copies” of a model policy book that drew criticism
  from doctors because “it failed to point out the lack of science supporting the use of opioids for
  chronic, non cancer pain.” John Fauber, Follow the Money: Pain, Policy, and Profit, MedPage Today
  (Feb. 19, 2012), http://www.medpagetoday.com/Neurology/PainManagement/ 31256.
  108
     Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood,
  Executive      Director      (May      8,     2012),     American      Pain     Society,
  https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
  20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf (footnote
  added) (emphasis added).

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  APS’s guidelines, and on the APF’s Military/Veterans Pain Initiative. Almost immediately upon the

  launch of the Senate investigation, the APF shut down “due to irreparable economic circumstances.”

  The opioid report resulting from this investigation has not been publicly released.109

         117.     On March 29, 2017, the Senate began a second investigation into the Manufacturing

  Defendants’ marketing practices:110

                       Missouri Senator Claire McCaskill has launched an investigation
                into some of the country’s leading prescription drug manufacturers,
                demanding documents and records dating back the past five years which
                indicate just what the companies knew of the drugs’ risk for abuse as well
                as documents detailing marketing practices and sales presentations. Her
                office has sent letters to the heads of Purdue, Janssen/Johnson & Johnson,
                Insys, Mylan, and Depomed.
  The above-referenced companies were reportedly targeted based on their role in manufacturing

  the opioid painkillers with the highest sales in 2015.

         118.     On September 6, 2017, Senator McCaskill published a report titled “Fueling an

  Epidemic: Insys Therapeutics and the Systemic Manipulation of Prior Authorization.” The report

  found that Insys manipulated the prior authorization process by misleading pharmacy benefit

  managers about the role of Insys in the prior authorization process and the presence of breakthrough

  cancer pain in potential Subsys patients.111




  109
     Paul D. Thacker, Senators Hatch and Wyden: Do your jobs and release the sealed opioids
  report, Stat News (June 27, 2016), https://www.statnews.com/ 2016/06/27/opioid-addiction-orrin-
  hatch-ron-wyden/; see also Ornstein, American Pain Foundation, supra n.67.
  110
     Nadia Kounang, Senator opens investigation into opioid manufacturers, CNN (Mar. 29, 2017,
  11:06 AM), http://www.cnn.com/2017/03/28/health/senate-opioid-manufacturer-investigation/
  index.html.
  111
    HSGAC Minority Staff Report, Insys Therapeutics and the Systemic Manipulation of Prior
  Authorization (2017), available at: https://www.hsgac.senate.gov/imo/media/doc/REPORT%20-
  %20Fueling%20an%20Epidemic%20-
  %20Insys%20Therapeutics%20and%20the%20Systemic%20Manipulation%20of%20Prior%20
  Authorization.pdf.

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              119.   On September 12, 2017, Senator McCaskill convened a Roundtable Discussion on

  Opioid Marketing. During the hearing, Senator McCaskill stated:

                      The opioid epidemic is the direct result of a calculated marketing and sales
              strategy developed in the 90’s, which delivered three simple messages to
              physicians. First, that chronic pain was severely undertreated in the United States.
              Second, that opioids were the best tool to address that pain. And third, that opioids
              could treat pain without risk of serious addiction. As it turns out, these messages
              were exaggerations at best and outright lies at worst.

                                            *       *        *
                     Our national opioid epidemic is complex, but one explanation for this crisis
              is simple, pure greed.112

              120.   Professor Adriane Fugh-Berman (“Fugh-Berman”), Associate Professor at

  Georgetown University Medical Center and director of a program at Georgetown called Pharmed

  Out, which conducts research on and educates the public about inappropriate pharmaceutical

  company marketing, also testified during the hearing. She, too, placed the blame for the opioid crisis

  squarely at the feet of pharmaceutical companies:

                     Since the 1990’s, pharmaceutical companies have stealthily distorted the
              perceptions of consumers and healthcare providers about pain and opioids. Opioid
              manufacturers use drug reps, physicians, consumer groups, medical groups,
              accreditation and licensing bodies, legislators, medical boards and the federal
              government to advance marketing goals to sell more opioids. This aggressive
              marketing pushes resulted in hundreds of thousands of deaths from the
              overprescribing of opioids. The U.S. is about – comprises about five percent of the
              world population, but we use about two-thirds of the world supply of opioids.113
              121.   Fugh-Berman explained how doctors were convinced by pharmaceutical companies’

  marketing efforts:

                    Why the physicians fall for this? Well, physicians are overworked,
              overwhelmed, buried in paperwork and they feel unappreciated. Drug reps are


  112
       Insys Opioid Sales and Marketing Practices                     Roundtable,    (Sept.   12,     2017),
  https://www.youtube.com/watch?v=k9mrQa8_vAo.
  113
        Id.

                                                        47
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              cheerful. They’re charming. They provide both appreciation and information.
              Unfortunately, the information they provide is innately unreliable.
                     Pharmaceutical companies influence healthcare providers’ attitudes and their
              therapeutic choices through financial incentives that include research grants,
              educational grants, consulting fees, speaking fees, gifts and meals.114

              122.   Fugh-Berman further described the false information provided by pharmaceutical

  companies and front organizations, including the APF, as designed to create industry-influenced

  regulations and policies:

                      Pharmaceutical companies convinced healthcare providers that they were
              opiophobic and that they were causing suffering to their patients by denying opioids
              to patients with back pain or arthritis. They persuaded prescribers that patients with
              pain were somehow immune to addiction. Even when addiction was suspected,
              physicians were taught that it might not really be addiction, it might be pseudo-
              addiction, an invented (ph) condition that’s treated by increasing opioid dosages.

                      Industry created the American Pain Foundation co-opted other groups
              including medical organizations, and they change state laws to eliminate curbs on
              opioid prescribing. Between 2006 and 2015, pharmaceutical companies and the
              advocacy groups they control employ 1,350 lobbyists a year in legislative hubs.
              Industry-influenced regulations and policies ensure that hospitalized patients were and
              are berated paraded constantly about their level of pain and overmedicated with
              opioids for that pain. Even a week of opioids can lead a patient into addiction so many
              patients are discharged from hospitals already dependent on opioids.115

              123.   In addition, Fugh-Berman pointed out that promotion of opioids remains ongoing

  despite increasing public concern about their use:

                     Promotion of opioids is not in the past. Between 2013 and 2015, one in 12
              physicians took out money from opioid manufacturers, a total of more than $46
              million. Industry-friendly messages that pharmaceutical companies are currently
              perpetuating reassure physicians that prescribing opioids is safe as long as patients
              do not have a history of substance abuse or mental illness.116



  114
        Id.
  115
        Id.
  116
        Id.

                                                        48
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              124.   Fugh-Berman concluded by stating: “It is a misperception to think that most opioid

  deaths are caused by misuse of opioids or overdoses. In fact, many deaths occur when people are

  using opioids in exactly the way they were prescribed. Misuse isn’t the problem; use is the

  problem.”117

                     3.     The Devastating Impact.

              125.   The impact of the Manufacturing Defendants’ false messaging has been profound.

  The drug companies profited handsomely as more and more people became addicted to opioids and

  died of overdoses.118

              126.   For Purdue, sales grew from $48 million per year in 1996, to over $1 billion per year

  in 2000, to $3.1 billion per year ten years later. In 2011, pharmaceutical companies generated

  revenues of $11 billion from opioid sales alone.

              127.   The United States, including Coral Gables, is experiencing an unprecedented opioid

  addiction and overdose epidemic, costing millions of dollars for, inter alia, treatment, services, and

  public safety as well as lost productivity in the workforce, economic opportunity and tax revenue.

              128.   “Lifetime nonmedical use of OxyContin increased from 1.9 million to 3.1 million

  people between 2002 and 2004, and in 2004 there were 615,000 new nonmedical users of

  OxyContin.”119 By 2004, OxyContin had “become the most prevalent prescription opioid abused in

  the United States.”120 The severity of the problem was first felt in states including Maine, West



  117
        Id.
  118
     German Lopez, How big pharma got people hooked on dangerous opioids – and made tons of
  money off it, Vox (Sept. 22, 2016, 3:00 PM), http://www.vox.com/2016/2/5/ 10919360/opioid-
  epidemic-chart.
  119
        Van Zee, Promotion and Marketing, supra n.33 (emphasis added).
  120
        Id.

                                                      49
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  Virginia, eastern Kentucky, southwestern Virginia and Alabama, where, from 1998 through 2000,

  hydrocodone and oxycodone were being prescribed 2.5-5 times more often than the national average.

  By 2000, these same areas had a prescription rate up to 5-6 times higher than the national average.

              129.   These areas were also the first to suffer increased abuse and diversion, which became

  apparent by 2000. Manufacturers then expanded the geographic market by investing hundreds of

  millions of dollars in marketing, and the once-regional problem began to spread nationally. “[B]y

  2004 OxyContin had become a leading drug of abuse in the United States.”121

              130.   As OxyContin sales grew between 1999 and 2002, so did sales of other opioids,

  including fentanyl (226%), morphine (73%) and oxycodone (402%). In 2012 alone, an estimated

  259 million opioid prescriptions were filled, enough to medicate every adult in the United States for

  a month on a round-the-clock basis.122

              131.   As prescriptions surged between 1999 and 2010, so did deaths from opioid

  overdoses, from about 4,000 to almost 17,000. 123 In 2014, there were more than 47,000 drug

  overdose deaths nationwide, with 61% involving a prescription or illicit opioid. 124 The use of

  prescription painkillers costs health insurers up to $72.5 billion annually in direct healthcare costs.125




  121
        Id.
  122
     Opioid Painkiller Prescribing, Centers for Disease Control and Prevention: Vital Signs (July
  2014), https://www.cdc.gov/vitalsigns/opioid-prescribing/.
  123
        Gounder, Who Is Responsible, supra n.39.
  124
        Rudd, Increases in Drug and Opioid-Involved Overdose, supra n.9.
  125
     Katherine Eban, OxyContin: Purdue Pharma’s painful medicine, Fortune Magazine (Nov. 9,
  2011), http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/ (hereinafter
  “Eban, Painful Medicine”).

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         132.      According to the CDC, drug overdose deaths in Florida increased by 4.8% from 2013

  to 2014, and by 22.7% from 2014 to 2015, with deaths increasing from 2,474, to 2,634, to 3,228 over

  the three-year period, with opioids being the main driver of those deaths. During that timeframe,

  drug overdose deaths in Florida increased from approximately 12 per 100,000 to 16 per 100,000

  people. Further, the Florida Medical Examiners Commission’s 2016 Interim Report indicates that

  between January and June 2016, 33.8% of decedents examined had opioids in their system at the

  time of death.

         133.      The City of Coral Gables has faced a spike in fatal drug overdoses. According to the

  2016 Florida Medical Examiners Commission Drug Report, a total of 541 people in Miami-Dade

  County died of prescription drug-related deaths in 2015. The number of fatal prescription drug-

  related overdoses rose by exactly 100 to 641 deaths in 2016. The CDC estimates that for every

  opioid-related death, there are 733 non-medical users.

         134.      Coral Gables continues to suffer significant damage as a result of opioid over-

  prescription and addiction, including, but not limited to, increased law enforcement and public works

  expenditures, increased expenditures for overtime, the hiring of additional City employees, mental

  health treatment and workers’ compensation for its employees, increased emergency and treatment

  services, damage to emergency equipment and vehicles, and lost productivity, economic

  opportunity, and tax revenue. In order to properly address this unprecedented epidemic and protect

  the safety and welfare of its residents, the City has had to significantly modify its emergency

  response plan, requiring the hiring of additional permanent emergency response personnel, overtime

  pay, and the purchase and maintenance of additional emergency vehicles and supplies, such as

  Narcan – none of which would have otherwise been necessary. Additionally, Coral Gables must now




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  pay for and provide mental health services to its employees, who are on the front lines of assisting

  residents and visitors, and otherwise re-allocate City funds to cope with the opioid epidemic.

         B. The Manufacturing Defendants’ Specific Unlawful Practices that Targeted Coral

             Gables Prescribers.

                 1.      Purdue.

         135.    Purdue, which is privately held by the Sackler family – one of America’s richest

  families with a collective net worth of $13 billion, manufactures, markets, sells and distributes

  opioids in Coral Gables and across the United States, including the following:

  OxyContin (oxycodone      Opioid agonist indicated for pain severe enough to          Schedule II
  hydrochloride extended    require daily, around-the-clock, long-term opioid
  release)                  treatment; not indicated as an as-needed (p.r.n.)
                            analgesic. It was first approved by the FDA in December
                            1995.
  OxyContin (oxycodone Opioid agonist indicated for pain severe enough to               Schedule II
  hydrochloride extended require daily, around-the-clock, long-term opioid
  release)                  treatment; not indicated as an as-needed (p.r.n.)
                            analgesic. It was first approved by the FDA in December
                            1995.
  MS Contin (morphine       Opioid agonist; controlled-release tablet form of morphine Schedule II
  sulfate extended release) sulfate indicated for the management of severe pain; not
                            intended for use as a p.r.n. analgesic; first approved in
                            May 1987 as the first formulation of an opioid pain
                            medicine that allowed dosing every 12 hours.
  Dilaudid                  Opioid analgesic; injectable and oral formulation; eight Schedule II
  (hydromorphone            times more potent than morphine.126
  hydrochloride)

  Dilaudid-HP                Opioid analgesic; injectable and oral high-potency and       Schedule II
  (hydromorphone             highly concentrated formulation indicated for relief of
  hydrochloride)             moderate-to-severe pain in opioid-tolerant patients.




  126
      Dilaudid Addiction, Suboxone California, https://www.suboxonecalifornia.com/suboxone-
  treatment/dilaudid-addiction/ (last visited June 7, 2018).

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  Hysingla ER                 Brand-name extended-release form of hydrocodone bitrate Schedule II
  (hydrocodone bitrate)       that is indicated for the management of severe pain.

  Targiniq ER (oxycodone Brand-name extended-release opioid analgesic made of a Schedule II
  hydrochloride and       combination of oxycodone hydrochloride and naloxone
  naloxone hydrochloride) hydrochloride. It was approved by the FDA on July 23,
                          2013.


                              a. Purdue Falsely Marketed Extended-Release Drugs as
                                 More Safe and More Effective than Regular-Release
                                 Drugs.

            136.   Purdue launched OxyContin 20 years ago with a bold marketing claim: “One dose

  relieves pain for 12 hours, more than twice as long as generic medications.”127 Prior to launching

  OxyContin, Purdue conducted focus groups with doctors and “learned that the ‘biggest negative’

  that might prevent widespread use of the drug was ingrained concern regarding the ‘abuse potential’

  of opioids.”128 In its initial press release launching the drug, Purdue told doctors that one OxyContin

  tablet would provide “smooth and sustained pain control all day and all night.” Based in large part

  on that promise, and Purdue’s repeated assurances that opioids were both effective and non-

  addictive, OxyContin became America’s bestselling painkiller. 129 However, Purdue had no

  evidentiary basis for any of these claims.130




    Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem, L.A.
  127

  Times (May 5, 2016), http://www.latimes.com/projects/ oxycontin-part1/ (hereinafter “Ryan,
  Description of Hell”).
  128
        Keefe, Empire of Pain, supra n.16.
  129
      Press Release, Purdue Pharma L.P., New Hope for Millions of Americans Suffering from
  Persistent Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996),
  https://www.freelibrary.com/NEW+HOPE+FOR+MILLIONS+OF+AMERICANS+SUFFERIN
  G+FROM+PERSISTENT+PAIN%3A...-a018343260).
  130
     Though the FDA’s 1995 approval allowed Purdue to include a package insert for OxyContin
  declaring the drug to be safer than its competitors due to its delayed release design, Purdue had in

                                                    53
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          137.   In truth, Purdue’s nationwide marketing claims were false and highly deceptive.

  OxyContin was not superior to immediate-release opioids—not only does OxyContin wear off early,

  as Purdue’s own early studies showed, it is highly addictive:

          OxyContin’s stunning success masked a fundamental problem: The drug wears off hours
          early in many people, a Los Angeles Times investigation found. OxyContin is a chemical
          cousin of heroin, and when it doesn’t last, patients can experience excruciating
          symptoms of withdrawal, including an intense craving for the drug.131
          138.   Furthermore, experts call Purdue’s 12-hour dosing “an addiction producing

  machine.”132 Purdue had reportedly known for decades that it falsely promised 12-hour relief and

  nevertheless mobilized hundreds of sales representatives to train physicians on OxyContin’s

  benefits:

                . . . Even before OxyContin went on the market, clinical trials showed many
                 patients weren’t getting 12 hours of relief. Since the drug’s debut in 1996, the
                 company has been confronted with additional evidence, including complaints
                 from doctors, reports from its own sales reps and independent research.

                The company has held fast to the claim of 12-hour relief, in part to protect its
                 revenue. OxyContin’s market dominance and its high price – up to hundreds of
                 dollars per bottle – hinge on its 12-hour duration. Without that, it offers little
                 advantage over less expensive painkillers.

                When many doctors began prescribing OxyContin at shorter intervals in the late
                 1990s, Purdue executives mobilized hundreds of sales reps to “refocus”


  fact “conducted no clinical studies on how addictive or prone to abuse the drug might be. . . . The
  F.D.A. examiner who oversaw the process, Dr. Curtis Wright, left the agency shortly afterward.
  Within two years, he had taken a job at Purdue.” Keefe, Empire of Pain, supra n.16.
  131
      The Los Angeles Times investigation, reported in three parts on May 5, July 10 and December
  18, 2016, included the review of thousands of pages of confidential Purdue documents and court
  and other records. They span three decades, from the conception of OxyContin in the mid-1980s
  to 2011, and include e-mails, memoranda, meeting minutes and sales reports, as well as sworn
  testimony by executives, sales representatives and other employees. Ryan, Description of Hell,
  supra n.128 (emphasis added). The Los Angeles Times reporters also examined FDA records,
  Patent Office files and medical journal articles, and interviewed experts in pain treatment,
  addiction medicine and pharmacology. Id.
  132
     Kathleen Frydl, Purdue Pharma: Corporate Fraud With a Body Count, Alternet (May 18,
  2016), https://www.alternet.org/ drugs/purdue-pharma-corporate-fraud-body-count.

                                                    54
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                   physicians on 12-hour dosing. Anything shorter “needs to be nipped in the bud.
                   NOW!!” one manager wrote to her staff.

                  Purdue tells doctors to prescribe stronger doses, not more frequent ones, when
                   patients complain that OxyContin doesn’t last 12 hours. That approach creates
                   risks of its own. Research shows that the more potent the dose of an opioid such
                   as OxyContin, the greater the possibility of overdose and death.

                  More than half of long-term OxyContin users are on doses that public health
                   officials consider dangerously high, according to an analysis of nationwide
                   prescription data conducted for The Times.133

            139.   As reported by The New York Times, “internal Purdue Pharma documents show that

  company officials recognized even before the drug was marketed that they would face stiff resistance

  from doctors who were concerned about the potential of a high-powered narcotic like OxyContin to

  be abused by patients or cause addiction.” To combat this resistance, Purdue falsely promised the

  long-acting, extended-release formulation was safer and “less prone to such problems.”134

                              b. Purdue Falsely Marketed Low Addiction Risk to Wide
                                 Swaths of Physicians.

            140.   In addition to pushing OxyContin as safe and non-addictive by equating extended-

  release with a lower risk, Purdue also promoted the use of prescription opioids for use in non-cancer

  patients, who make up 86% of the total opioid market today.135

            141.   Rather than targeting physicians treating acute severe short-term (like post-operative)

  pain or oncologists treating end-stage cancer pain, reports indicate that Purdue heavily promoted

  OxyContin to general practitioners, who often had little training in the treatment of serious pain or




  133
        Ryan, Description of Hell, supra n.128.
  134
      Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10, 2007),
  http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter “Meier, Guilty Plea”).
  135
        Ornstein, American Pain Foundation, supra n.67.

                                                     55
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  in recognizing signs of drug abuse in patients.136 According to a report in The New Yorker, “[a]

  major thrust of the sales campaign was that OxyContin should be prescribed not merely for the kind

  of severe short-term pain associated with surgery or cancer but also for less acute, longer-lasting

  pain: arthritis, back pain, sports injuries, fibromyalgia,” concluding that “[t]he number of conditions

  that OxyContin could treat seemed almost unlimited.”137

              142.   Sales representatives gave physicians coupons that were redeemable for 7- to 30-day

  free supplies of OxyContin, with the promise that OxyContin was a safe opioid. Purdue “trained its

  sales representatives to carry the message that the risk of addiction was ‘less than one percent,’” and

  “[a] consistent feature in the promotion and marketing of OxyContin was a systematic effort to

  minimize the risk of addiction in the use of opioids for the treatment of chronic non-cancer-related

  pain.”138

              143.   Sales representatives marketed OxyContin as a product “to start with and to stay

  with,” and Purdue deliberately exploited a misconception it knew many doctors held: that oxycodone

  was less potent than morphine. 139 They also received training in overcoming doctors’ concerns

  about addiction with talking points they knew to be untrue about the drug’s abuse potential. The

  New Yorker reported that “[i]n 2002, a sales manager from the company, William Gergely, told a

  state investigator in Florida that Purdue executives ‘told us to say things like it is “virtually” non-

  addicting.’” 140



  136
        Meier, Guilty Plea, supra n.135.
  137
        Keefe, Empire of Pain, supra n.16.
  138
        Van Zee, Promotion and Marketing, supra n.33.
  139
        Keefe, Empire of Pain, supra n.16.
  140
        Id.

                                                     56
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              144.   Further, “[a]ccording to training materials, Purdue instructed sales representatives to

  assure doctors – repeatedly and without evidence – that ‘fewer than one per cent’ of patients who

  took OxyContin became addicted. (In 1999, a Purdue-funded study of patients who used OxyContin

  for headaches found that the addiction rate was thirteen per cent.)”141

              145.   In 2015 Purdue sales representatives were still telling physicians that OxyContin was

  addiction resistant because it contained “‘abuse-deterrent’ properties.”142

              146.   Purdue’s marketing worked. Keith Humphreys, Professor of Psychiatry at Stanford

  and drug-policy adviser to the Obama Administration, said:

              That’s the real Greek tragedy of this—that so many well-meaning doctors got
              co-opted. The level of influence is just mind-boggling. Purdue gave money to
              continuing medical education, to state medical boards, to faux grassroots
              organizations.143
              147.   Purdue tracked physicians’ prescribing practices. It purchased pharmacy prescription

  data obtained from I.M.S. Health, a company that buys bulk prescription data from pharmacies and

  resells the data to drug makers (I.M.S. Health was co-founded by Purdue owner Arthur Sackler).

  Rather than reporting highly suspicious prescribing practices, Purdue used the data to identify

  physicians who prescribed relatively few opioids, but might be persuaded to prescribe more.

              148.   Purdue also had the ability to identify physicians writing large numbers of

  prescriptions, particularly for high-dose 80 mg pills. By identifying the doctors, Purdue knew that




  141
        Id.
  142
        Id.
  143
        Id.

                                                       57
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  they exhibited the hallmarks of potential signs of diversion and drug dealing.144 Instead of sounding

  the alarm, Purdue merely referred to these high-prescribing doctors as “whales.”145

            149.   Purdue knew about many suspicious doctors and pharmacies from prescribing

  records, pharmacy orders, field reports from sales representatives and, in some instances, its own

  surveillance operations. 146 Since 2002, Purdue maintained a confidential roster of suspected

  reckless prescribers known as “Region Zero.” By 2013, there were more than 1,800 doctors in

  Region Zero, but Purdue had reported only 8% of them to authorities. The Los Angeles Times

  reported that “[a] former Purdue executive, who monitored pharmacies for criminal activity,

  acknowledged that even when the company had evidence pharmacies were colluding with drug

  dealers, it did not stop supplying distributors selling to those stores.”147

                              c. Purdue Funded Publications and Presentations with
                                 False and Misleading Messaging.




  144
     An 80 mg tablet is equivalent in strength to 16 Vicodin tablets and was generally reserved by
  doctors for patients with severe, chronic pain who had built up a tolerance over months or years. In
  the illegal drug trade, however, “80s” are the most in demand. For those attempting to detect how
  OxyContin was getting into the black market, a physician writing a high volume of 80s was a red
  flag. Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals
  and addicts. What the drugmaker knew, L.A. Times (July 10, 2016), http://www.latimes.com/
  projects/la-me-oxycontin-part2/ (hereinafter “Ryan, More than 1 million”).
  145
        Keefe, Empire of Pain, supra n.16.
  146
      Purdue’s “Abuse and Diversion Detection” program requires its sales representatives to report to
  the company any facts that suggest a healthcare provider to whom it markets opioids may be involved
  in the abuse or illegal diversion of opioid products. When a provider is reported under the program,
  Purdue purportedly conducts an internal inquiry regarding the provider to determine whether he or
  she should be placed on a “no-call” list. If a provider is placed on this list, Purdue sales
  representatives may no longer contact the provider to promote the company’s opioid products. Bill
  Fallon, Purdue Pharma agrees to restrict marketing of opioids, Stamford Advocate (Aug. 25, 2015,
  3:32 PM), http://www.stamfordadvocate.com/business/article/Purdue-Pharma-agrees-to-restrict-
  marketing-of-6464800.php (hereinafter “Fallon, Purdue Pharma agrees”).
  147
        Ryan, More than 1 Million, supra n.145.

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            150.   As explained above, Purdue’s false marketing scheme did not end with its own sales

  representatives and marketing materials. Purdue engaged third parties, including doctors and front

  groups, to spread the false message of prescription opioids’ safety and efficacy.

            151.   Purdue caused the publication and distribution of false and deceptive guidelines on

  opioid prescribing. For example, as set forth above, Purdue paid $100,000 to the FSMB to help print

  and distribute its guidelines on the use of opioids to treat chronic pain to 700,000 practicing doctors,

  including FSMB members the Florida Board of Medicine and the Florida Board of Osteopathic

  Medicine.

            152.   Haddox, the longtime member of Purdue’s speakers’ Berea who later became a

  Purdue vice president, was one of the advisors for Fishman’s 2007 publication “Responsible Opioid

  Prescribing: A Physician’s Guide” and its 2012 update.

            153.   Similarly, multiple videos feature Fine delivering educational talks about the

  drugs.148 In one video from 2011, titled “Optimizing Opioid Therapy,” he sets forth a “Guideline

  for Chronic Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another),

  not only for cancer patients, but for non-cancer patients, and suggests it may take four or five

  switches over a person’s “lifetime” to manage pain. 149 He states the “goal is to improve

  effectiveness which is different from efficacy and safety.” For chronic pain patients, effectiveness

  “is a balance of therapeutic good and adverse events over the course of years.” The entire program

  assumes that opioids are appropriate treatment for a “protracted period of time” and even over a

  patient’s entire “lifetime.” He suggests that opioids can be used to treat sleep apnea. He further states



  148
        Weber, Two Leaders in Pain, supra n.103.
  149
       Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
  https://www.youtube.com/watch?v=_G3II9yqgXI.

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  that the associated risks of addiction and abuse can be managed by doctors and evaluated with

  “tools,” but leaves that for “a whole other lecture.”150

              154.   Purdue provided many “teaching” materials free of charge to the Joint Commission.

              155.   Purdue also deceptively marketed the use of opioids for chronic pain through the

  APF, which was shut down after the launch of the Senate investigation in 2012. In 2010 alone, the

  APF received 90% of its funding from drug and medical device companies, including from Purdue.

  Purdue paid APF unspecified amounts in 2008 and 2009, and between $100,000 and $499,999 in

  2010.151

                                d. The Guilty Pleas.

              156.   In May 2007, Purdue and three of its executives pled guilty to federal charges of

  misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

  about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

  Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented the

  risk of addiction, and was unsupported by science. Additionally, Michael Friedman (“Friedman”),

  the company’s president, pled guilty to a misbranding charge and agreed to pay $19 million in fines;

  Howard R. Udell (“Udell”), Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in

  fines; and Paul D. Goldenheim (“Goldenheim”), its former medical director, pled guilty as well and

  agreed to pay $7.5 million in fines.




  150
        Id.
  151
               American             Pain           Foundation    Report,         GuideStar,
  http://www.guidestar.org/PartnerReport.aspx?ein=XX-XXXXXXX&Partner=Demo (last visited June
  7, 2018) (links to annual reports at bottom of page).




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         157.    In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

  Attorney for the Western District of Virginia, stated:

         Purdue claimed it had created the miracle drug – a low risk drug that could provide
         long acting pain relief but was less addictive and less subject to abuse. Purdue’s
         marketing campaign worked, and sales for OxyContin skyrocketed – making
         billions for Purdue and millions for its top executives.

         But OxyContin offered no miracles to those suffering in pain. Purdue’s claims
         that OxyContin was less addictive and less subject to abuse and diversion were
         false – and Purdue knew its claims were false. The result of their
         misrepresentations and crimes sparked one of our nation’s greatest prescription
         drug failures. . . . OxyContin was the child of marketeers and bottom line financial
         decision making.152
         158.    Brownlee characterized Purdue’s criminal activity as follows:

                  First, Purdue trained its sales representatives to falsely inform health care
         providers that it was more difficult to extract the oxycodone from an OxyContin
         tablet for the purpose of intravenous abuse. Purdue ordered this training even
         though its own study showed that a drug abuser could extract approximately 68% of
         the oxycodone from a single 10 mg OxyContin tablet by simply crushing the tablet,
         stirring it in water, and drawing the solution through cotton into a syringe.

                Second, Purdue falsely instructed its sales representatives to inform health
         care providers that OxyContin could create fewer chances for addiction than
         immediate-release opioids.

                Third, Purdue sponsored training that falsely taught Purdue sales
         supervisors that OxyContin had fewer “peak and trough” blood level effects than
         immediate-release opioids resulting in less euphoria and less potential for abuse
         than short-acting opioids.
                Fourth, Purdue falsely told certain health care providers that patients could
         stop therapy abruptly without experiencing withdrawal symptoms and that
         patients who took OxyContin would not develop tolerance to the drug.

                And fifth, Purdue falsely told health care providers that OxyContin did not
         cause a “buzz” or euphoria, caused less euphoria, had less addiction potential, had


  152
     Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States
  Attorney John Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives
  for Illegally Misbranding OxyContin (May 10, 2007), https:// assets.documentcloud.org/
  documents/279028/purdue-guilty-plea.pdf (emphasis added).

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            less abuse potential, was less likely to be diverted than immediate-release opioids,
            and could be used to “weed out” addicts and drug seekers.153
            159.    Specifically, Purdue pled guilty to illegally misbranding OxyContin in an effort to

  mislead and defraud physicians and consumers, while Friedman, Udell and Goldenheim pled guilty

  to the misdemeanor charge of misbranding OxyContin for introducing misbranded drugs into

  interstate commerce in violation of 21 U.S.C. §§331(a), 333(a)(1)-(2) and 352(a).

            160.    Nevertheless, even after the settlement, Purdue continued to pay doctors on speakers’

  bureaus to promote the liberal prescribing of OxyContin for chronic pain. Lastly, Purdue:

            assembled an army of lobbyists to fight any legislative actions that might encroach on
            its business. Between 2006 and 2015, Purdue and other painkiller producers, along
            with their associated nonprofits, spent nearly nine hundred million dollars on lobbying
            and political contributions – eight times what the gun lobby spent during that period.154
            161.    Purdue has earned more than $31 billion from OxyContin, the nation’s bestselling

  painkiller, which constitutes approximately 30% of the U.S. market for painkillers. Since 2009,

  Purdue’s national annual sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion,

  up threefold from 2006 sales of $800 million.155

            162.    Purdue continues to make thousands of payments to physicians, including to Coral

  Gables physicians, for participating on speakers’ bureaus, providing consulting services, assisting in

  post-marketing safety surveillance and other services.

            163.    Publicly disclosed payments for the years 2013 through 2016 reveal that Purdue

  made more than $2.9 million in payments for consulting, speakers’ bureau participation, post-




  153
        Id. (emphasis added).
  154
        Keefe, Empire of Pain, supra n.16.
  155
        Eban, Painful Medicine, supra n.125.

                                                       62
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  marketing safety surveillance and other services related to OxyContin alone.156 OxyContin has been

  widely prescribed in Coral Gables. According to data collected by ProPublica, during 2014 and 2015,

  Florida doctors’ prescriptions of OxyContin to patients insured by the Medicare Part D program

  totaled more than $60 million and $61.3 million, respectively.

                             e. Purdue Failed to Report Suspicious Sales as Required.

         164.    The Comprehensive Drug Abuse Prevention and Control Act of 1970, 21 U.S.C §

  801 et seq. (“CSA” or “Controlled Substances Act”), and the regulations promulgated thereunder,

  21 C.F.R. § 1300 et seq., which is incorporated into Florida law by Fla. Stat. § 499.0121(10) and

  (15)(b), imposes on all “registrants” the obligation to design and operate a system to disclose to the

  registrant suspicious orders of controlled substances and requires the registrant to notify the DEA

  field division office in its area of any suspicious orders. “Suspicious orders include orders of unusual

  size, orders deviating substantially from a normal pattern, and orders of unusual frequency.” 21

  C.F.R. § 1301.74(b).

         165.    Purdue is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b), defined as

  any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in turn, requires

  manufacturers of Schedule II controlled substances to register with the DEA.

         166.    Purdue failed to design and operate a system to disclose suspicious orders of

  controlled substances and/or failed to notify the appropriate DEA field division of suspicious orders.

  For example, in September 2017, Roberto A. Fernandez, owner of the Coral Gables-based Latin

  Foundation for Health, was sentenced to 97 months in prison for prescribing medically-unnecessary




  156
                OxyContin,            Dollars            for          Docs,                  ProPublica,
  https://projects.propublica.org/docdollars/products/drug-oxycontin.

                                                    63
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  drugs to patients in exchange for financial kickbacks. 157 In addition to his prison sentence,

  Fernandez was ordered to pay $4.8 million in restitution after he plead guilty to wire fraud and

  conspiracy to commit healthcare fraud.158 Fernandez’s sentence comes on the heels of a $1.3 billion

  national health care fraud crackdown, which involved 412 defendants, including 115 physicians,

  nurses and other licensed health care professions.159 Those charged were involved in the illegal

  prescription and distribution of opioids and other narcotics. Attorney General Jeff Sessions described

  the scheme as a “multimillion dollar criminal enterprise” where the participants “seem oblivious to

  the disastrous consequences of their greed.”160 Purdue’s failure to timely report these and other

  suspicious sales violated the CSA.

                     2.       Janssen.

              167.   Janssen manufactures, markets, sells and distributes the following opioids in Coral

  Gables and across the United States:

  Duragesic               Opioid analgesic delivered via skin patch; contains gel form of    Schedule II
  (fentanyl)              fentanyl, a synthetic opioid that is up to 100 times more potent
                          than morphine; delivers fentanyl at regulated rate for up to 72
                          hours; first approved by the FDA in August 1990.
  Nucynta ER              Opioid agonist; extended-release formulation indicated for severe Schedule II
  (tapentadol             pain.
  hydrochloride)
  Nucynta                 Immediate-release version of tapentadol hydrochloride for the      Schedule II
  (tapentadol             management of moderate to severe acute pain.
  hydrochloride)


  157
     Florida Physician Sentenced to Eight Years for Medicare Fraud, Boston Criminal Lawyer
  Blog, (Sept. 27, 2017), https://www.bostoncriminallawyerblog.com/2017/09/florida-physician-
  sentenced-eight-years-medicare-fraud.html (hereinafter, “Florida Physician Sentenced”).
  158
        Id.
  159
        Id.
  160
        Id.

                                                        64
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         168.    Janssen introduced Duragesic in 1990 for the “management of pain in opioid-tolerant

  patients, severe enough to require daily, around-the-clock, long-term opioid treatment and for which

  alternative treatment options are inadequate.” 161 Janssen also markets Nucynta, which was first

  approved by the FDA in 2008 for the “relief of moderate to severe acute pain in patients 18 years of

  age or older.”162 Additionally, Janssen markets Nucynta ER, which was first approved by the FDA

  in 2011 for the “management of . . . pain severe enough to require daily, around-the-clock, long-term

  opioid treatment and for which alternative treatment options are inadequate.”163 Nucynta ER’s pain

  indication was later altered to “management of moderate to severe chronic pain in adults” and

  “neuropathic pain associated with diabetic peripheral neuropathy (DPN) in adults.”164 Janssen sold

  Nucynta and Nucynta ER to Depomed in 2015 for $1.05 billion.

                             a. The FDA Warned Janssen Regarding Its False
                                Messaging.

         169.    On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

  dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

  Federal Food, Drug and Cosmetic Act. 165 In a subsequent letter, dated March 30, 2000, the FDA



  161
          Highlights    of     Prescribing    Information,     Duragesic,     available             at:
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/019813s072s073lbl.pdf.
  162
      Nucynta (tapentadol), CenterWatch, https://www.centerwatch.com/drug-information/fda-
  approved-drugs/drug/1132/nucynta-tapentadol
  163
                   Drug               Monograph,                  Nucynta                          ER,
  http://www.mass.gov/eohhs/docs/dph/quality/drugcontrol/drug-formulary/2016-
  meetings/nucynta-er-drug-monograph.pdf.
  164
      FDA Approves NUCYNTA ER (tapentadol) Extended-Release Oral Tablets for the
  Management of Neuropathic Pain Associated with Diabetic Peripheral Neuropathy, Johnson &
  Johnson, http://www.investor.jnj.com/releasedetail.cfm?releaseid=703115.

    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia
  165

  Chianese, Janssen Pharmaceutica (Mar. 30, 2000).

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  explained that the “homemade” promotional pieces were “false or misleading because they contain

  misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

  claims, and lack fair balance.”166

              170.   The    March    30,   2000,    letter   identified   specific   violations,   including

  misrepresentations that Duragesic had a low potential for abuse:

              You present the claim, “Low abuse potential!” This claim suggests that Duragesic
              has less potential for abuse than other currently available opioids. However, this
              claim has not been demonstrated by substantial evidence. Furthermore, this claim
              is contradictory to information in the approved product labeling (PI) that states,
              “Fentanyl is a Schedule II controlled substance and can produce drug dependence
              similar to that produced by morphine.” Therefore, this claim is false or
              misleading.167
              171.   The March 30, 2000, letter also states that the promotional materials represented that

  Duragesic was “more useful in a broader range of conditions or patients than has been demonstrated

  by substantial evidence.” Specifically, the FDA stated that Janssen was marketing Duragesic for

  indications other than the treatment of chronic pain that cannot otherwise be managed, for which it

  was approved:

              You present the claim, “It’s not just for end stage cancer anymore!” This claim
              suggests that Duragesic can be used for any type of pain management. However, the
              PI for Duragesic states, “Duragesic (fentanyl transdermal system) is indicated in
              the management of chronic pain in patients who require continuous opioid
              analgesia for pain that cannot be managed by lesser means . . . .” Therefore, the
              suggestion that Duragesic can be used for any type of pain management promotes
              Duragesic[] for a much broader use than is recommended in the PI, and thus, is
              misleading. In addition, the suggestion that Duragesic can be used to treat any kind
              of pain is contradictory to the boxed warning in the PI. Specifically, the PI states,




  166
        Id.
  167
        Id. at 2.

                                                       66
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             BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
             COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM)
             IS CONTRAINDICATED:
             In the management of acute or post-operative pain, including use in out-patient
             surgeries . . . 168

             172.     The March 30, 2000, letter also states that Janssen failed to adequately present

  “contraindications, warnings, precautions, and side effects with a prominence and readability

  reasonably comparable to the presentation of information relating to the effectiveness of the

  product”:169

             Although this piece contains numerous claims for the efficacy and safety of
             Duragesic, you have not presented any risk information concerning the boxed
             warnings, contraindications, warnings, precautions, or side effects associated with
             Duragesic’s use . . . . Therefore, this promotional piece is lacking in fair balance,
             or otherwise misleading, because it fails to address important risks and restrictions
             associated with Duragesic therapy.170

             173.     On September 2, 2004, the U.S. Department of Health and Human Services (“HHS”)

  sent Janssen a warning letter concerning Duragesic due to “false or misleading claims about the

  abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness claims for

  Duragesic,” including those specifically “suggesting that Duragesic has a lower potential for abuse

  compared to other opioid products.” 171




  168
        Id. at 2-3.
  169
        Id. at 3.
  170
        Id. at 3 (emphasis in original).
  171
     Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services, to
  Ajit Shetty, Janssen Pharmaceutica, Inc. (Sept. 2, 2004),
  https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/
  The%20Pink%20Sheet/66/038/00660380018/040920_ duragesic_letter.pdf at 2.


                                                      67
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              174.   The September 2, 2004, letter warned Janssen about its misleading advertisements,

  including its claims that Duragesic had a low reported rate of mentions in the Drug Abuse Warning

  Network (“DAWN”) as compared to other opioids. The letter stated that Janssen’s claim was false

  or misleading because it was not based on substantial data and because the lower rate of mentions

  was likely attributable to Duragesic’s lower frequency of use compared to other opioids listed in

  DAWN:

                       The file card presents the prominent claim, “Low reported rate of mentions in
              DAWN data,” along with Drug Abuse Warning Network (DAWN) data comparing
              the number of mentions for Fentanyl/combinations (710 mentions) to other listed
              opioid products, including Hydrocodone/combinations (21,567 mentions),
              Oxycodone/combinations (18,409 mentions), and Methadone (10,725 mentions). The
              file card thus suggests that Duragesic is less abused than other opioid drugs.

                       This is false or misleading for two reasons. First, we are not aware of
              substantial evidence or substantial clinical experience to support this comparative
              claim. The DAWN data cannot provide the basis for a valid comparison among
              these products. As you know, DAWN is not a clinical trial database. Instead, it is a
              national public health surveillance system that monitors drug-related emergency
              department visits and deaths. If you have other data demonstrating that Duragesic
              is less abused, please submit them.

                      Second, Duragesic is not as widely prescribed as other opioid products. As
              a result, the relatively lower number of mentions could be attributed to the lower
              frequency of use, and not to a lower incidence of abuse. The file card fails to
              disclose this information.172
              175.   The September 2, 2004, letter also detailed a series of unsubstantiated false or

  misleading claims regarding Duragesic’s effectiveness, including that Duragesic:

                    Demonstrated effectiveness in chronic back pain with additional patient
                     benefits . . . 86% of patients experienced overall benefit in a clinical study
                     based on: pain control, disability in ADLs, quality of sleep.
                    All patients who experienced overall benefit from DURAGESIC would
                     recommend it to others with chronic low back pain.
                    Significantly reduced nighttime awakenings.


  172
        Id.

                                                       68
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                     Significant improvement in disability scores as measured by the Oswestry
                      Disability Questionnaire and Pain Disability Index.
                     Significant improvement in physical functioning summary score.
                     Significant improvement in social functioning.173

            176.      The September 2, 2004, letter identified “outcome claims [that] are misleading

  because they imply that patients will experience improved social or physical functioning or improved

  work productivity when using Duragesic.” The claims include: “‘1,360 loaves . . . and counting,’

  ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’ ‘[c]hronic pain relief that

  supports functionality,’ ‘[h]elps patients think less about their pain,’ and ‘[i]mprove[s] . . . physical

  and social functioning.’” That letter further clarified that: “Janssen has not provided references to

  support these outcome claims. We are not aware of substantial evidence or substantial clinical

  experience to support these claims.”174

            177.      On July 15, 2005, the FDA issued a public health advisory to warn doctors about

  deaths attributable to the use of Duragesic and its generic competitor, manufactured by Mylan N.V.

  The advisory noted that the FDA had been “examining the circumstances of product use to determine

  if the reported adverse events may be related to inappropriate use of the [fentanyl transdermal]

  patch,” noting the possibility “that patients and physicians might be unaware of the risks.”

                                 b. Janssen Funded False Publications and Presentations.

            178.      Despite the repeated warnings, Janssen continued to falsely market the risks of

  opioids. In 2009, PriCara, a Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc., sponsored a

  2009 brochure, titled “Finding Relief: Pain Management for Older Adults,” aimed at potential




  173
        Id. at 2-3.
  174
        Id. at 3.

                                                       69
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  patients. The brochure includes a free DVD featuring actress Kathy Baker, who played a doctor in

  the popular television series Picket Fences.

            179.    The brochure purports to be a source for older adults to gain accurate information

  about treatment options for effective pain relief:

                     This program is aimed specifically at older adults and what they need to
             know to get effective pain relief. You will learn that there are many pathways to
             this relief.

                      You will learn about your options for pain management and how to find
             the treatment that’s right for you. By learning more about pain and the many ways
             it can be treated, you are taking solid steps toward reducing the pain you or a loved
             one may be feeling.175
            180.    The brochure contains false and misleading information about opioids, including a

  section seeking to dispel purported “myths” about opioid usage:

            Opioid Myths
            Myth: Opioid medications are always addictive.
            Fact: Many studies show that opioids are rarely addictive when used properly
            for the management of chronic pain.
            Myth: Opioids make it harder to function normally.
            Fact: When used correctly for appropriate conditions, opioids may make it
            easier for people to live normally.
            Myth: Opioid doses have to get bigger over time because the body gets used to them.
            Fact: Unless the underlying cause of your pain gets worse (such as with cancer or arthritis),
            you will probably remain on the same dose or need only small increases over time.176
            181.    Among the “Partners” listed in Finding Relief: Pain Management for Older Adults

  are the AAPM, the American Geriatrics Society (“AGS”) and the AGS Foundation for Health in

  Aging. Janssen (along with Purdue and Endo) funded the AAPM.




  175
        Finding Relief, Pain Management for Older Adults (2009).
  176
        Id. (emphasis in original).

                                                       70
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              182.   Janssen also disseminated false information about opioids on the website Prescribe

  Responsibly, which remains publicly accessible at www.prescriberesponsibly.com. According to the

  website’s legal notice, all content on the site “is owned or controlled by Janssen.”177

              183.   Prescribe Responsibly states that while practitioners are often concerned about

  prescribing opioids due to “questions of addiction,” such concerns “are often overestimated.

  According to clinical opinion polls, true addiction occurs only in a small percentage of patients with

  chronic pain who receive chronic opioid analgesic[] . . . therapy.”178

              184.   Prescribe Responsibly also compared the risks of opioid use favorably to those

  associated with nonsteroidal anti-inflammatory drugs (“NSAIDs”), such as aspirin and ibuprofen,

  and stated that many patients develop tolerance for opioid side effects:

                     Opioid analgesics are often the first line of treatment for many painful
              conditions and may offer advantages over nonsteroidal anti-inflammatory drugs
              (NSAIDs). Opioid analgesics, for example, have no true ‘ceiling dose’ for analgesia
              and do not cause direct organ damage; however, they do have several possible side
              effects, including constipation, nausea, vomiting, a decrease in sexual interest,
              drowsiness, and respiratory depression. With the exception of constipation, many
              patients often develop tolerance to most of the opioid analgesic-related side
              effects.179
              185.   Further, Prescribe Responsibly repeats the scientifically unsupported discussion of

  “pseudoaddiction” as “a syndrome that causes patients to seek additional medications due to

  inadequate pharmacotherapy being prescribed. Typically when the pain is treated appropriately, the




  177
     Legal Notice, Prescribe Responsibly, https://www.prescriberesponsibly.com/legal-notice (last
  visited June 7, 2018).
  178
         Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
  http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited June 7, 2018).
  179
        Id.

                                                     71
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  inappropriate behavior ceases.”180 Thus, pseudoaddiction is defined as a condition requiring the

  prescription of more or stronger opioids.

         186.    Janssen also made thousands of payments to physicians, including to Coral Gables

  physicians, for participating on speakers’ bureaus, providing consulting services, assisting in post-

  marketing safety surveillance and other services.

         187.    Based on an analysis of publicly disclosed reports from the years 2013 through 2016,

  Janssen paid physicians more than $4.29 million for consulting, speakers’ bureau participation, post-

  marketing safety surveillance and other services related to Nucynta alone. 181 According to data

  collected by ProPublica, in 2014, Florida doctors prescribed more than $2 million worth of

  Duragesic, nearly $2 million worth of Nucynta, and approximately $2.2 million worth of Nucynta

  ER to patients insured by Medicare Part D. In 2015, Medicare part D prescriptions totaled more than

  $2.1 million worth of Duragesic, almost $2.6 million worth of Nucynta and more than $3.5 million

  of Nucynta ER.

         188.    As more Floridians became addicted to prescription pain killers, they moved to

  heroin, and increasingly to fentanyl, which is even more potent and cheaper than heroin. The

  dramatic spike in heroin and fentanyl overdose deaths is attributable to Janssen’s deceptive

  marketing of fentanyl:




  180
      What a Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
  http://www.prescriberesponsibly.com/articles/before-prescribing-opioids (last visited June 7, 2018).
  181
     Nucynta, Dollars for Docs, ProPublica,
  https://projects.propublica.org/docdollars/products/drug-nucynta.


                                                   72
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                             c. Janssen Failed to Report Suspicious Sales as Required.

         189.    The federal CSA imposes on all “registrants” the obligation to design and operate a

  system to disclose to the registrant suspicious orders of controlled substances and requires the

  registrant to notify the DEA field division office in its area of any suspicious orders. “Suspicious

  orders include orders of unusual size, orders deviating substantially from a normal pattern, and orders

  of unusual frequency.” 21 C.F.R. § 1301.74(b).

         190.    Janssen is a “registrant” under the federal CSA. 21 C.F.R. § 1300.02(b), defined as

  any person who is registered with the DEA under 21 U.S.C. § 823. Section 823, in turn, requires

  manufacturers of Schedule II controlled substances to register with the DEA.

         191.    Janssen failed to design and operate a system to disclose suspicious orders of

  controlled substances and/or failed to notify the appropriate DEA field division of suspicious orders.

  For example, as described in ¶ 166, supra, doctors in Coral Gables have been sentenced for


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  overprescribing opioids. Janssen’s failure to timely report these and other suspicious sales violated

  the CSA.

                   3.     Endo.

         192.      Endo manufactures, markets, sells and distributes the following opioids in Coral

  Gables and across the United States:


  Opana ER               Opioid agonist; extended-release tablet formulation; Schedule II
  (oxymorphone           first drug in which oxymorphone is available in an
  hydrochloride)         oral, extended-release formulation; first approved in
                         2006.
  Opana                  Opioid agonist; first approved in 2006.               Schedule II
  (oxymorphone
  hydrochloride)
  Percodan               Branded tablet combining oxymorphone                   Schedule II
  (oxymorphone           hydrochloride and aspirin; first approved in 1950;
  hydrochloride and      first marketed by Endo in 2004.
  aspirin)
  Percocet               Branded tablet that combines oxymorphone               Schedule II
  (oxymorphone           hydrochloride and acetaminophen; first approved in
  hydrochloride and      1999; first marketed by Endo in 2006.
  acetaminophen)
  Oxycodone              Generic product.                                       Schedule II
  Oxymorphone            Generic product.                                       Schedule II
  Hydromorphone          Generic product.                                       Schedule II
  Hydrocodone            Generic product.                                       Schedule II


         193.      The FDA first approved an injectable form of Opana in 1959 “for the relief of

  moderate to severe pain” and “for preoperative medication, for support of anesthesia, for obstetrical

  analgesia, and for relief of anxiety in patients with dyspnea associated with pulmonary edema




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  secondary to acute left ventricular dysfunction.” However, oxymorphone drugs were removed from

  the market in the 1970s due to widespread abuse.182

          194.    In 2006, the FDA approved a tablet form of Opana in 5 mg and 10 mg strengths “for

  the relief of moderate to severe acute pain where the use of an opioid is appropriate.”183 Also in

  2006, the FDA approved Opana ER, an extended-release tablet version of Opana available in 5 mg,

  10 mg, 20 mg and 40 mg tablet strengths “for the relief of moderate to severe pain in patients

  requiring continuous, around-the-clock opioid treatment for an extended period of time.”184 Endo’s

  goal was to use Opana ER to take market share away from OxyContin; thus it was marketed as being

  safer, with less abuse potential than OxyContin, because of its crush-resistance.

          195.    According to Endo’s annual reports, sales of Opana and Opana ER grew from $107

  million in 2007 to as high as $384 million in 2011. Over the last ten years, Percocet has generated

  an average of well over $100 million in annual revenue for the company.

                              a. Endo Falsely Marketed Opana ER as Crush Resistant.

          196.    In December 2011, the FDA approved a reformulated version of Opana ER, which

  Endo claimed offered “safety advantages” over the original formulation. The reformulated version

  was purported to be “resistant to crushing by common methods and tools employed by abusers of

  prescription opioids . . . [and] is less likely to be chewed or crushed even in situations where there is




  182
      John Fauber & Kristina Fiore, Opana gets FDA approval despite history of abuse, limited
  effectiveness     in     trials,  Milwaukee      Journal   Sentinel    (May      9,     2015),
  http://archive.jsonline.com/watchdog/watchdogreports/opana-gets-fda-approval-despite-history-
  of-abuse-limited-effectiveness-in-trials-b99494132z1-303198321.html/.
  183
             Highlights           of         Prescribing         Information,                      Opana,
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021611s007lbl.pdf
  184
            Highlights        of       Prescribing        Information,       Opana                    ER,
  https://www.accessdata.fda.gov/drugsatfda_docs/label/2013/201655s004lbl.pdf.

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  no intent for abuse, such as where patients inadvertently chew the tablets, or where caregivers

  attempt to crush the tablets for easier administration with food or by gastric tubes, or where children

  accidentally gain access to the tablets.”185

          197.    To combat the fear of opioids, sales representatives touted Opana ER as a safe option

  due to its crush-resistance and extended release. In a December 12, 2011 press release announcing

  FDA approval of the reformulated Opana ER, Endo’s executive vice president for research and

  development and chief scientific officer highlighted its safety characteristics:

                  “FDA’s approval of this new formulation of Opana ER is an important
          milestone for both the Long Acting Opioid category as well as Endo’s branded
          pharmaceutical portfolio. . . . Patient safety is our top concern and addressing
          appropriate use of opioids is a responsibility that we take very seriously. We firmly
          believe this new formulation of Opana ER, coupled with our long-term commitment
          to awareness and education around appropriate use of opioids will benefit patients,
          physicians and payers.”186

          198.    However, in October 2012, the CDC issued a health alert identifying 15 people in

  Tennessee who had contracted thrombotic thrombocytopenic purpura, a rare blood-clotting disorder,

  after injecting the reformulated Opana ER. In response, Endo’s chief scientific officer stated that,

  while Endo was looking into the data, he was not especially concerned: “Clearly, we are looking into

  this data . . . but it’s in a very, very distinct area of the country.”187



  185
     Kurt R. Karst, FDA Determines Original OPANA ER Not Discontinued for Safety Reasons;
  Decision Affirms Case-by-Case Review, FDA Law Blog, (May 13, 2013),
  http://www.fdalawblog.net/2013/05/fda-determines-original-opana-er-not-discontinued-for-
  safety-reasons-decision-affirms-case-by-case-r/
  186
     FDA Approves Endo Pharmaceuticals’ Crush-Resistant Opana ER, BioSpace, (Dec. 12, 2011),
  https://www.biospace.com/article/releases/fda-approves-endo-pharmaceuticals-crush-resistant-
  opana-er-/.
  187
     Jake Harper & Kelly McEvers, How A Painkiller Designed To Deter Abuse Helped Spark An
  HIV Outbreak, National Public Radio (Apr. 1, 2016), http://www.npr.org/sections/ health-
  shots/2016/04/01/472538272/how-a-painkiller-designed-to-deter-abuse-helped-spark-an-hiv-
  outbreak.

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              199.   Shortly thereafter, the FDA determined that Endo’s conclusions about the purported

  safety advantages of the reformulated Opana ER were unfounded. In a May 10, 2013, letter to Endo,

  the FDA found that the tablet was still vulnerable to “cutting, grinding, or chewing,” “can be

  prepared for insufflation (snorting) using commonly available tools and methods,” and “can [be

  readily] prepared for injection.” It also warned that preliminary data suggested “the troubling

  possibility that a higher percentage of reformulated [Opana ER] abuse is via injection than was the

  case with [the original formulation.]”188

              200.   A 2014 study co-authored by an Endo medical director corroborated the FDA’s

  warning. This 2014 study found that while overall abuse of Opana had fallen following Opana ER’s

  reformulation, it also found that injection had become the preferred way of abusing the drug.189

  However, the study reassured that it was not possible to draw a causal link between the reformulation

  and injection abuse.

              201.   The study’s failure to adequately warn healthcare providers and the public was

  catastrophic. On April 24, 2015, the CDC issued a health advisory concerning its investigation of “a

  large outbreak of recent human immunodeficiency virus (HIV) infections among persons who inject

  drugs.” 190 The CDC specifically attributed the outbreak to the injection of Opana ER. As the

  advisory explained:




  188
       May 10, 2013 Letter from Janet Woocock to Robert                         Barto,   available   at:
  https://www.regulations.gov/document?D=FDA-2012-P-0895-0014.
  189
        Id.
  190
     Outbreak of Recent HIV and HCV Infections Among Persons Who Inject Drugs, Centers for
  Disease Control and Prevention, https://emergency.cdc.gov/han/han00377.asp (last visited June 7,
  2018).

                                                     77
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                      From November 2014 to January 2015, ISDH identified 11 new HIV
              infections in a rural southeastern county where fewer than 5 infections have been
              identified annually in the past. As of April 21, 2015, an on-going investigation by
              ISDH with assistance from CDC has identified 135 persons with newly diagnosed
              HIV infections in a community of 4,200 people; 84% were also HCV infected.
              Among 112 persons interviewed thus far, 108 (96%) injected drugs; all reported
              dissolving and injecting tablets of the prescription-type opioid oxymorphone
              (OPANA® ER) using shared drug preparation and injection equipment.191
                                b. New York’s Investigation Found that Endo Falsely
                                   Marketed Opana ER.

              202.   On February March 3, 2016, the State of New York announced a settlement with

  Endo requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to

  describe accurately the risk of addiction to Opana ER.”192 In the Assurance of Discontinuance that

  effectuated the settlement, the State of New York revealed evidence showing that Endo had known

  about the risks arising from the reformulated Opana ER before it received FDA approval.

              203.   Among other things, the investigation concluded that:

                    Endo improperly marketed Opana ER as designed to be crush resistant,
                     when Endo’s own studies dating from 2009 and 2010 showed that the pill
                     could be crushed and ground;

                    Endo improperly instructed its sales representatives to diminish and distort
                     the risks associated with Opana ER, including the serious danger of
                     addiction; and

                    Endo made unsupported claims comparing Opana ER to other opioids and
                     failed to disclose accurate information regarding studies addressing the
                     effects of Opana ER.193




  191
        Id.
  192
      Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces
  Settlement With Endo Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of
  Prescription Opioid Drugs (Mar. 3, 2016), https://ag.ny.gov/press-release/ag-schneiderman-
  announces-settlement-endo-health-solutions-inc-endo-pharmaceuticals
  193
        Id.

                                                      78
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             204.   Prior to FDA approval, in October 2011, Endo’s director of project management e-

  mailed the company that had developed the formulation technology for reformulated Opana ER to

  say there was little or no difference between the new formulation and the earlier formulation, which

  Endo withdrew due to risks associated with grinding and chewing:

             We already demonstrated that there was little difference between [the original and
             new formulations of Opana] in Study 108 when both products were ground. FDA
             deemed that there was no difference and this contributed to their statement that we had
             not shown an incremental benefit. The chewing study (109) showed the same thing no
             real difference which the FDA used to claim no incremental benefit. [sic]194
             205.   Endo conducted two additional studies to test the reformulated Opana ER’s crush

  resistance. Study 901, completed in 2010, tested whether it was more difficult to extract reformulated

  Opana ER than the original version, and whether it would take longer to extract from reformulated

  Opana ER than from the original version. The test revealed that both formulations behaved similarly

  with respect to manipulation time and produced equivalent opioid yields.

             206.   The New York settlement also identified and discussed a February 2013

  communication from a consultant hired by Endo to the company, in which the consultant concluded

  that “[t]he initial data presented do not necessarily establish that the reformulated Opana ER is

  tamper resistant.” The same consultant also reported that the distribution of the reformulated Opana

  ER had already led to higher levels of abuse of the drug via injection.195

             207.   Regardless, pamphlets produced by Endo and distributed to physicians misleadingly

  marketed the reformulated Opana ER as “‘designed to be’ crush resistant,” and Endo’s sales




  194
     In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-
  228, Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15 at 5 (Mar. 1,
  2016), https://ag.ny.gov/pdfs/Endo_ AOD_030116-Fully_Executed.pdf (emphasis added).
  195
        Id. at 6.

                                                       79
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  representatives were trained to identify Opana ER as “CR,” short for crush resistant.196

              208.   The Office of the Attorney General of New York also revealed that the “managed

  care dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit

  managers misrepresented the studies that had been conducted on Opana ER. The dossier was

  distributed in order to assure the inclusion of reformulated Opana ER in their formularies.

              209.   According to Endo’s vice president for pharmacovigilance and risk management, the

  dossier was presented as a complete compendium of all research on the drug. However, it omitted

  certain studies: Study 108 (completed in 2009) and Study 109 (completed in 2010), which showed

  that reformulated Opana ER could still be ground or even chewed.

              210.   The settlement also detailed Endo’s false and misleading representations about the

  non-addictiveness of opioids and Opana. Until April 2012, Endo’s website for the drug,

  www.opana.com, contained the following representation: “Most healthcare providers who treat

  patients with pain agree that patients treated with prolonged opioid medicines usually do not become

  addicted.”197 However, Endo neither conducted nor possessed a survey demonstrating that most

  healthcare providers who treat patients with pain agree with that representation.

              211.   The Office of the Attorney General of New York also disclosed that training

  materials provided by Endo to sales representatives stated: “Symptoms of withdrawal do not indicate

  addiction.” 198 This representation is inconsistent with the diagnosis of opioid-use disorder as

  provided in the Diagnostic and Statistical Manual of Mental Disorders by the American Psychiatric




  196
        Id.
  197
        Id.
  198
        Id. at 7.

                                                     80
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  Association (Fifth Edition).

          212.    The Office of the Attorney General of New York also found that Endo trained its

  sales representatives to falsely distinguish addiction from “pseudoaddiction,” which it defined as a

  condition in which patients exhibit drug-seeking behavior that resembles but is not the same as

  addiction. However, Endo’s vice president for pharmacovigilance and risk management testified that

  he was not aware of any research validating the concept of pseudoaddiction.

          213.    On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER after

  determining that the risks associated with its abuse outweighed the benefits. According to Dr. Janet

  Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the risks include

  “outbreaks of HIV and Hepatitis C from sharing the drug after it was extracted by abusers” and “a[n]

  outbreak of serious blood disorder[s].” If Endo did not voluntarily cease sales, the FDA threatened

  to issue a notice of a hearing and commence proceedings to compel Opana ER’s removal.

                              c. Endo Funded False Publications and Presentations.

          214.    Like several of the other Manufacturing Defendants, Endo provided substantial

  funding to purportedly neutral medical organizations, including the APF.

          215.    For example, in April 2007, Endo sponsored an article aimed at prescribers, written

  by Dr. Charles E. Argoff in Pain Medicine News, titled “Case Challenges in Pain Management:

  Opioid Therapy for Chronic Pain.”199

          216.    The article commences with the observation that “[a]n estimated 50 to 60 million

  people . . . suffer from chronic pain.” It continues:




  199
     Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain,
  Pain Med. News, http://www.painmedicinenews.com/download/ BtoB_Opana_WM.pdf.

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                       Opioids represent a highly effective but controversial and often
              misunderstood class of analgesic medications for controlling both chronic and acute
              pain. The phenomenon of tolerance to opioids—the gradual waning of relief at a
              given dose—and fears of abuse, diversion, and misuse of these medications by
              patients have led many clinicians to be wary of prescribing these drugs, and/or to
              restrict dosages to levels that may be insufficient to provide meaningful relief.200
              217.    The article included a case study that focused on the danger of extended use of

  NSAIDs (aspirin and ibuprofen), citing a subject who was hospitalized with massive gastrointestinal

  bleeding due to protracted NSAID use. The article did not provide the same level of detail concerning

  the serious side effects associated with opioids. It concluded by saying that the “use of opioids may

  be effective in the management of chronic pain.”201

              218.    Later, in 2014, Endo issued a patient brochure titled “Understanding Your Pain:

  Taking Oral Opioid Analgesics.” It was written by nurses Margo McCaffery and Chris Pasero and

  edited by Portenoy,202 an APF board member at the time.

              219.    The brochure includes numerous false and misleading statements minimizing the

  dangers associated with prescription opioid use, including:

                      Addiction IS NOT when a person develops “withdrawal” (such as abdominal
              cramping or sweating) after the medicine is stopped quickly or the dose is reduced by
              a large amount. Your doctor will avoid stopping your medication suddenly by slowly
              reducing the amount of opioid you take before the medicine is completely stopped.
              Addiction also IS NOT what happens when some people taking opioids need to take
              a higher dose after a period of time in order for it to continue to relieve their pain. This
              normal “tolerance” to opioid medications doesn’t affect everyone who takes them and
              does not, by itself, imply addiction. If tolerance does occur, it does not mean you will



  200
        Id.
  201
        Id.
  202
      Portenoy authored a study that, for non-cancer pain, opioids “can be safely and effectively
  prescribed to selected patients with relatively little risk of producing the maladaptive behaviors which
  define opioid abuse.” However, Portenoy’s study was neither scientific nor did it meet the rigorous
  standards commonly used to evaluate the validity and strength of such studies in the medical
  community. See supra n.35,

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         “run out” of pain relief. Your dose can be adjusted or another medicine can be
         prescribed.
                                       *       *        *
         How can I be sure I’m not addicted?

               Addiction to an opioid would mean that your pain has gone away but you
                still take the medicine regularly when you don’t need it for pain, maybe just
                to escape from your problems.


               Ask yourself: Would I want to take this medicine if my pain went away? If
                you answer no, you are taking opioids for the right reasons – to relieve your
                pain and improve your function. You are not addicted.

                                       *       *        *
               Your doctor or nurse may instruct you to do some of the following:
               Take the next dose before the last dose wears off. If pain is present most of
                the day and night, the pain medicine may be taken at regularly scheduled
                times. If you are taking a short-acting opioid, this usually means taking it
                every 4 hours. You may need to set your alarm, especially at night, to be sure
                you take your dose before the pain returns and wakes you up.
               If your pain comes and goes, take your pain medicine when pain first begins,
                before it becomes severe.


               If you are taking a long-acting opioid, you may only need to take it every 8
                to 12 hours, but you may also need to take a short-acting opioid in between
                for any increase in pain.203
         220.   In 2008, Endo provided an “educational grant” to PainEDU.org,204 which produced

  a document titled “Screener and Opioid Assessment for Patients with Pain (SOAPP) Version 1.0-

  14Q.” SOAPP describes itself “as a tool for clinicians to help determine how much monitoring a




  203
    Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics,
  Endo Pharmaceuticals (2004), http://www.thblack.com/ links/RSD/Understand_Pain_
  Opioid_Analgesics.pdf (emphasis in original).
  204
     B. Eliot Cole, Resources for Education on Pain and Its Management: A Practitioner’s
  Compendium 2 (Am. Society of Pain Educators 2009), https:// www.paineducators.org/wp-
  content/uploads/2012/12/ASPE-ResForEducationOnPainAn.pdf.

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  patient on long-term opioid therapy might require.” 205 It falsely highlights purportedly “recent

  findings suggesting that most patients are able to successfully remain on long-term opioid therapy

  without significant problems.”206

              221.   Endo also sponsored the now-defunct website painknowledge.com, which was

  created by the APF. Painknowledge represented that it was “a one-stop repository for print materials,

  educational resources, and physician tools across the broad spectrum of pain assessment, treatment,

  and management approaches.” 207 The website contained a flyer titled “Pain: Opioid Therapy,”

  which failed to warn of significant adverse effects that can arise from opioid use, including

  hyperalgesia, immune and hormone dysfunction, cognitive impairment, decreased tolerance,

  dependence and addiction.

              222.   Endo, along with Janssen and Purdue, also provided grants to APF to distribute Exit

  Wounds, discussed above. See supra ¶¶ 87-88.208

              223.   Endo also made thousands of payments to physicians, including to Coral Gables

  physicians, for participating on speakers’ bureaus, providing consulting services, assisting in post-

  marketing safety surveillance and other services. Based on an analysis of publicly disclosed reports



  205
      Screener and Opioid Assessment for Patients with Pain (SOAPP) Version 1.0-14Q,
  http://www.nhms.org/sites/default/files/Pdfs/SOAPP-14.pdf.
  206
        Id.
  207
                               AboutPainKnowledge.org,                      PainKnowledge,
  http://web.archive.org/web/20120119124921/http://www.painknowledge.org/aboutpaink.aspx
  (last visited June 7, 2018).
  208
     Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival
  Guide to Pain Management for Returning Veterans and Their Families, Coalition for Iraq +
  Afghanistan                         Veterans,                       https://web.archive.org/web/
  20160804131030/http://coalitionforveterans.org/2009/10/iraq-war-veteran-amputee-pain-
  advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-
  returning-veterans-and-their-families/ (last visited June 7, 2018).

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  from the years 2013 through 2016, Endo paid physicians more than $800,000 for consulting,

  speakers’ bureau participation, post-marketing safety surveillance, and other services related to

  Opana ER alone.209

                             d. The FDA Requested Endo Withdraw Opana ER Due to
                                the Public Health Consequences of Abuse.

         224.     On June 8, 2017, the FDA requested that Endo remove reformulated Opana ER from

  the market “based on its concern that the benefits of the drug may no longer outweigh its

  risks.” 210 According to the FDA’s press release, it sought removal “due to the public health

  consequences of abuse.” The decision to seek Opana ER’s removal from sale followed a March 2017

  FDA advisory committee meeting, during which a group of independent experts voted 18-8 that the

  drug’s benefits no longer outweigh the risks associated with its use. Should Endo choose not to

  remove Opana ER due to the FDA’s request, the agency stated that it would take steps to formally

  require its removal by withdrawing approval.

         225.     Opana ER has been widely prescribed in Coral Gables. According to data collected

  by ProPublica, during 2014 and 2015, Florida doctors’ prescriptions of Opana ER to patients insured

  by the Medicare Part D program totaled approximately $12.8 million and more than $14.8 million,

  respectively.

                             e. Endo Failed to Report Suspicious Sales as Required.

         226.     The CSA imposes on all “registrants” the obligation to design and operate a system




  209
     Opana, Dollars for Docs, ProPublica, https://projects.propublica.org/docdollars/products/drug-
  opana-er.
  210
      Press Release, U.S. Food & Drug Administration, FDA requests removal of Opana ER for risks
  related to abuse (June 8, 2017), https://www.fda.gov/ newsevents/newsroom/
  pressannouncements/ucm562401.htm.

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  to disclose to the registrant suspicious orders of controlled substances and requires the registrant to

  notify the DEA field division office in its area of any suspicious orders. “Suspicious orders include

  orders of unusual size, orders deviating substantially from a normal pattern, and orders of unusual

  frequency.” 21 C.F.R. § 1301.74(b).

         227.     Endo is a “registrant” under the federal CSA. 21 C.F.R. § 1300.02(b), defined as any

  person who is registered with the DEA under 21 U.S.C. § 823. Section 823, in turn, requires

  manufacturers of Schedule II controlled substances to register with the DEA.

         228.     Endo failed to design and operate a system to disclose suspicious orders of controlled

  substances and/or failed to notify the appropriate DEA field division of suspicious orders. For

  example, as described in ¶ 166, supra, doctors in Coral Gables have been sentenced for

  overprescribing opioids. Endo’s failure to timely report these and other suspicious sales violated the

  CSA.

                  4.     Cephalon.

         229.     Cephalon manufactures, markets, sells and distributes the following opioids in Coral

  Gables and across the United States:

      Actiq (fentanyl Opioid analgesic; oral transmucosal lozenge; indicated only for Schedule II
      citrate)        the management of breakthrough pain (or “BTP”) in cancer
                      patients – pain that for a short time “breaks through” medication
                      that otherwise effectively controls a patient’s persistent pain – in
                      patients 16 and older with malignancies; commonly referred to as
                      a lollipop because designed to look and perform like one;
                      approved in 1998 with restricted distribution program.
      Fentora            Rapid-release tablet for BTP in cancer patients who are already        Schedule II
      (fentanyl          receiving and tolerant of around-the-clock opioid therapy;
      buccal)            approved 2006.
      Generic of         Opiate agonist.                                                        Schedule II
      OxyContin
      (oxycodone
      hydrochloride)


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         230.    Actiq is designed to resemble a lollipop and is meant to be sucked on at the onset of

  intense breakthrough pain (“BPT”) in cancer patients. It delivers fentanyl citrate, a powerful opioid

  agonist 80 times stronger than morphine, 211 into a patient’s bloodstream through their oral

  membranes,212 thereby providing faster relief.213

         231.    Understanding the risks of introducing such an intense opioid analgesic to the market,

  in 1998, the FDA approved Actiq “ONLY for the management of breakthrough cancer pain in

  patients with malignancies who are already receiving and who are tolerant to opioid therapy for their

  underlying persistent cancer pain.”214 Further, the FDA explicitly stated that Actiq “must not be

  used in opioid non-tolerant patients,” was contraindicated for the management of acute or

  postoperative pain, could be deadly to children, and was “intended to be used only in the care of

  opioid-tolerant cancer patients and only by oncologists and pain specialists who are knowledgeable

  of and skilled in the use of Schedule II opioids to treat cancer pain.”

         232.    The FDA also required that Actiq be provided only in compliance with a strict risk-

  management program that explicitly limited the drug’s direct marketing to the approved target




  211
     See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall St. J.
  (Nov. 3, 2006), https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-fda-
  curbs/ (hereinafter “Carreyrou, Narcotic Lollipop”).
  212
      Actiq would later become part of a category of opioids now known as transmucosal immediate-
  release fentanyl (“TIRF”) products. “Transmucosal” refers to the means through which the opioid is
  delivered into a patient’s bloodstream, across mucous membranes, such as inside the cheek, under the
  tongue or in the nose.
  213
    Cephalon, Inc., Company-Histories.com, http://www.company-histories.com/Cephalon-Inc-
  Company-History.html (last visited June 7, 2018).
  214
     NDA 20-747 Letter from Cynthia McCormick, Center for Drug Evaluation and Research, to
  Patricia J. Richards, Anesta Corporation, http://www.accessdata.fda.gov/drugsatfda_docs/
  appletter/1998/20747ltr.pdf.

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  audiences, defined as oncologists, pain specialists, their nurses and office staff.215

            233.   In October 2000, Cephalon acquired the worldwide product rights to Actiq and began

  marketing and selling Actiq in the United States.

            234.   Cephalon also purchased the rights to Fentora, an even faster-acting tablet

  formulation of fentanyl, from Cima Labs, and submitted a new drug application to the FDA in

  August 2005. In September 2006, Cephalon received FDA approval to sell this faster-acting version

  of Actiq; but once again, concerned about the power and risks inherent to fentanyl, the FDA limited

  Fentora’s approval to the treatment of BTP in cancer patients who were already tolerant to around-

  the-clock opioid therapy. Cephalon began marketing and selling Fentora in October 2006.

                              a. Cephalon Falsely and Aggressively Marketed Cancer
                                 Drug Actiq to Non-Cancer Treating Physicians.

            235.   Due to the FDA’s restrictions, Actiq’s consumer base was limited. In order to

  increase revenue and market share, Cephalon began marketing its lollipop to treat headaches, back

  pain, sports injuries and other chronic non-cancer pain. Cephalon began targeting non-oncology

  practices, including pain doctors, general practitioners, migraine clinics, anesthesiologists and sports

  clinics. It did so in violation of applicable regulations prohibiting the marketing of medications for

  off-label use and in direct contravention of the FDA’s strict instructions that Actiq be prescribed

  only to terminal cancer patients by oncologists.

            236.   According to data gathered from a network of doctors by research firm ImpactRx

  between June 2005 and October 2006 (the “ImpactRx Survey”), Cephalon’s Actiq sales

  representatives’ visits to non-oncologists increased six fold between 2002 and 2005. Cephalon

  representatives would reportedly visit non-oncologists monthly and provide up to 60 or 70 coupons,



  215
        Carreyrou, Narcotic Lollipop, supra n.212.

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  each good for six free Actiq lozenges, and encourage prescribers to try Actiq on their non-cancer

  patients.216

              237.   Cephalon’s efforts paid off. In 2000, Actiq generated $15 million in sales.217 By

  2002, it attributed a 92% increase in Actiq sales to “a dedicated sales force for ACTIQ” and “ongoing

  changes to [its] marketing approach including hiring additional sales representatives and targeting

  our marketing efforts to pain specialists.” 218 By 2005, Actiq’s sales increased to $412 million,

  making it Cephalon’s second-best selling drug. By the end of 2006, Actiq’s sales exceeded $500

  million.219

              238.   Only 1% of the 187,076 prescriptions for Actiq filled at retail pharmacies during the

  first six months of 2006 were prescribed by oncologists. Results of the ImpactRx Survey suggested

  that “more than 80 percent of patients who use[d] the drug don’t have cancer.”220

                                b.   Government Investigations Found Cephalon Falsely
                                     Marketed Actiq for Off-Label Uses.

              239.   Beginning in or about 2003, former Cephalon employees filed four whistleblower

  lawsuits claiming that the company had wrongfully marketed Actiq for unapproved off-label uses.

  On September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement with

  the U.S. Department of Health and Human Services and agreed to pay $425 million in civil and




  216
        Id.
  217
        Id.
  218
     Cephalon, Inc. Annual Report (Form 10-K) (Mar. 31, 2003), https://
  www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm at 28.
  219
        Carreyrou, Narcotic Lollipop, supra n.212.
  220
        Id.

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  criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and Provigil).

  According to a DOJ press release, Cephalon trained sales representatives to disregard FDA-approved

  restrictions, employed sales representatives and healthcare professionals to speak to physicians about

  off-label uses of Actiq and funded CMEs to promote off-label use. Specifically, the DOJ stated:

           From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for non-
           cancer patients to use for such maladies as migraines, sickle-cell pain crises,
           injuries, and in anticipation of changing wound dressings or radiation therapy.
           Cephalon also promoted Actiq for use in patients who were not yet opioid-tolerant,
           and for whom it could have life-threatening results.221

           240.   Then-acting U.S. Attorney Laurie Magid commented on the dangers of Cephalon’s

  unlawful practices:

           “This company subverted the very process put in place to protect the public from
           harm, and put patients’ health at risk for nothing more than boosting its bottom
           line. People have an absolute right to their doctors’ best medical judgment. They
           need to know the recommendations a doctor makes are not influenced by sales
           tactics designed to convince the doctor that the drug being prescribed is safe for
           uses beyond what the FDA has approved.” 222
           241.   Upon information and belief, documents uncovered in the government’s

  investigations confirm that Cephalon directly targeted non-oncology practices and pushed its sales

  representatives to market Actiq for off-label use. For instance, the government’s investigations

  confirmed:

                 Cephalon instructed its sales representatives to ask non-cancer doctors
                  whether they have the potential to treat cancer pain. Even if the doctor
                  answered “no,” a decision tree provided by Cephalon instructed the sales
                  representatives to give these physicians free Actiq coupons;

                 Cephalon targeted neurologists in order to encourage them to prescribe


  221
     Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425
  Million For Off-Label Drug Marketing (Sept. 29, 2008), https://www.justice.gov/
  archive/usao/pae/News/2008/sep/cephalonrelease.pdf (emphasis added).
  222
        Id (emphasis added).

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                 Actiq to patients with migraine headaches;

                Cephalon sales representatives utilized the assistance of outside pain
                 management specialists when visiting non-cancer physicians to pitch Actiq.
                 The pain management specialist would falsely inform the physician that
                 Actiq does not cause patients to experience a “high” and carries a low risk
                 of diversion toward recreational use;

                Cephalon set sales quotas for its sales and marketing representatives that
                 could not possibly have been met solely by promoting Actiq for its FDA-
                 approved indication;

                Cephalon promoted the use of higher doses of Actiq than patients
                 required by encouraging prescriptions of the drug to include larger-than-
                 necessary numbers of lozenges with unnecessarily high doses of fentanyl;
                 and

                Cephalon promoted Actiq for off-label use by funding and controlling CME
                 seminars that promoted and misrepresented the efficacy of the drug for off-
                 label uses such as treating migraine headaches and for patients not already
                 opioid-tolerant.223

         242.    Yet the letters, the FDA’s safety alert, the DOJ and state investigations and the legal

  settlement had little impact on Cephalon as it continued to produce deceptive marketing for both

  Actiq and Fentora.

                             c. Cephalon Falsely and Aggressively Marketed Cancer
                                Drug Fentora to Non-Cancer Treating Physicians.

         243.    When Fentora was introduced in October 2006, Cephalon targeted non-cancer

  doctors for false advertisements describing Fentora as a safe, effective off-label treatment for non-

  cancer pain.

         244.    During an investor earnings call shortly after Fentora’s launch, Cephalon’s chief




  223
     John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St. J., Nov.
  21, 2006, at B1 (hereinafter “Carreyrou, Cephalon Used Improper Tactics”).




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  executive officer described the “opportunity” presented by the use of Fentora for non-cancer pain:

                The other opportunity of course is the prospect for FENTORA outside of
         cancer pain, in indications such as breakthrough lower back pain and
         breakthrough neuropathic pain.

                                         *       *        *
         Of all the patients taking chronic opioids, 32% of them take that medication to treat
         back pain, and 30% of them are taking their opioids to treat neuropathic pain. In
         contrast only 12% are taking them to treat cancer pain, 12%.
                We know from our own studies that breakthrough pain episodes experienced
         by these non-cancer sufferers respond very well to FENTORA. And for all these
         reasons, we are tremendously excited about the significant impact FENTORA can
         have on patient health and well being and the exciting growth potential that it has for
         Cephalon.

                  In summary, we have had a strong launch of FENTORA and continue to grow
         the product aggressively. Today, that growth is coming from the physicians and
         patient types that we have identified through our efforts in the field over the last seven
         years. In the future, with new and broader indications and a much bigger field force
         presence, the opportunity that FENTORA represents is enormous.224

                             d. The FDA Warned Cephalon Regarding its False and Off-
                                Label Marketing of Fentora.

         245.    On September 27, 2007, the FDA issued a public health advisory to address reports

  that patients who did not have cancer or were not opioid tolerant had been prescribed Fentora,

  resulting in death or life-threatening side effects. The FDA unequivocally warned that: “Fentora

  should not be used to treat any type of short-term pain.”225




  224
     Seeking Alpha, Transcript of Q1 2007 Cephalon, Inc. Earnings Conference Call, May 1, 2007,
  http://seekingalpha.com/article/34163-cephalon-q1-2007-earnings-call-transcript?all=true&find
  =Q1% 2B2007%2BCephalon%2BMay%2B1%2C% 2B2007 at 6-7.
  225
      Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important Information
  for the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
  https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformation forPatientsandProviders/
  ucm051273.htm.

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         246.      Nevertheless, in 2008, Cephalon pushed to expand the target base for Fentora and

  filed a supplemental drug application requesting FDA for its treatment of non-cancer related BTP.

  In the application and supporting presentations to the FDA, Cephalon admitted that it knew that

  Fentora was heavily prescribed for off-label use, and that the drug’s safety for such use had never

  been clinically evaluated. 226 An FDA advisory committee lamented Fentora’s existing risk

  management program as ineffective and stated that Cephalon would have to institute a risk

  evaluation and mitigation strategy before the FDA would consider a broader label indication. In

  response, Cephalon revised Fentora’s label and medication guide to add strengthened warnings.

         247.      In 2009, the FDA once again informed Cephalon that its risk management program

  was not sufficient to ensure the safe use of Fentora for previously approved indications. On March

  26, 2009, the FDA warned Cephalon against its misleading advertising of Fentora (the “Warning

  Letter”). The Warning Letter described a Fentora Internet advertisement as misleading because it

  purported to broaden “the indication for Fentora by implying that any patient with cancer who

  requires treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.”

  Rather, Fentora was only indicated for those who were already opioid tolerant. It further criticized

  Cephalon’s other direct Fentora advertisements because they did not disclose the risks associated

  with the drug.

         248.      Faced with the FDA’s refusal to approve Fentora for non-cancer BTP, Cephalon

  continued to use the same aggressive sales tactics to push Fentora as it did with Actiq. For example,

  on January 13, 2012, Cephalon published an insert in Pharmacy Times titled “An Integrated Risk




  226
     FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs
  and Drug Safety and Risk Management Advisory Committee, U.S. Food & Drug Administration
  (May 6, 2008), https://www.fda.gov/ohrms/dockets/ ac/08/slides/2008-4356s2-03-Cephalon.pdf.

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  Evaluation and Mitigation Strategy (REMS) for FENTORA (Fentanyl Buccal Tablet) and ACTIQ

  (Oral Transmucosal Fentanyl Citrate).” Despite the repeated warnings of the dangers associated with

  the use of the drugs beyond their limited indication, the first sentence of the insert states: “It is well

  recognized that the judicious use of opioids can facilitate effective and safe management of chronic

  pain.”227

                                e. Cephalon Funded False Publications and Presentations.

          249.    In addition to its direct marketing, Cephalon indirectly marketed opioids through

  third parties to change the way physicians view and prescribe them. Cephalon employed these

  channels to disseminate the unproven and deceptive message that opioids are safe for the treatment

  of chronic long-term pain, that they are non-addictive and that they are woefully under-prescribed to

  the detriment of patients who are needlessly suffering. It did so by sponsoring pro-opioid front

  groups, misleading prescription guidelines, articles and CME programs, and it paid physicians

  thousands of dollars every year to publicly opine that opioids were safe, effective and non-addictive

  for a wide variety of uses.

          250.    Cephalon sponsored numerous CME programs, which were made widely available

  through organizations like Medscape, LLC (“Medscape”), which disseminated false and misleading

  information to physicians in Coral Gables and across the country. For example, a 2003 Cephalon-

  sponsored CME presentation titled “Pharmacologic Management of Breakthrough or Incident Pain,”

  posted on Medscape in February 2003, teaches:

          [C]hronic pain is often undertreated, particularly in the noncancer patient
          population. . . . The continued stigmatization of opioids and their prescription,
          coupled with often unfounded and self-imposed physician fear of dealing with the


  227
     An Integrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA (Fentanyl
  Bucall Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate), Pharmacy Times (Jan. 13,
  2012), http://www.pharmacytimes.com/ publications/issue/2012/january2012/r514-jan-12-rems.

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            highly regulated distribution system for opioid analgesics, remains a barrier to
            effective pain management and must be addressed. Clinicians intimately involved
            with the treatment of patients with chronic pain recognize that the majority of
            suffering patients lack interest in substance abuse. In fact, patient fears of
            developing substance abuse behaviors such as addiction often lead to
            undertreatment of pain. The concern about patients with chronic pain becoming
            addicted to opioids during long-term opioid therapy may stem from confusion
            between physical dependence (tolerance) and psychological dependence
            (addiction) that manifests as drug abuse.228
            251.     Another Cephalon-sponsored CME presentation, titled “Breakthrough Pain:

  Treatment Rationale with Opioids,” was available on Medscape starting September 16, 2003, and

  was given by a self-professed pain management doctor whose practice consists of “complex pain

  syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a non-time-

  dependent        continuum   that   requires   a   balanced   analgesia   approach   using   “targeted

  pharmacotherapeutics to affect multiple points in the pain-signaling pathway.”229 The doctor lists

  fentanyl as one of the most effective opioids available for treating BTP, describing its use as an

  expected and normal part of the pain management process. Nowhere in the CME presentation is

  cancer or cancer pain mentioned.




  228
    Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain,
  Medscape, http://www.medscape.org/viewarticle/449803 (last visited June 7, 2018).
  229
        Bennett, Breakthrough Pain: Treatment Rationale With Opioids, supra n.1.

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         252.    With the support of Cephalon, Dr. Stephen H. Landy (“Landy”) authored a 2004

  CME manuscript, available on Medscape, titled “Oral Transmucosal Fentanyl Citrate for the

  Treatment of Migraine Headache Pain In Outpatients: A Case Series.” Landy describes the findings

  of a study of fentanyl citrate for the use of migraine headache pain and concluded that “OTFC rapidly

  and significantly relieved acute, refractory migraine pain in outpatients . . . and was associated with

  high patient satisfaction ratings.”230 Based on an analysis of publicly available data, Cephalon paid

  Landy approximately $190,000 in 2009-2010 alone, and in 2015-2016, Cephalon paid Landy

  another $75,000.




  230
     Stephen H. Landy, Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine Headache
  Pain     in     Outpatients:    A      Case      Series,       44(8)      Headache      (2004),
  http://www.medscape.com/viewarticle/488337_2.

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             253.   In 2006, Cephalon sponsored a review of scientific literature to create additional

   fentanyl-specific dosing guidelines titled “Evidence-Based Oral Transmucosal Fentanyl Citrate

   (OTFC®) Dosing Guidelines.” 231 The article purports to review the evidence for dosing and

   efficacy of oral transmucosal fentanyl citrate in the management of pain and produce dosing

   guidelines in both cancer and non-cancer patients. In pertinent part, it states:

                     Oral transmucosal fentanyl citrate has a proven benefit in treating cancer-
             associated breakthrough pain in opioid-tolerant patients with cancer, which is the
             Food and Drug Administration (FDA)-approved indication for Actiq. Pain
             medicine physicians have also used OTFC successfully to provide rapid pain
             relief in moderate to severe noncancer pain in both opioid-tolerant and opioid-
             nontolerant patients.232
             254.   Deeper into the article, the authors attempt to assuage doctors’ concerns regarding

   possible overdose and respiratory distress in non-cancer patients by arguing “[t]here is no evidence

   that opioid safety and efficacy differs in opioid-tolerant patients with chronic noncancer

   pain.”233 Regarding the use of fentanyl to treat non-opioid-tolerant patients, the article’s authors

   state:

             Alternatively, OTFC might also be used cautiously and safely for acute pain
             experienced by patients who are not opioid tolerant. Parenteral opioids are routinely
             used for acute pain in patients who are not opioid tolerant. Examples include
             episodic pain (i.e., refractory migraine pain, recurrent renal calculi, etc.) and acute
             pain that follows surgery, trauma, or painful procedures (burn dressing change, bone
             marrow aspiration, lumbar puncture). Assuming that clinical experience with IV
             morphine in patients who are not opioid tolerant can be extrapolated, OTFC should
             be safe and efficacious in such settings as well.234




   231
     Gerald M. Aronoff, et al., Evidence-Based Oral Transmucosal Fentanyl Citrate (OTFC)
   Dosing Guidelines, 6(4) Pain Med. 305-14 (Aug. 2005).
   232
         Id (emphasis added).
   233
         Id (emphasis added).
   234
         Id (emphasis added).

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           255.    Through its sponsorship of the FSMB’s “Responsible Opioid Prescribing: A

   Physician’s Guide” (see supra ¶¶ 64-76), Cephalon continued to encourage the prescribing of opioid

   medication to “reverse . . . and improve” patient function, attributing patients’ displays of traditional

   drug-seeking behaviors as merely “pseudoaddiction.”

           256.    Cephalon also disseminated its false messaging through speakers’ bureaus and

   publications. For example, at an AAPM annual meeting held in February 2006, Cephalon sponsored

   a presentation by Webster and others titled “Open-label study of fentanyl effervescent buccal tablets

   in patients with chronic pain and breakthrough pain: Interim safety results.” The presentation’s

   agenda description states: “Most patients with chronic pain experience episodes of breakthrough

   pain (BTP), yet no currently available pharmacologic agent is ideal for its treatment.” The

   presentation purports to cover a study analyzing the safety of a new form of fentanyl buccal tablets

   in the chronic pain setting, and promises to show that the “[i]nterim results of this study suggest that

   FEBT is safe and well-tolerated in patients with chronic pain and BTP.”

           257.    Cephalon sponsored another CME activity written by Webster and M. Beth Dove

   titled “Optimizing Opioid Treatment for Breakthrough Pain,” offered on Medscape from September

   28, 2007, through December 15, 2008. The CME activity teaches that non-opioid analgesics and

   combination opioids containing non-opioids such as aspirin and acetaminophen are less effective at

   treating BTP than pure opioid analgesics because of dose limitations on the non-opioid

   component.235

           258.    Fine co-authored a Cephalon-sponsored CME article titled “Opioid-Based

   Management of Persistent and Breakthrough Pain” with Drs. Christine A. Miaskowski and Michael



   235
        Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
   http://www.medscape.org/viewarticle/563417_6.

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   J. Brennan. In 2009, Cephalon paid to have this CME article published in a “Special Report,” a

   supplement to the journal Pain Medicine News.236 The CME article targeted a wide variety of non-

   oncologist healthcare providers who treat patients with chronic pain, with the objective of educating

   “health care professionals about a semi-structured approach to the opioid-based management of

   persistent and breakthrough pain,” including the use of fentanyl. The CME article purports to analyze

   the “combination of evidence- and case-based discussions” and ultimately concludes:

                             Chronic pain is a debilitating biopsychosocial condition prevalent in both
                    cancer and noncancer pain populations. . . . Opioids have an established role in pain
                    related to cancer and other advanced medical illnesses, as well as an increasing
                    contribution to the long-term treatment of carefully selected and monitored patients
                    with certain [chronic noncancer pain] conditions. All individuals with chronic,
                    moderate to severe pain associated with functional impairment should be
                    considered for a trial or opioid therapy, although not all of them will be
                    selected.237
             259.      Along with Purdue, Cephalon sponsored APF’s guide (see supra ¶¶ 83, 85), warning

   against the purported under-prescribing of opioids, teaching that addiction is rare and suggesting that

   opioids have “no ceiling dose” and are therefore the most appropriate treatment for severe pain.

             260.      A summary of the February 2008 AAPM annual meeting reinforced the message,

   promoted both by the AAPM and the APS, that “the undertreatment of pain is unjustified.” The

   summary states:

             Pain management is a fundamental human right in all patients not only with acute
             postoperative pain but also in patients suffering from chronic pain. Treating the
             underlying cause of pain does not usually treat all of the ongoing pain. Minimal
             pathology with maximum dysfunction remains the enigma of chronic pain. Chronic
             pain is only recently being explored as a complex condition that requires individual




   236
     Perry G. Fine, et al., Opioid-Based Management of Persistent and Breakthrough Pain, Special
   Report    (2009),       https://www.yumpu.com/en/document/       view/11409251/opioid-based-
   management-of-persistent-and-breakthrough-pain/9.
   237
         Id (emphasis added).

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               treatment and a multidisciplinary approach. It is considered to be a disease entity.238

               261.    Cephalon was one of several opioid manufacturers who collectively paid fourteen of

   the twenty-one panel members who drafted the 2009 APS-AAPM opioid treatment guidelines.239

               262.    In the March 2007 article titled “Impact of Breakthrough Pain on Quality of Life in

   Patients with Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment with Oral

   Transmucosal Fentanyl Citrate,”240 Webster described the results of a Cephalon-sponsored study

   seeking to expand the definition of BTP to include chronic non-cancer pain. The authors stated that

   the “OTFC has been shown to relieve BTP more rapidly than conventional oral, normal-release, or

   ‘short acting’ opioids” and that “[t]he purpose of [the] study was to provide a qualitative evaluation

   of the effect of BTP on the [quality of life] of noncancer pain patients.” 241 The number-one-

   diagnosed cause of chronic pain in the patients studied was back pain (44%), followed by

   musculoskeletal pain (12%) and head pain (7%). The article cites Portenoy and recommends fentanyl

   for non-cancer BTP patients:

               In summary, BTP appears to be a clinically important condition in patients with
               chronic noncancer pain and is associated with an adverse impact on QoL. This
               qualitative study on the negative impact of BTP and the potential benefits of BTP-
               specific therapy suggests several domains that may be helpful in developing BTP-
               specific, QoL assessment tools.242



   238
      Mohamed A. Elkersh & Zahid H. Bajwa, Highlights From the American Academy of Pain
   Medicine 24th Annual Meeting, 2(1) Advances in Pain Management 50-52 (2008) (emphasis
   added).
   239
         See Chou, Clinical Guidelines, supra n.85.
   240
     Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With
   Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal
   Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).
   241
         Id.
   242
         Id (emphasis added).

                                                         100
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           263.     Cephalon also sponsored, through an educational grant, the regularly published

   journal Advances in Pain Management. In a single 2008 issue of the journal, there are numerous

   articles from Portenoy, Dr. Steven Passik (“Passik”), Dr. Kenneth L. Kirsh (“Kirsh”) and Webster,

   all advancing the safety and efficacy of opioids. In an article titled “Screening and Stratification

   Methods to Minimize Opioid Abuse in Cancer Patients,” Webster expresses disdain for the prior

   twenty years of opioid phobia.

           264.     In another article from the same issue, “Appropriate Prescribing of Opioids and

   Associated Risk Minimization,” Passik and Kirsh state that: “[c]hronic pain, currently experienced

   by approximately 75 million Americans, is becoming one of the biggest public health problems in

   the US.” They assert that “[m]ost pain specialists have prescribed opioids for long periods of time

   with success demonstrated by an improvement in function,” and further “that opioids do have

   efficacy for subsets of patients who can remain on them long term and have very little risk of

   addiction.”243

           265.     In November 2010, Fine and others published an article presenting the results of

   another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl Buccal

   Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An

   18-Month Study.”244 In that article, Fine explained that the 18-month “open-label” study “assessed

   the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP in a large cohort .

   . . of opioid-tolerant patients receiving around-the-clock . . . opioids for noncancer pain.” The article




   243
     Steven D. Passik & Kenneth L. Kirsh, Appropriate Prescribing of Opioids and Associated Risk
   Minimization, 2(1) Advances in Pain Management 9-16 (2008).
   244
      Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the
   Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
   Study, 40(5) J. Pain & Symptom Management 747-60 (Nov. 2010).

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   acknowledged that: (a) “[t]here has been a steady increase in the use of opioids for the management

   of chronic noncancer pain over the past two decades”; (b) the “widespread acceptance” had led to

   the publishing of practice guidelines “to provide evidence- and consensus-based recommendations

   for the optimal use of opioids in the management of chronic pain”; and (c) those guidelines lacked

   “data assessing the long-term benefits and harms of opioid therapy for chronic pain.”245

                266.   They conclude: “[T]he safety and tolerability profile of [fentanyl] in this study was

   generally typical of a potent opioid. The [adverse events] observed were, in most cases, predictable,

   manageable, and tolerable.” They also conclude that the number of abuse-related events was

   “small.”246

                267.   From 2000 forward, Cephalon has paid doctors millions of dollars for programs

   relating to its opioids, many of whom are not oncologists and do not treat cancer pain. These doctors

   include Russell Portenoy (author of , Webster, Fine, Passik, Kirsh, Landy, and others.

                268.   Publicly disclosed payments for the years 2013 through 2016 show that Cephalon

   paid more than $2.85 million to physicians for consulting, speakers’ bureau participation, post-

   marketing safety surveillance, and other services related to Fentora alone. 247 Fentora has been

   widely prescribed in Coral Gables. According to data collected by ProPublica, during 2014 and 2015,

   Florida doctors’ prescriptions of Fentora to patients insured by the Medicare Part D program totaled

   more than $2.3 million in 2014 and almost $3.6 million in 2015.




   245
         Id .
   246
         Id .
   247
      Fentora, Dollars for Docs, ProPublica,
   https://projects.propublica.org/docdollars/products/drug-fentora.


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             269.   Cephalon’s payments to doctors have resulted in studies that support its sales but, on

   closer examination, are biased or irreparably flawed. For instance, upon information and belief, the

   governmental whistleblower investigation into Actiq revealed that two studies touted by Cephalon

   had tested fewer than 28 patients and had no control group.248 A 2012 article evaluating the then-

   current status of transmucosal fentanyl tablet formulations for the treatment of BTP in cancer patients

   noted that clinical trials to date used varying criteria, “the approaches taken . . . [did] not uniformly

   reflect clinical practice,” and “the studies ha[d] been sponsored by the manufacturer and so ha[d]

   potential for bias.”249

                               f. Cephalon Failed to Report Suspicious Sales as Required.

             270.   The federal CSA imposes on all “registrants” the obligation to design and operate a

   system to disclose to the registrant suspicious orders of controlled substances and requires the

   registrant to notify the DEA field division office in its area of any suspicious orders. “Suspicious

   orders include orders of unusual size, orders deviating substantially from a normal pattern, and orders

   of unusual frequency.” 21 C.F.R. § 1301.74(b).

             271.   Cephalon is a “registrant” under the federal CSA. 21 C.F.R. § 1300.02(b), defined as

   any person who is registered with the DEA under 21 U.S.C. § 823. Section 823, in turn, requires

   manufacturers of Schedule II controlled substances to register with the DEA.

             272.   Cephalon failed to design and operate a system to disclose suspicious orders of

   controlled substances and/or failed to notify the appropriate DEA field division of suspicious orders.




   248
         Carreyrou, Cephalon Used Improper Tactics, supra n.224.
   249
       Eric Prommer & Brandy Fleck, Fentanyl transmucosal tablets: current status in the
   management of cancer-related breakthrough pain, 2012(6) Patient Preference and Adherence 465-
   75 (June 25, 2012).

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   For example, as described in ¶ 166, supra, doctors in Coral Gables have been sentenced for

   overprescribing opioids. Cephalon’s failure to timely report these and other suspicious sales violated

   the CSA.

                      5.     Insys.

               273.   Insys manufactures, markets, sells and distributes the following pharmaceutical drug

   in Coral Gables and across the United States:

    Subsys (fentanyl)      Fentanyl sublingual spray; semi-synthetic opioid agonist, Schedule II
                           approved in 2012.

               274.   Subsys is indicated “for the management of breakthrough pain in cancer patients 18

   years of age and older who are already receiving and are tolerant to opioid therapy for their

   underlying persistent cancer pain.”250 The indication also specifies that “SUBSYS is intended to be

   used only in the care of cancer patients and only by oncologists and pain specialists who are

   knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.” In addition, the

   indication provides that “[p]atients must remain on around-the-clock opioids when taking

   SUBSYS.”251 Subsys is contraindicated for, among other ailments, the “[m]anagement of acute or

   postoperative pain including headache/migraine and dental pain.”252 It is available in 100 mcg, 200

   mcg, 400 mcg, 600 mcg, and 800 mcg dosage strengths.253



   250
      The indication provides that “[p]atients considered opioid tolerant are those who are taking …
   around-the-clock medicine consisting of at least 60 mg of oral morphine daily, at least 25 mcg of
   transdermal fentanyl/hour, at least 30 mg of oral morphine per day, at least 8 mg of oral
   hydromorphone daily, at least 25 mg oral oxymorphone per day … or an equianalgesic dose of
   another     opioid      daily     for      a     week       or     longer.”      Available      at:
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/202788s016lbl.pdf.
   251
         Id.
   252
         Id.
   253
         Id.

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          275.    Insys’ revenue is derived almost entirely from Subsys. According to its Form 10-K

   for 2015, Insys reported revenues of $331 million. Of that total, $329.5 million was derived from

   sales of Subsys. Subsys has been widely prescribed in Coral Gables. According to data collected by

   ProPublica, during 2014 Florida doctors’ prescriptions of Subsys to patients insured by the Medicare

   Part D program totaled more than $15 million, and in 2015, Subsys Medicare Part D prescriptions

   totaled more than $28.1 million. The majority of Insys’ sales of Subsys are through wholesalers,

   including defendants AmerisourceBergen, McKesson, and Cardinal Health. In 2015, those

   wholesalers respectively comprised 20%, 17% and 14% of Insys’ total gross sales of Subsys.

          276.    According to Dr. Andrew Kolodny, executive director of Physicians for Responsible

   Opioid Prescribing and chief medical officer of the Phoenix House Foundation, fentanyl products

   are “the most potent and dangerous opioids on the market.”254

          277.    The dangers associated with Subsys are reflected by its extremely limited and specific

   indication, as it is approved solely for BTP in cancer patients already receiving opioids for persistent

   cancer-related pain.

          278.    Despite Subsys’ limited indication and the potent danger associated with fentanyl,

   Insys falsely and misleadingly marketed Subsys to doctors as an effective treatment for back pain,

   neck pain and other off-label pain conditions.255 Then, in June 2012, Insys defined BTP in cancer

   patients to include mild pain: a “flare of mild-to-severe pain in patients with otherwise stable




   254
      Dina Gusovsky, The pain killer: A drug company putting profits above patients, CNBC (Nov.
   5, 2015, 10:13 AM), http://www.cnbc.com/2015/11/04/the-deadly-drug-appeal-of-insys-
   pharmaceuticals.html.
   255
     In the Matter of Insys Therapeutics, Inc., Notice of Unlawful Trade Practices and Proposed
   Resolution (July 10, 2015), https://www.documentcloud.org/ documents/2195731-insysdoj.html.

                                                     105
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   persistent pain,” based on a misleading citation to a paper written by Portenoy.256 Insys trained and

   instructed its sales representatives to use the false definition of breakthrough pain, and specifically

   to use a core visual aid, including the improper definition, whenever they described Subsys to a

   healthcare provider.

           279.    According to a 2014 article in The New York Times, only 1% of prescriptions for

   Subsys were written by oncologists. Approximately half the prescriptions were written by pain

   specialists, with the balance written by other specialists, including dentists and podiatrists.257

                               a. The Indictment of Insys Executives and Arrest of Its
                                  Founder.

           280.    On December 8, 2016, several former Insys executives were arrested and indicted for

   conspiring to bribe practitioners, many of whom operated pain clinics, in order to get them to

   prescribe Subsys. In exchange for bribes and kickbacks, the practitioners wrote large numbers of

   prescriptions for patients, most of whom were not diagnosed with cancer. 258




   256
      Portenoy’s paper, “Breakthrough pain: definition, prevalence and characteristics,” which was
   featured in the 1990 issue of Pain, actually defined breakthrough pain as “a transitory increase in
   pain to greater than moderate intensity (that is, to an intensity of ‘severe’ or ‘excruciating’) . . . on
   a baseline pain of moderate intensity or less.” Russell K. Portenoy & Neil A. Hagen, Breakthrough
   pain: Definition, prevalence and characteristics, 41(3) Pain 273-81 (July 1990) (emphasis added).
   257
       Katie Thomas, Doubts Raised About Off-Label Use of Subsys, a Strong Painkiller, N.Y. Times
   (May 13, 2014), https://www.nytimes.com/2014/05/14/ business/doubts-raised-about-off-label-
   use-of-subsys-a-strong-painkiller.html?action=
   click&contentCollection=Business%20Day&region=Footer&module=MoreInSection&pgtype=
   Blog s&_r=2.
   258
       Press Release, U.S. Attorney’s Office for the District of Massachusetts, Pharmaceutical
   Executives Charged in Racketeering Scheme (Dec. 8, 2016), https://www.justice.gov/usao-m
   a/pr/pharmaceutical-executives-charged-racketeering-scheme; United States v. Babich, et al., No.
   1:16-cr-10343-ADB, Dkt. No. 1 (D. Mass. Dec. 6, 2016), https://www.justice.gov/usao-ma/press-
   release/file/916681/download (together, “Insys Indictment Press Release”).

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          281.    The indictment alleged that the former executives conspired to mislead and defraud

   health insurance providers, who were reluctant to approve payment for Subsys when it was

   prescribed for patients without cancer. In response, the former executives established a

   “reimbursement unit” at Insys, which was dedicated to assisting physicians obtain pre-authorization

   from insurers and pharmacy benefit managers to prescribe Subsys. Insys’ reimbursement unit

   employees were told to inform insurers and pharmacy benefit managers that they were calling “from”

   or were “with” the doctor’s office, or that they were calling “on behalf of” the doctor.

          282.    The executive defendants in the indictment are Insys’ former chief executive officer

   and president, former vice president of sales, former national director of sales, former vice president

   of managed markets and several former regional sales directors. On October 26, 2017, the billionaire

   founder, chief executive officer, and chairman of Insys, John Kapoor, who owns a 60% stake in the

   company, was also charged with fraud and racketeering and was accused of offering bribes to doctors

   to write large numbers of prescriptions for Subsys. Most of the patients who received the medication

   did not have cancer.259

          283.    The charges against all seven executives include alleged violations of the federal

   Anti-Kickback Law, the federal Racketeer Influenced and Corrupt Organizations (“RICO”) statute

   and conspiracy to commit wire and mail fraud, as well as allegations of bribery and defrauding

   insurers. If found guilty, the defendants face possible sentences of up to 20 years for conspiracy to

   commit RICO and conspiracy to commit mail and wire fraud, as well as a fine of $250,000 or twice




   259
      Michela Tindera, Opioid Billionaire Arrested on Racketeering Charges, Forbes (October 26,
   2017) (https://www.forbes.com/sites/michelatindera/2017/10/26/opioid-billionaire-arrested-on-
   racketeering-charges/#1af3f9076a00) (hereinafter “Tindera, Opioid Billionaire Arrested”).

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   the amount of the pecuniary gain or loss. For the charge of conspiracy to violate the Anti-Kickback

   Law, the defendants face a sentence of up to five years in prison and a $25,000 fine.

               284.   The indictment details Insys’ coordinated, centralized scheme to illegally drive

   profits. The company defrauded insurers from a call center at corporate headquarters where Insys

   employees, acting at Kapoor’s direction, disguised their identity and the location of their employer,

   and lied about patient diagnoses, the type of pain being treated and the patients’ course of treatment

   with other medication.

               285.   Harold Shaw, Special Agent-in-Charge of the FBI Boston field division, said in a

   statement, “As alleged, these executives created a corporate culture at Insys that utilized deception

   and bribery as an acceptable business practice, deceiving patients, and conspiring with doctors and

   insurers.”260

                                 b. Insys Targeted Non-Cancer Treating Physicians and
                                    Funded False Publications and Presentations.

               286.   Insys bribed Subsys prescribers through strategic hires and by employing sales

   representatives and other employees at practitioners’ behest, with the expectation that such hires

   would provide inroads with key practitioners. Insys also bribed practitioners through a sham

   speakers’ bureau that was purportedly intended to increase brand awareness using peer-to-peer

   educational lunches and dinners.

               287.   In June 2012, former executives began using in-person meetings, telephone calls and

   texts to inform Insys sales representatives that the key to sales was using the speakers’ bureau to pay

   practitioners to prescribe Subsys. One of the company’s vice presidents texted his sales

   representatives about potential physicians for the speakers’ bureau: “[t]hey do not need to be good



   260
         Id.

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   speakers, they need to write a lot of [Subsys prescriptions].” The former Insys executives actively

   recruited physicians known to have questionable prescribing habits for these speakers’ bureaus.261

             288.   The speakers’ bureaus were often just social gatherings at high-priced restaurants

   involving neither education nor presentations. Frequently, they involved repeat attendees, including

   physicians not licensed to prescribe Subsys. Many of the speakers’ bureaus had no attendees; sales

   representatives were instructed to falsely list names of attendees and their signatures on Insys’ sign-

   in sheets.

             289.   Insys made thousands of payments to physicians, including to Coral Gables

   physicians, for participating on these speakers’ bureaus. Based on an analysis of publicly disclosed

   reports from the years 2013 through 2016, Insys paid physicians over $16.3 million for services

   related to Subsys alone.

             290.   The executives are also charged with targeting practitioners who prescribed Subsys

   not only for cancer pain, but for all pain.

             291.   As set forth in the indictment, at one national speakers’ bureau in or about 2014,

   Insys’ then-vice president of sales stated:

                     “These [doctors] will tell you all the time, well, I’ve only got like eight
              patients with cancer. Or, I only have, like, twelve patients that are on a rapid-onset
              opioids [sic]. Doc, I’m not talking about any of those patients. I don’t want any of
              those patients. That’s, that’s small potatoes. That’s nothing. That’s not what I’m
              here doing. I’m here selling [unintelligible] for the breakthrough pain. If I can
              successfully sell you the [unintelligible] for the breakthrough pain, do you have a
              thousand people in your practice, a thousand patients, twelve of them are currently
              on a rapid-onset opioids [sic]. That leaves me with at least five hundred patients
              that can go on this drug.”262




   261
         Insys Indictment Press Release, supra n.259.
   262
         Id. at 15 (emphasis added).

                                                      109
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               292.   Moreover, when agents of insurers or pharmacy benefit managers asked if a patient

   was being treated for BTP in cancer patients, Insys’ reimbursement unit employees were instructed

   to answer using a written script, sometimes called “the spiel”: “The physician is aware that the

   medication is intended for the management of breakthrough pain in cancer patients. The physician

   is treating the patient for their pain (or breakthrough pain, whichever is applicable).”263

               293.   Insys’ former executives also tracked and internally circulated the number of planned

   and completed speakers’ bureau events for each speaker, as well as the number of Subsys

   prescriptions each speaker wrote, the percentage of such prescriptions compared to those written for

   Subsys’ competitor drugs, the total amount of honoraria paid to each speaker and, for a period of

   time, an explicit calculation of the ratio of return on investment for each speaker. When a speaker

   did not write an appropriate number of Subsys prescriptions, as determined by Insys, the number of

   future events for which that speaker would be paid would be reduced unless and until he or she wrote

   more Subsys prescriptions.

               294.   In a press release issued when the indictment was announced, the Massachusetts U.S.

   Attorney, Carmen M. Ortiz, stated: “‘I hope that today’s charges send a clear message that we will

   continue to attack the opioid epidemic from all angles, whether it is corporate greed or street level

   dealing.’”264

               295.   In the same press release, the FBI Special Agent-in-Charge of the Boston field

   division, Harold H. Shaw, linked the allegations to the national opioid epidemic:




   263
         Id. at 44.
   264
         Id.

                                                       110
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                As alleged, top executives of Insys Therapeutics, Inc. paid kickbacks and committed
                fraud to sell a highly potent and addictive opioid that can lead to abuse and life
                threatening respiratory depression . . . . In doing so, they contributed to the growing
                opioid epidemic and placed profit before patient safety. These indictments reflect the
                steadfast commitment of the FBI and our law enforcement partners to confront the
                opioid epidemic impacting our communities, while bringing to justice those who seek
                to profit from fraud or other criminal acts.265
                                   c. Insys Failed to Report Suspicious Sales as Required.

                296.   The federal CSA imposes on all “registrants” the obligation to design and operate a

   system to disclose to the registrant suspicious orders of controlled substances and requires the

   registrant to notify the DEA field division office in its area of any suspicious orders. “Suspicious

   orders include orders of unusual size, orders deviating substantially from a normal pattern, and orders

   of unusual frequency.” 21 C.F.R. § 1301.74(b).

                297.   Insys is a “registrant” under the federal CSA. 21 C.F.R. § 1300.02(b), defined as any

   person who is registered with the DEA under 21 U.S.C. § 823. Section 823, in turn, requires

   manufacturers of Schedule II controlled substances to register with the DEA.

                298.   Insys failed to design and operate a system to disclose suspicious orders of controlled

   substances and/or failed to notify the appropriate DEA field division of suspicious orders. For

   example, as described in ¶ 166, supra, doctors in Coral Gables have been sentenced for

   overprescribing opioids. Insys’ failure to timely report these and other suspicious sales violated the

   CSA.

                       6.      Mallinckrodt.

                299.   Mallinckrodt manufactures, markets, sells and distributes pharmaceutical drugs in

   Coral Gables and across the United States. Mallinckrodt is the largest U.S. supplier of opioid pain




   265
         Id .

                                                         111
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   medications and is among the top ten generic pharmaceutical manufacturers in the United States,

   based on the number of prescriptions.

          300.    Among the drugs it distributes are the following:

       Exalgo              Opioid agonist indicated for opioid-tolerant patients for Schedule II
       (hydromorphone      management of pain severe enough to require daily,
       hydrochloride       the-clock,
                           around- long-term opioid treatment and for which
       extended            alternative treatment options (e.g., non-opioid analgesics)
       release)            inadequate.
                           are          The FDA approved the 8, 12, and 16 mg
                           Exalgo  in
                           tablets of March   2010 and 32 mg tablet in August 2012.
       Roxicodone          Brand-name instant-release form of oxycodone                Schedule II
       (oxycodone          Indicated  for the management of pain severe enough to
                           hydrochloride.
       hydrochloride)      require an opioid analgesic and for which alternative
                           treatments are inadequate. Acquired from Xanodyne
                           Pharmaceuticals in 2012. Strengths range up to 30 mg per
                           Nicknames
                           pill.        include Roxies, blues, and stars.

       Xartemis XR       The FDA approved Xartemis XR in March 2014 for the Schedule II
       (oxycodone        management of acute pain severe enough to require
       hydrochloride and opioid treatment and in patients for whom alternative
       acetaminophen) treatment options are ineffective, not tolerated or would
                         otherwise be inadequate. It was the first extended-release
                         oral combination of oxycodone and acetaminophen.
       Methadose           Branded generic product. Opioid agonist indicated for      Schedule II
       (methadone          treatment of opioid addiction.
       hydrochloride)
       Morphine sulfate Generic product.                                              Schedule II
       extended release
       Fentanyl extended Generic product.                                             Schedule II
       release

       Fentanyl citrate    Generic product.                                           Schedule II
       Oxycodone and       Generic product.                                           Schedule II
       acetaminophen
       Hydrocodone         Generic product.                                           Schedule II
       bitartrate and
       acetaminophen
       Hydromorphone       Generic product.                                           Schedule II
       hydrochloride




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         Hydromorphone      Generic product.                                          Schedule II
         hydrochloride
         extended release
         Naltrexone         Generic product.                                          Schedule II
         hydrochloride
         Oxymorphone        Generic product.                                          Schedule II
         hydrochloride
         Methadone          Generic product.                                          Schedule II
         hydrochloride
         Oxycodone          Generic product.                                          Schedule II
         hydrochloride
           301.    Mallinckrodt purchased Roxicodone from Xanodyne Pharmaceuticals in 2012.266

           302.    Mallinckrodt debuted Xartemis (MNK-795) at the September 4-7, 2013 PAINWeek

   in Las Vegas.

                              a. Mallinckrodt     Funded      False    Publications      and
                                 Presentations.

           303.    Like several of the other Manufacturing Defendants, Mallinckrodt provided

   substantial funding to purportedly neutral organizations to disseminate false messaging about

   opioids. For example, until at least February 2009, Mallinckrodt provided an educational grant to

   Pain-Topics.org, a now-defunct website that touted itself as “a noncommercial resource for

   healthcare professionals, providing open access to clinical news, information, research, and

   education for a better understanding of evidence-based pain-management practices.”267




   266
      Mallinckrodt Announces Agreement with Xanodyne to Purchase Roxicodone, Bus. Wire (Aug.
   23, 2012), http://www.businesswire.com/news/ home/20120823005209/en/Mallinckrodt-
   Announces-Agreement-Xanodyne-Purchase-Roxicodone%C2%AE.
   267
                   Pain             Treatment             Topics,               Pain-Topics.org,
   https://web.archive.org/web/20070104235709/http://www.pain-topics.org:80/ (last visited June 7,
   2018).

                                                  113
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               304.   The website included a handout titled “Oxycodone Safety Handout for Patients,”

   which advised practitioners that: “Patients’ fears of opioid addiction should be dispelled.”268 The

   handout included several false and misleading statements concerning the risk of addiction associated

   with prescription opioids:

               Will you become dependent on or addicted to oxycodone?

                     After a while, oxycodone causes physical dependence. That is, if you suddenly
                      stop the medication you may experience uncomfortable withdrawal symptoms,
                      such as diarrhea, body aches, weakness, restlessness, anxiety, loss of appetite,
                      and other ill feelings. These may take several days to develop.

                     This is not the same as addiction, a disease involving craving for the drug,
                      loss of control over taking it or compulsive use, and using it despite harm.
                      Addiction to oxycodone in persons without a recent history of alcohol or
                      drug problems is rare.269

               305.   Additionally, the FAQ section of Pain-Topics.org contained the following false and

   misleading information downplaying the dangers of prescription opioid use:

                        Pseudoaddiction – has been used to describe aberrant patient behaviors that
               may occur when pain is undertreated (AAPM 2001). Although this diagnosis is not
               supported by rigorous investigation, it has been widely observed that patients with
               unrelieved pain may become very focused on obtaining opioid medications, and may
               be erroneously perceived as “drug seeking.” Pseudoaddiction can be distinguished
               from true addiction in that the behaviors resolve when the pain is effectively treated.
               Along with this, two related phenomena have been described in the literature (Alford
               et al. 2006):

                      Therapeutic dependence – sometimes patients exhibit what is considered
               drug-seeking because they fear the reemergence of pain and/or withdrawal symptoms
               from lack of adequate medication; their ongoing quest for more analgesics is in the
               hopes of insuring a tolerable level of comfort.

                      Pseudo-opioid-resistance – other patients, with adequate pain control, may
               continue to report pain or exaggerate its presence, as if their opioid analgesics are


   268
      Lee A. Kral & Stewart B. Leavitt, Oxycodone Safety Handout for Patients, Pain-Topics.Org
   (June 2007), http://paincommunity.org/blog/wp-content/uploads/ Oxycodone/Handout.pdf.
   269
         Id.

                                                        114
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               not working, to prevent reductions in their currently effective doses of medication.

                        Patient anxieties about receiving inadequate pain control can be profound,
               resulting in demanding or aggressive behaviors that are misunderstood by healthcare
               practitioners and ultimately detract from the provision of adequate pain relief.270

               306.   Another document available on the website, “Commonsense Oxycodone Prescribing

   & Safety,” falsely suggests that generic oxycodone is less prone to abuse and diversion than branded

   oxycodone: “Anecdotally, it has been observed that generic versions of popularly abused opioids

   usually are less appealing; persons buying drugs for illicit purposes prefer brand names because they

   are more recognizable and the generics have a lower value ‘on the street,’ which also makes them

   less alluring for drug dealers.”271

               307.   In November 2016, Mallinckrodt paid Dr. Scott Gottlieb (“Gottlieb”), the new

   commissioner of the FDA, $22,500 for a speech in London, shortly after the U.S. presidential

   election.272 Gottlieb has also received money from the Healthcare Distribution Alliance (“HDA”),

   an industry-funded organization that pushes the agenda of large pharmaceutical wholesalers. He has

   often criticized efforts aimed at regulating the pharmaceutical opioid market.273

               308.   Mallinckrodt has made thousands of payments to physicians, including to Coral

   Gables physicians. Based on an analysis of publicly disclosed reports from the years 2013 through

   2016, Mallinckrodt paid more than $17.9 million to physicians for consulting, speakers’ bureau




   270
       FAQs, Pain-Topics.org, https://web.archive.org/web/20070709031530/ http://www.pain-
   topics.org:80/faqs/index1.php#tolerance.
   271
      Lee A. Kral, Commonsense Oxycodone Prescribing & Safety, Pain-Topics.org (June 2007),
   http://paincommunity.org/blog/wp-content/uploads/ OxycodoneRxSafety.pdf.
   272
      Lee Fang, Donald Trump’s Pick to Oversee Big Pharma Is Addicted to Opioid-Industry Cash,
   Intercept (Apr. 4, 2017, 2:15 PM), https://theintercept.com/ 2017/04/04/scott-gottlieb-opioid/.
   273
         Id.

                                                       115
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   participation, post-marketing safety surveillance and other services.274

               309.   Exalgo, Roxicodone, and Xartemis XR have been widely prescribed in Coral Gables.

   According to data collected by ProPublica, in 2014, Florida doctors’ prescriptions of Exalgo to

   patients insured by the Medicare Part D program totaled almost $3.8 million, prescriptions of

   Roxicodone totaled more than $265,000, and prescriptions of Xartemis XR totaled almost $9,000.

   In 2015, those numbers were more than $1.5 million for Exalgo, almost $292,000 for Roxicodone,

   and approximately $15,000 for Xartemis XR.

                                b. The DEA Investigates Suspicious Orders.

               310.   In 2008, the DEA and federal prosecutors launched an investigation into

   Mallinckrodt, charging that the company ignored red flags and supplied, and failed to report,

   suspicious orders for its generic oxycodone between 2008 and 2012.275 The U.S. Attorney’s office

   in Detroit handled the case. The investigation uncovered that from 2008 to 2012, Mallinckrodt sent,

   for example, 500 million tablets of oxycodone into Florida, “66 percent of all oxycodone sold in the

   state.” 276 According to the internal government documents obtained by the Washington Post,

   Mallinckrodt’s failure to report could have resulted in “nearly 44,000 federal violations and exposed

   it to $2.3 billion in fines.”277




   274
                 Mallinckrodt,           Dollars         for            Docs,               ProPublica,
   https://projects.propublica.org/docdollars/company/mallinckrodt-llc.
   275
      Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers
   accountable, Wash. Post (Apr. 2, 2017), https://www.washingtonpost.com/graphics/
   investigations/dea-mallinckrodt/?utm_ term=.7ce8c975dd86.
   276
         Id.
   277
         Id.

                                                     116
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               311.   Through its Florida distributor, Sunrise Wholesale (“Sunrise”) of Broward County,

   Mallinckrodt distributed 92,400 oxycodone tablets to a single doctor over an eleven-month period,

   who, in one day, prescribed 1,000 tablets to a single patient.278

               312.   According to documents obtained by the Washington Post, investigators also found

   “scores of alleged violations” at Mallinckrodt’s plant in Hobart, New York. Those violations include

   the failure to keep accurate records, to document transfers of drugs and to secure narcotics.279

               313.   During the DEA’s investigation, Mallinckrodt sponsored the HDA (known as the

   Healthcare Distribution Management Association until 2016), an industry-funded organization that

   represents pharmaceutical distributors. 280 The HDA initiated the Ensuring Patient Access and

   Effective Drug Enforcement Act of 2016 (enacted April 19, 2016), which requires the DEA to give

   pharmacies and distributors a notice of violation and an opportunity to comply before withdrawing

   their licenses. This Act substantially lessened the DEA’s ability to regulate manufacturers and

   wholesalers.281

               314.   In May 2014, Mallinckrodt posted a video titled “Red Flags: Pharmacists Anti-Abuse

   Video.” The video is a thinly veiled attempt to divert responsibility for the opioid epidemic away

   from manufacturers and wholesalers, and toward individual pharmacists. The video was sponsored

   by the Anti-Diversion Industry Working Group, which is composed of Cardinal Health, Actavis,




   278
         Id.
   279
         Id.
   280
       Role of Distributors, Healthcare Distribution Alliance, https://www.hda.org/about/role-of-
   distributors (last visited June 7, 2018).
   281
      Chris McGreal, Opioid epidemic: ex-DEA official says Congress is protecting drug makers,
   Guardian (Oct. 31, 2016, 9:26 EDT), https://www. theguardian.com/us-news/2016/oct/31/opioid-
   epidemic-dea-official-congress-big-pharma.

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   McKesson, Mallinckrodt, AmerisourceBergen, and Qualitest—none of whom are included on the

   list of those responsible.282

           315.    In April 2017, Mallinckrodt reached an agreement with the DEA and the U.S.

   Attorneys for the Eastern District of Michigan and Northern District of New York to pay $35 million

   to resolve a probe of its distribution of its opioid medications. 283 Mallinckrodt finalized the

   settlement on July 11, 2017, agreeing to pay $35 million while admitting no wrongdoing.284

                               c. Mallinckrodt Failed to Report Suspicious Sales as
                                  Required.

           316.    The federal CSA imposes on all “registrants” the obligation to design and operate a

   system to disclose to the registrant suspicious orders of controlled substances and requires the

   registrant to notify the DEA field division office in its area of any suspicious orders. “Suspicious

   orders include orders of unusual size, orders deviating substantially from a normal pattern, and orders

   of unusual frequency.” 21 C.F.R. § 1301.74(b).

           317.    Mallinckrodt is a “registrant” under the federal CSA. 21 C.F.R. § 1300.02(b), defined

   as any person who is registered with the DEA under 21 U.S.C. § 823. Section 823, in turn, requires

   manufacturers of Schedule II controlled substances to register with the DEA.




   282
      Mallinckrodt Pharmaceuticals, Red Flags: Pharmacists Anti-Abuse Video, YouTube (May 27,
   2014), https://www.youtube.com/watch?v=fdv0B210bEk&t=1s.
   283
       Linda A. Johnson, Mallinckrodt to Pay $35M in Deal to End Feds’ Opioid Probe, The
   Washington               Times,               (Apr.                3,               2017),
   https://www.washingtontimes.com/news/2017/apr/3/mallinckrodt-to-pay-35m-in-deal-to-end-
   feds-opioid/.
   284
      Press Release, U.S. Department of Justice, Mallinckrodt Agrees to Pay Record $35 Million
   Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping
   Violations (July 11, 2017), https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-
   million-settlement-failure-report-suspicious-orders.

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          318.    Mallinckrodt failed to design and operate a system to disclose suspicious orders of

   controlled substances and/or failed to notify the appropriate DEA field division of suspicious orders.

   For example, as described in ¶ 166, supra, doctors in Coral Gables have been sentenced for

   overprescribing opioids. Mallinckrodt’s failure to timely report these and other suspicious sales

   violated the CSA.


          C. The Distributor Defendants Failed to Track and Report Suspicious Sales as

              Required by Florida and Federal Law.

          319.    Distributors serve as middlemen, sending billions of doses of opioid pain pills to

   pharmacists, hospitals, nursing homes and pain clinics. According to the CDC, increased distribution

   of opioids directly correlates to increased overdose death rates:




                                                    119
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          320.    On October 23, 2017, CBS aired an episode of 60 Minutes featuring former DEA

   agent Joe Rannazzisi, who blamed the Distributor Defendants for killing people by violating the

   CSA requirement to report suspicious orders:

          [RANNAZZISI]: This is an industry that’s out of control. What they wanna do, is
          do what they wanna do, and not worry about what the law is. And if they don’t
          follow the law in drug supply, people die. That’s just it. People die.

                                         *        *         *
          This is an industry that allowed millions and millions of drugs to go into bad
          pharmacies and doctors’ offices, that distributed them out to people who had no
          legitimate need for those drugs.
          [INTERVIEWER]: Who are these distributors?
          [RANNAZZISI]: The three largest distributors are Cardinal Health, McKesson,
          and AmerisourceBergen. They control probably 85 or 90 percent of the drugs going
          downstream.
          [INTERVIEWER]: You know the implication of what you’re saying, that these
          big companies knew that they were pumping drugs into American communities that
          were killing people.

          [RANNAZZISI]: That’s not an implication, that’s a fact. That’s exactly what they
          did.285
          321.    Jim Geldhof, a 40-year veteran of the DEA who ran investigations in the Detroit field

   office, corroborated Rannazzinsi’s account, saying that the Distributors are “absolutely” responsible

   for the opioids epidemic:

          [INTERVIEWER]: These companies are a big reason for this epidemic?
          [GELDHOF]: Yeah, absolutely they are. And I can tell you with 100 percent
          accuracy that we were in there on multiple occasions trying to get them to change
          their behavior. And they just flat out ignored us.286


   285
         Meet 60 Minutes’ DEA Whistleblower, CBS News, (Oct. 15, 2017),
   https://www.cbsnews.com/news/meet-60-minutes-dea-whistleblower/ (hereinafter “CBS DEA
   Whistleblower”).
   286
     Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS News, (Oct. 15,
   2017), https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-drug-industry-and-
   congress/.

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             322.   According to Rannazzisi, the Distributor Defendants succeeded in lobbying Congress

   to strip the DEA of its most potent tool for fighting against diversion and abuse. In 2013, a bill was

   introduced in the House that “was promoted as a way to ensure that patients had access to the pain

   medication they needed.” What it “really did,” however, “was strip the [DEA] of its ability to

   immediately freeze suspicious shipments of prescription narcotics to keep drugs off U.S. streets.” A

   2015 DOJ memo confirmed that the bill “could actually result in increased diversion, abuse, and

   public health and safety consequences.”287

             323.   During the two years the legislation was considered and amended, defendants and

   others in the industry spent $102 million lobbying Congress, “claiming the DEA was out of control

   [and] making it harder for patients to get needed medication.” The APA co-signed a letter in support

   of the legislation. As discussed, supra ¶¶ 100-101, the APA receives funding from numerous industry

   participants, including Johnson & Johnson, Endo, Mallinckrodt, Purdue and Cephalon. Metadata

   associated with the letter co-signed by the APA shows that it was created by Kristen L. Freitas, vice

   president for federal government affairs at the HDA – the trade group that represents defendants

   McKesson, Cardinal Health and AmerisourceBergen. Freitas is also a registered lobbyist who

   lobbied in support of the bill.

             324.   According to 60 Minutes, the chief administrative law judge of the DEA, John J.

   Mulrooney, has written “that the new legislation ‘would make it all but . . . impossible’ to prosecute

   unscrupulous distributors.” The proposed bill was signed into law in 2016. The primary author of

   the bill is former DEA associate chief counsel Linden Barber. He was recently hired by Cardinal

   Health as senior vice president.




   287
         CBS DEA Whistleblower, supra n. 286.


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                  1.      McKesson.

          325.    McKesson is a wholesale pharmaceutical distributor of prescription medications,

   including opioids. It is the largest pharmaceutical distributor and the fifth largest company in the

   United States according to the 2017 Fortune 500 list, with over $192 billion in revenues.

          326.    McKesson supplies United States pharmacies with an increasing amount of

   oxycodone and hydrocodone pills, products that are frequently misused and are part of the current

   opioid epidemic.

          327.    McKesson distribution centers are required to operate in accordance with the

   statutory provisions of the CSA. The regulations promulgated under the CSA include a requirement

   to design and operate a system to detect and report “[s]uspicious orders” of controlled substances—

   orders that are unusual in their frequency, size or other patterns. See 21 C.F.R. § 1301.74(b). The

   CSA authorizes the imposition of a civil penalty of up to $10,000 for each violation of 21 C.F.R. §

   1301.74(b). See 21 U.S.C. § 842(a)(5) & (c)(1)(B). The provision requiring the reporting of

   suspicious orders in the federal CSA has been incorporated into Florida law. See Fla. Stat. §§

   499.0121(10) and (15)(b).

          328.    In or about 2007, the DEA accused McKesson of failing to report suspicious orders

   and launched an investigation. In 2008, McKesson entered into a settlement agreement with the DOJ

   and a memorandum of agreement, agreeing to pay a $13.25 million fine for failure to report

   suspicious orders and promising to set up a monitoring system.

          329.    As a result, McKesson developed a Controlled Substance Monitoring Program

   (“CSMP”), but nevertheless failed to design and implement an effective system to detect and report

   “suspicious orders” for the controlled substances it distributes to independent and small-chain

   pharmacy customers. McKesson continued to fail to detect and disclose suspicious orders of



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   controlled substances. It failed to conduct adequate due diligence of its customers, failed to keep

   complete and accurate records in the CSMP files, and bypassed suspicious order reporting

   procedures set forth in the CSMP.

          330.    In 2013, the DEA again investigated reports that McKesson was failing to maintain

   proper controls to prevent the diversion of opioids. The DEA accused McKesson of failing to design

   and use an effective system to detect “suspicious orders” from pharmacies for powerful painkillers

   such as oxycodone. Nine DEA field divisions and twelve U.S. Attorneys built a case against

   McKesson for the company’s role in the opioid crisis, which David Schiller, Assistant Special Agent-

   in-Charge for the Denver Field Division and leader of the DEA team investigating McKesson, called

   “the best case we’ve ever had against a major distributor in the history of the Drug Enforcement

   Administration.”288

          331.    On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

   Special Agent-in-Charge Schiller, who described McKesson as a company that killed people for its

   own financial gain and blatantly ignored the CSA requirement to report suspicious orders:

          [SCHILLER:] If they woulda stayed in compliance with their authority and held
          those that they’re supplying the pills to, the epidemic would be nowhere near where
          it is right now. Nowhere near.
                                         *        *        *
          [SCHILLER:] They had hundreds of thousands of suspicious orders they should
          have reported, and they didn’t report any. There’s not a day that goes by in the
          pharmaceutical world, in the McKesson world, in the distribution world, where
          there’s not something suspicious. It happens every day.
          [INTERVIEWER:] And they had none.




   288
      Bill Whitaker, Whistleblowers: DEA attorneys went easy on McKesson, the country’s largest
   drug distributor, CBS News (Dec. 17, 2017), https://www.cbsnews.com/news/whistleblowers-
   dea-attorneys-went-easy-on-mckesson-the-countrys-largest-drug-distributor/.

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               [SCHILLER:] They weren’t reporting any. I mean, you have to understand that,
               nothing was suspicious?289
               332.   On January 17, 2017, in one of the most severe sanctions ever agreed to by a

   distributor, McKesson agreed to pay a record $150 million in fines and suspend sales of controlled

   substances from distribution centers in four states (Colorado, Ohio, Michigan, and Florida), to settle

   allegations that the company had violated federal law. According to the DOJ, McKesson continued

   to fail to report suspicious orders between 2008 and 2012, and did not fully implement or follow the

   monitoring program. As part of the agreement, McKesson acknowledged that:

               At various times during the Covered Time Period, it did not identify or report to DEA

               certain orders placed by certain pharmacies, which should have been detected by

               McKesson as suspicious, in a manner fully consistent with the requirements set forth

               in the 2008 MOA.290

                      2.      Cardinal Health.

               333.   Cardinal Health describes itself as a global integrated healthcare services and

   products company. It generated $121.5 billion in total revenue during fiscal year 2016 (ended June

   30, 2016). It is ranked 15th on the 2017 Fortune 500 list of top U.S. companies by revenue.

               334.   Cardinal Health has two operating segments: pharmaceutical and medical. Its

   pharmaceutical segment distributes branded and generic pharmaceutical, special pharmaceutical,

   over-the-counter, and consumer products in the United States. Of Cardinal Health’s $121.5 billion

   in revenue during 2016, $109.1 billion was derived from its pharmaceutical operating segment.




   289
         Id.
   290
       Settlement Agreement and Release, p. 5 (Jan. 2017), https://www.justice.gov/opa/press-
   release/file/928471/download


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          335.    Cardinal Health’s largest customer is CVS Health (“CVS”), which accounted for

   25% of its 2016 revenue. According to its website, CVS operates three pharmacies in Coral Gables,

   and many more in nearby municipalities. Additionally, Cardinal Health runs a distribution center in

   Lakeland, Florida.291

          336.    Cardinal Health distribution centers are required to operate in accordance with the

   statutory provisions of the CSA and the regulations promulgated thereunder. See 21 C.F.R. § 1300

   et seq. The regulations promulgated under the CSA include a requirement to design and operate a

   system to detect and report “suspicious orders” for controlled substances as that term is defined in

   the regulation. See 21 C.F.R. § 1301.74(b). The CSA authorizes the imposition of a civil penalty of

   up to $10,000 for each violation of 21 C.F.R. §1301.74(b). See 21 U.S.C. § 842(a)(5) & (c)(1)(B).

   The provision requiring the reporting of suspicious orders in the federal CSA has been incorporated

   into Florida law. See Fla. Stat. §§ 499.0121(10) and (15)(b).

          337.    On December 23, 2016, Cardinal Health agreed to pay the United States $44 million

   to resolve allegations that it violated the CSA in Maryland, Florida, and New York by failing to

   report suspicious orders of controlled substances, including oxycodone, to the DEA.292

          338.    In the settlement agreement, Cardinal Health admitted, accepted and acknowledged

   that it had violated the CSA between January 1, 2009, and May 14, 2012, by failing to:

                 maintain effective controls against diversion of particular controlled
                  substances into other than legitimate medical, scientific, and industrial
                  channels as evidenced by sales to certain customers of Cardinal;

   291
                 Drug         Distribution       Locations            Mainland            US,
   https://batchgeo.com/map/788de3747b01802c0171abfa8a4b5eca (last visited June 7, 2018).
   292
      Earlier in 2016, CVS also agreed to pay the United States $8 million to resolve violations of
   the CSA by its Maryland pharmacies. According to the settlement agreement, CVS admitted that
   between 2008 and 2012 certain of its Maryland pharmacies dispensed oxycodone, fentanyl,
   hydrocodone and other pharmaceuticals in violation of the CSA because the drugs were dispensed
   without ensuring that the prescriptions were issued for legitimate medical purposes.

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                       report suspicious orders of controlled substances as required by 21 C.F.R.
                        § I301.74(b); and

                       conduct meaningful due diligence of its retail pharmacies, including its
                        retail chain pharmacy customers to ensure that controlled substances were
                        not diverted into other than legitimate channels.293

                339.    The settlement agreement was announced by the U.S. Attorney for the District of

   Maryland, Rod J. Rosenstein (“Rosenstein”), and the DEA Special Agent-in-Charge, Washington

   Field Division, Karl C. Colder (“Colder”).294

                340.    In the press release announcing the settlement agreement, Rosenstein stated:

                         “Pharmaceutical suppliers violate the law when they fill unusually large or
                frequent orders for controlled substances without notifying the DEA . . . . Abuse of
                pharmaceutical drugs is one of the top federal law enforcement priorities. Cases
                such as this one, as well as our $8 million settlement with CVS in February 2016,
                reflect the federal commitment to prevent the diversion of pharmaceutical drugs for
                illegal purposes.”295
                341.    In the press release, Colder clarified that the settlement specifically concerned

   oxycodone:

                         “DEA is responsible for ensuring that all controlled substance transactions
                take place within DEA’s regulatory closed system. All legitimate handlers of
                controlled substances must maintain strict accounting for all distributions and Cardinal
                failed to adhere to this policy . . . . Oxycodone is a very addictive drug and failure to
                report suspicious orders of oxycodone is a serious matter. The civil penalty levied
                against Cardinal should send a strong message that all handlers of controlled substances
                must perform due diligence to ensure the public safety . . . .”296



   293
           Administrative     Memorandum        of     Agreement,                    (May       14,         2012),
   https://www.dea.gov/divisions/hq/2012/cardinal_agreement.pdf.
   294
      Press Release, U.S. Attorney’s Office for the District of Maryland, Cardinal Health Agrees to
   $44 Million Settlement for Alleged Violations of Controlled Substances Act (Dec. 23, 2016),
   https://www.justice.gov/usao-md/pr/cardinal-health-agrees-44-million-settlement-alleged-
   violations-controlled-substances-act.
   295
         Id .
   296
         Id .

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                  3.      AmerisourceBergen.

          342.    AmerisourceBergen is a wholesale distributor of pharmaceuticals, including

   controlled substances and non-controlled prescription medications. AmerisourceBergen handles the

   distribution of approximately 20% of all pharmaceuticals sold and distributed in the United States

   through a network of 26 pharmaceutical distribution centers, including one in Orlando, Florida.297

   It ranked 11th on the Fortune 500 list in 2017, with over $146 billion in annual revenue.

          343.    AmerisourceBergen distribution centers are required to operate in accordance with

   the statutory provisions of the CSA and the regulations promulgated thereunder. See 21 C.F.R. §

   1300 et seq. The regulations promulgated under the CSA include a requirement to design and operate

   a system to detect and report “suspicious orders” for controlled substances as that term is defined in

   the regulation. See 21 C.F.R. § 1301.74(b). The CSA authorizes the imposition of a civil penalty of

   up to $10,000 for each violation of 21 C.F.R. § 1301.74(b). See 21 U.S.C. § 842(a)(5) & (c)(1)(B).

   The provision requiring the reporting of suspicious orders in the federal CSA has been incorporated

   into Florida law. See Fla. Stat. §§ 499.0121(10) and (15)(b).

          344.    In 2012, West Virginia sued AmerisourceBergen and Cardinal Health, as well as

   several smaller wholesalers, for violations of the CSA, consumer credit and protection and antitrust

   laws, and the creation of a public nuisance. Unsealed court records from that case demonstrate that

   AmerisourceBergen, along with McKesson and Cardinal Health, together shipped 423 million pain

   pills to West Virginia between 2007 and 2012.298 AmerisourceBergen itself shipped 80.3 million




   297
     AmerisourceBergen, Wikipedia, https://en.wikipedia.org/wiki/AmerisourceBergen (hereinafter
   “AmerisourceBergen”) (last visited June 7, 2018); Drug Distribution Locations, supra n.261.
   298
      Eric Eyre, Drug firms poured 780M painkillers into WV amid rise of overdoses, Charleston
   Gazette-Mail (Dec. 17, 2016), http://www.wvgazettemail.com/news-health/20161217/drug-firms-
   poured-780m-painkillers-into-wv-amid-rise-of-overdoses.

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   hydrocodone pills and 38.4 million oxycodone pills during that time period.299 Public documents

   also demonstrate that the average dose of each tablet distributed grew substantially during that time

   period. In 2016, AmerisourceBergen agreed to settle the West Virginia lawsuit by paying $16 million

   to the state, with the funds set aside to fund drug treatment programs in order to respond to the opioid

   addiction crisis.

                   4.     Walgreens.

            345.   Walgreens’ distribution centers are required to operate in accordance with the

   statutory provisions of the CSA and the regulations promulgated thereunder. See 21 C.F.R. § 1300

   et seq. The regulations promulgated under the CSA include a requirement to design and operate a

   system to detect and report “suspicious orders” for controlled substances as that term is defined in

   the regulation. See 21 C.F.R. § 1301.74(b). The CSA authorizes the imposition of a civil penalty of

   up to $10,000 for each violation of 21 C.F.R. §1301.74(b). See 21 U.S.C. § 842(a)(5) & (c)(1)(B).

   The provision requiring the reporting of suspicious orders in the federal CSA has been incorporated

   into Florida law. See Fla. Stat. §§ 499.0121(10) and (15)(b).

            346.   Walgreens’ recent settlement with the DEA stemmed from the DEA’s investigation

   into Walgreens’ Jupiter Center, which was responsible for significant opioid diversion in Florida.

   According to the Order to Show Cause, Walgreens’ corporate headquarters pushed to increase the

   number of oxycodone sales to Walgreens’ Florida pharmacies, and provided bonuses for pharmacy

   employees based on number of prescriptions filled at the pharmacy in an effort to increase oxycodone

   sales. In July 2010, Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

   dispensed in June of that year, and found that the highest-raking store in oxycodone sales sold almost




   299
         AmerisourceBergen, supra n.266.

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   18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter Center.

               347.   Defendant Walgreens’ Jupiter Center was responsible for numerous instances of

   diversion in Florida. The Jupiter Center supplied prescription opioids to two Walgreens pharmacies

   in Oviedo, Florida, one of which increased its oxycodone prescriptions from 6,600 dosage units in

   June 2010 to 169,780 dosage units in June 2011. Multiple arrests at the Oviedo Walgreens for illicit

   sales prompted the local chief of police to write letters to the Chairman and CEO of Walgreens and

   ask for their assistance in fighting the prescription drug epidemic. In the letter, the police chief

   reported that at both locations drugs were “sold, distributed as payment, crushed, and snorted,

   liquefied and injected, or multiple pills swallowed while in the parking lot of your pharmacies.”300

   Defendant Walgreens’ Jupiter Center continued to supply prescription opioids to the Oviedo

   pharmacies, and increased its quantities of 30 mg oxycodone from 73,300 tablets in February 2011

   to 145,300 dosage units in July 2011. The Jupiter Center nearly doubled its distribution of oxycodone

   to one of these pharmacies within a six-month period.

               348.   In September 2010, a pharmacist who worked at a Walgreens pharmacy in Ft. Pierce,

   Florida which also received shipments from the Jupiter Center, contacted law enforcement after

   mistakenly providing an additional 120 doses of 15 milligram oxycodone to a customer.301 When

   the pharmacist contacted the customer to ask that he return the opioids, he spoke with his girlfriend

   who said that the customer was addicted to drugs and also sells his prescription drugs. She also

   explained that he would not return the drugs.302 Despite this incident, the pharmacy continued to




   300
        In the Matter of Walgreens Co. Order to Show Cause, (September 13, 2012).
   https://www.dea.gov/divisions/mia/2013/mia061113_appendixc.pdf.
   301
         Id.
   302
         Id.

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   provide several additional prescriptions of oxycodone to the customer, all of which were supplied

   by the Jupiter Center.303

               349.   The Jupiter Center, along with Defendant Walgreens’ headquarters, ignored

   warnings and concerns from its own employees about large shipments of opioids. In January 2011,

   the Center’s Function Manager, who was responsible for all Schedule II drug operations (including

   opioids), sent an email to the manager of Walgreens’ drug stores at its headquarters about the

   suspiciously “large quantity,” of oxycodone that was being ordered by three stores in Florida.304

   The Jupiter Center continued to supply opioids to these locations, and provided a Walgreens’

   pharmacy in Port Richey, a town of less than 3,000 people, 285,800 30 milligram doses of oxycodone

   in January 2011. Despite the warning from an employee, Defendant Walgreens did not report any of

   these orders as suspicious.


   V.          CAUSES OF ACTION.

                                                  COUNT I
                               Violation of Florida Deceptive and Unfair Trade Practices Act
                                                   Against All Defendants

               Coral Gables incorporates herein by reference all of the allegations in paragraphs 1-349 as

   if set forth below.

               350.   The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.021, et seq.

   (“FDUTPA”), prohibits “[u]nfair methods of competition, or unconscionable acts or practices, and

   unfair or deceptive acts or practices in the conduct of any trade or commerce.” Fla. Stat. § 501.204(1).




   303
         Id.
   304
         Id.

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          351.    Coral Gables is a “person” within the meaning of Fla. Stat. § 501.203(6) and as

   envisioned in Fla. Stat. § 501.211.

          352.    The Manufacturing Defendants and Distributor Defendants engaged in “[t]rade or

   commerce” within the meaning of Fla. Stat. § 501.203(8).

          353.    During the relevant period and as detailed further herein, the Manufacturing

   Defendants have each engaged in unfair and deceptive acts or practices in commerce in violation of

   the FDUTPA by actively promoting and marketing the use of opioids for indications not federally

   approved, circulating false and misleading information concerning opioids’ safety and efficacy, and

   downplaying or omitting the risk of addiction arising from their use.

          354.    Each of the Manufacturing Defendants and Distributor Defendants has engaged in

   unfair and/or deceptive trade practices by omitting the material fact of its failure to design and

   operate a system to disclose suspicious orders of controlled substances, as well as by failing to

   actually disclose such suspicious orders, as required of “registrants” by the federal CSA, 21 C.F.R.

   § 1301.74(b), which is incorporated into Florida law by Fla. Stat. § 499.0121(10) and (15)(b). The

   CSA defines “registrant” as any person who is registered pursuant to 21 U.S.C. See § 823. 21 C.F.R.

   § 1300.02(b). 21 U.S.C. § 823(a)-(b) requires manufacturers and distributors of controlled

   substances on Schedule II to register.

          355.    The Manufacturing Defendants’ and Distributor Defendants’ unfair or deceptive acts

   or practices in violation of the FDUTPA offend Florida’s public policy, are immoral, unethical,

   oppressive, and unscrupulous, as well as malicious, wanton, and manifesting of ill will, and they

   caused substantial injury to Coral Gables. Coral Gables risks irreparable injury as a result of the

   Manufacturing Defendants’ and Distributor Defendants’ acts, misrepresentations, and omissions in




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   violation of the FDUTPA, and these violations present a continuing risk to Coral Gables, as well as

   to the general public.

           356.    As a direct and proximate result of Manufacturing Defendants’ and Distributor

   Defendants’ violations of the FDUTPA, Coral Gables has suffered injury-in-fact and actual

   damages.

           357.    The misconduct alleged in this case is ongoing and persistent.

           358.    The misconduct alleged in this case does not concern a discrete event or discrete

   emergency of the sort a political subdivision would reasonably expect to occur, and is not part of the

   normal and expected costs of a local government’s existence. The City alleges wrongful acts which

   are neither discrete nor of the sort a local government can reasonably expect.

           359.    Coral Gables is entitled to recover actual damages under Fla. Stat. § 501.211(2) and

   attorneys’ fees under Fla. Stat. § 501.2105(1).

           360.    Coral Gables also seeks an order under Fla. Stat. § 501.211(1) enjoining the

   Manufacturing Defendants’ and Distributor Defendants’ unfair, unlawful and/or deceptive practices,

   declaratory relief, attorneys’ fees, and any other just and proper relief available under the FDUTPA.


                                              COUNT II
                                            Public Nuisance
                                         Against All Defendants

           Coral Gables incorporates herein by reference all of the allegations in paragraphs 1-349 as

   if set forth below.

           361.    The Manufacturing Defendants and Distributor Defendants, individually and acting

   through their employees and agents, have violated a right common to the general public of Coral

   Gables by subverting the public order, decency, and morals, and causing inconvenience and damage

   to the public generally.


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          362.      Each of the Manufacturing Defendants subverted the public order, decency, and

   morals of, and caused inconvenience and damage to, Coral Gables and its residents by, among other

   things, promoting and marketing the use of opioids for indications not federally approved, circulating

   false and misleading information concerning opioids’ safety and efficacy and/or downplaying or

   omitting the risk of addiction arising from the use of opioids in violation of the FDUTPA. In so

   doing, the Manufacturing Defendants acted unreasonably and with actual malice.

          363.      Each of the Manufacturing Defendants and Distributor Defendants subverted the

   public order, decency, and morals of, and caused inconvenience and damage to, Coral Gables by

   failing to design and operate a system that would disclose the existence of suspicious orders of

   controlled substances, or by failing to report suspicious orders of opioids, as required by the federal

   CSA, 21 C.F.R. § 1301.74(b), and by the State of Florida, Fla. Stat. § 499.0121(10) and (15)(b). In

   so doing, the Manufacturing Defendants and Distributor Defendants acted unreasonably and with

   actual malice.

          364.      Defendants’ conduct has violated and continues to violate rights common to the

   general public of Coral Gables and has caused Coral Gables to sustain damages, special and

   particular in kind, including without limitation: increased law enforcement and public works

   expenditures, increased expenditures for overtime, the hiring of additional City employees, mental

   health treatment and workers’ compensation for its employees, increased emergency and treatment

   services, damage to emergency equipment and vehicles, and lost productivity, economic

   opportunity, and tax revenue.

          365.      The public nuisance—i.e., the opioid epidemic—created, perpetuated and maintained

   by Defendants can be abated, as well as further recurrence of such harm and inconvenience, by (a)

   educating prescribers and patients regarding the true risks and benefits of opioids, including the risk



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   of addiction, in order to prevent the next cycle of addiction; (b) providing addiction treatment to

   patients who are already addicted to opioids; (c) retrieving and disposing of excess opioids,

   eliminating a primary pathway of exposure for adolescents; (d) providing screening and treatment

   to pregnant women and newborns to reduce the incidence an impact of prenatal exposure; (e) making

   Naloxone widely available so that overdoses are less frequently fatal; and (f) restraining the channels

   for diverting opioids by appropriately setting and enforcing customer limits, reporting suspicious

   orders, prescribers an customers, and stopping, rather than simply delaying, the shipment of

   suspicious orders, among other measures.

           366.    The conduct alleged in this case is ongoing and persistent.

           367.    The conduct alleged in this case does not concern a discrete event or discrete

   emergency of the sort a political subdivision would reasonably expect to occur, and is not part of the

   normal and expected costs of a local government’s existence.

           368.    Coral Gables, acting on its own behalf and on behalf of its residents, seeks monetary

   and injunctive relief to halt the threat of future harm, attorneys’ fees, and such other relief as this

   Court deems just and equitable.




                                               COUNT III
                                               Negligence
                                          Against All Defendants

           Coral Gables incorporates herein by reference all of the allegations in paragraphs 1-349 as

   if set forth below.

           369.    Negligence per se is established where the defendant violates a statutory duty and

   where the statute is intended to protect against the result of the violation, the plaintiff is within the

   class intended to be protected by the statute, and the statutory violation is a proximate cause of the


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   plaintiff’s injury. Negligence is established where the defendant owes the plaintiff a duty of care,

   breaches that duty and the plaintiff sustain an injury or loss proximately caused by the defendant’s

   breach.

             370.   Each of the Manufacturing Defendants owed Coral Gables, acting on its own behalf

   and on behalf of its residents, statutory and common-law duties, including the duty to comply with

   the FDUTPA’s prohibition of “[u]nfair methods of competition, or unconscionable acts or practices,

   and unfair or deceptive acts or practices in the conduct of any trade or commerce” and the duty to

   promote and market opioids truthfully and pursuant to their federally-approved indications and the

   duty to disclose the true risk of addiction associated with the use of opioids. Each of the

   Manufacturing Defendants breached those duties by, among other things, promoting and marketing

   the use of opioids for indications not federally approved, circulating false and misleading

   information concerning their safety and efficacy, and downplaying or omitting the risk of addiction

   arising from their use. In so doing, the Manufacturing Defendants acted with actual malice.

             371.   Each of the Manufacturing Defendants and Distributor Defendants owed Coral

   Gables, acting on its own behalf and on behalf of its residents, the statutory duty to report suspicious

   sales, the duty not to fill suspicious orders, the duty to abide by any government agreements entered

   regarding the same, and the duty to comply with the federal CSA, 21 C.F.R. § 1301.74(b), as

   incorporated by Fla. Stat. § 499.0121(10) and (15)(b), which requires the design and operation of a

   system to detect and disclose suspicious orders of controlled substances. Each of the Manufacturing

   Defendants and Distributor Defendants breached these duties by failing to design and operate a

   system that would disclose the existence of suspicious orders of controlled substances, or by failing

   to report such suspicious orders to the appropriate regulators, as required by state and federal law. In

   so doing, the Manufacturing Defendants and Distributor Defendants acted with actual malice.



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             372.   Coral Gables, acting on its own behalf and on behalf of its residents, suffered both

   injuries and pecuniary losses proximately caused by the Manufacturing Defendants’ and Distributor

   Defendants’ breaches. Among other things, Coral Gables has experienced an unprecedented opioid

   addiction and overdose epidemic costing millions of dollars in increased law enforcement and public

   works expenditures, increased expenditures for overtime, the hiring of additional City employees,

   mental health treatment and workers’ compensation for its employees, increased emergency and

   treatment services, damage to emergency equipment and vehicles, and lost productivity, economic

   opportunity, and tax revenue.

             373.   Defendants’ breaches of the statutory and common-law duties they each owed to

   Coral Gables and its residents are the proximate cause of this crisis and its resultant harm to Coral

   Gables.


                                                COUNT IV
                                            Unjust Enrichment
                                           Against All Defendants

             Coral Gables incorporates herein by reference all of the allegations in paragraphs 1-349 as

   if set forth below.

             374.   Under the doctrine of unjust enrichment, a party who receives a benefit must return

   the benefit if retention would be inequitable. Unjust enrichment is established where: (a) the plaintiff

   conferred a benefit upon the defendant; (b) the defendant had knowledge of the benefit; (c) the

   defendant accepted or retained the benefit conferred; and (d) the circumstances are such that it would

   be inequitable for the defendant to retain the benefit without paying the plaintiff for its fair value.

             375.   Coral Gables, acting on its own behalf and on behalf of its residents, conferred on

   each Manufacturing Defendant a benefit. By paying for law enforcement, treatment and emergency

   services, Coral Gables has assumed the financial burden of paying for externalities that allow


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   defendants to continue their scheme, including treatment and emergency services, which benefit was

   known to and accepted by each Manufacturing Defendant, which inured to the profits of each

   Manufacturing Defendant, and for which retention of such benefit is inequitable based on the

   Manufacturing Defendants’ false and misleading marketing and omissions of and failure to state

   material facts in connection with marketing opioids, as set forth herein. The Manufacturing

   Defendants have thus been unjustly enriched by deceptive marketing, contributing to Coral Gables’

   current opioid epidemic.

          376.    Coral Gables, acting on its own behalf and on behalf of its residents, conferred on

   each Distributor Defendant a benefit, including paying for externalities that allow defendants to

   continue their scheme without incurring the resultant costs of that scheme, which benefit was known

   to and accepted by each Distributor Defendant, which inured to the profits of each Distributor

   Defendant, and for which retention of such benefit is inequitable based on the Distributor

   Defendants’ failure to report suspicious sales as required by law. The Distributor Defendants have

   thus been unjustly enriched by neglecting their duty to distribute drugs only for proper medical

   purposes, contributing to Coral Gables’ current opioid epidemic.

          377.    Coral Gables’ unprecedented opioid addiction and overdose epidemic has cost it

   millions of dollars in increased law enforcement and public works expenditures, increased

   expenditures for overtime, mental health treatment and workers’ compensation for its employees,

   increased emergency and treatment services, damage to emergency equipment and vehicles, and lost

   productivity, economic opportunity, and tax revenue.

          378.    The conduct alleged in this case is ongoing and persistent.




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           379.     The conduct alleged in this case does not concern a discrete event or discrete

   emergency of the sort a political subdivision would reasonably expect to occur, and is not part of the

   normal and expected costs of a local government’s existence.

           380.     The unjust enrichment of the Manufacturing Defendants and Distributor Defendants

   is directly related to the damage, loss and detriment to Coral Gables caused by defendants’ false

   marketing and failure to report suspicious sales. It would be inequitable under these circumstances

   for the Manufacturing Defendants and Distributor Defendants to retain this benefit without

   compensating Coral Gables for its value. Coral Gables seeks recovery of the amounts by which the

   Manufacturing Defendants and Distributor Defendants were enriched as a result of their inequitable

   conduct, plus interest.




                                                COUNT V
                  Violation of the Racketeer Influenced and Corrupt Organizations Act
                                        (18 U.S.C. § 1962(c)-(d))
                                         Against All Defendants

           Coral Gables incorporates herein by reference all of the allegations in paragraphs 1-349 as

   if set forth below.

           381.     At all relevant times, Defendants have been “persons” under 18 U.S.C. § 1961(3)

   because they are capable of holding, and do hold, a “legal or beneficial interest in property.”

           382.     RICO makes it “unlawful for any person employed by or associated with any

   enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to conduct or

   participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of

   racketeering activity.” See 18 U.S.C. § 1962(c).

           383.     RICO, among other provisions, makes it unlawful for “any person to conspire to

   violate” the provisions of 18 U.S.C. § 1962(c). See 18 U.S.C. § 1962(d).

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           384.    As alleged herein, at all relevant times, Defendants moved aggressively to capture a

   large portion of the opioid sales market. In so doing, the Manufacturing Defendants launched an

   aggressive nationwide campaign over-emphasizing the under-treatment of pain and deceptively

   marketing opioids as being: (i) rarely, if ever, addictive; (ii) safe and effective for the treatment of

   chronic long-term pain; (iii) abuse resistant or deterrent; or (iv) safe and effective for other types of

   pain for which the drugs were not approved. All Defendants knowingly failed to report suspicious

   orders as required by state and federal law, thereby inundating the market with opioids. In particular,

   defendants, along with other entities and individuals, were employed by or associated with, and

   conducted or participated in the affairs of, one or several RICO enterprises (the “Opioid Fraud

   Enterprise”), whose purpose was to deceive opioid prescribers, the public, and regulators into

   believing that opioids were safe and effective for the treatment of long-term chronic pain and

   presented minimal risk of addiction and/or that Defendants were in compliance with their state and

   federal reporting obligations. In doing so, Defendants sought to maximize revenues from the design,

   manufacture, sale and distribution of opioids which, in fact, were highly addictive and often

   ineffective and dangerous when used for long term, chronic and other types of pain. As a direct and

   proximate result of their fraudulent scheme and common course of conduct, Defendants were able

   to extract billions of dollars of revenue. As explained in detail below, Defendants’ years-long

   misconduct violated 18 U.S.C. § 1962(c) and (d).


           (a)     The Opioid Fraud Enterprise.
           385.    At all relevant times, Defendants, along with other individuals and entities, including

   unknown third parties involved in the marketing and sale of opioids, operated an “enterprise” within

   the meaning of 18 U.S.C. § 1961(4), because they are a group of individuals associated in fact, even

   though they are not a collective legal entity. The Opioid Fraud Enterprise: (a) had an existence



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   separate and distinct from each of its component entities; (b) was separate and distinct from the

   pattern of racketeering in which defendants engaged; and (c) was an ongoing organization consisting

   of legal entities, including, but not limited to, the Manufacturing Defendants, the Distributor

   Defendants, pharmacies, employees and agents of the FSMB, APF, AAPM, APS, and APA, as well

   as other entities and individuals, including physicians.

          386.    Within the Opioid Fraud Enterprise, there was a common communication network

   by which members exchanged information on a regular basis through the use of wires and mail. The

   Opioid Fraud Enterprise used this common communication network for the purpose of deceptively

   marketing, selling and distributing opioids to the general public. When their products, sales,

   distributions and failure to report suspicious sales were contested by other parties, the enterprise

   members took action to hide the scheme to continue its existence.

          387.    The participants in the Opioid Fraud Enterprise were systematically linked to each

   other through corporate ties, contractual relationships, financial ties and the continuing coordination

   of activities. Through the enterprise, Defendants functioned as a continuing unit with the purpose of

   furthering the illegal scheme and their common purposes of increasing their revenues and market

   share, and minimizing losses. Each member of the Opioid Fraud Enterprise shared in the bounty

   generated by the enterprise by sharing the benefit derived from increased sales of opioids and other

   revenue generated by the scheme to defraud prescribers and consumers and fail to report suspicious

   sales in Coral Gables.

          388.    The Opioid Fraud Enterprise engaged in, and continues to engage in, the deceptive

   marketing of opioids as non-addictive, as safe and effective for chronic long-term pain and for uses

   which have not been FDA-approved, as well as the failure to report suspicious sales. The Opioid

   Fraud Enterprise has engaged in such activity for the purpose of maximizing the sale and profits of



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   opioids. To fulfill this purpose, the enterprise has advocated for and caused the over-prescription and

   over-distribution of opioids by marketing, promoting, advertising and selling opioids throughout the

   country and across state boundaries and by failing to report suspicious sales. Their receipt of monies

   from such activities consequentially affected interstate and foreign commerce. The enterprise’s past

   and ongoing practices thus constitute a pattern of racketeering activity under 18 U.S.C. § 1961(5).

           389.    The Opioid Fraud Enterprise functioned by marketing, selling and distributing

   opioids to states, counties, other municipalities, doctors, healthcare organizations, pharmacies and

   the consuming public, while failing to report suspicious sales. However, Defendants as co-

   conspirators, through their illegal enterprise, engaged in a pattern of racketeering activity, which

   involves a fraudulent scheme to increase revenue for Defendants and the other entities and

   individuals associated-in-fact with the enterprise’s activities through the deceptive marketing and

   sale of opioids and the failure to report suspicious sales.

           390.    Defendants participated in the operation and management of the Opioid Fraud

   Enterprise by directing its affairs, as described herein. While Defendants participated in, and are

   members of the enterprise, they have a separate existence from the enterprise, including distinct legal

   statuses, different offices and roles, bank accounts, officers, directors, employees, individual

   personhood, reporting requirements, and financial statements.

           391.    Each of the members of the Opioid Fraud Enterprise furthered the ends of the

   enterprise, through the acts and omissions pleaded above and herein.

           392.    Each of the Manufacturing Defendants relentlessly promoted opioids as having little

   to no risk of addiction, as being safe and effective for the treatment of long-term chronic pain and/or

   other uses for which the drugs were not approved. The Manufacturing Defendants’ success in

   maximizing sales was due to the tight collaboration among the Manufacturing Defendants through,



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   and in collaboration with, the pain foundations—a formidable partnership that marketed to hundreds

   of thousands of prescribers across the country, including prescribers in Coral Gables. The

   relationship was strengthened, in part, by individuals, including physicians, who held different

   leadership roles at different times across the various entities participating in the enterprise over the

   years.

             393.   On numerous occasions, the Manufacturing Defendants funded the pain foundations’

   marketing efforts. The Manufacturing Defendants specifically chose to partner with the pain

   foundations and individual physicians to publish and otherwise disseminate misleading pro-opioid

   material, knowing the public and prescribers would be more receptive to statements made by what

   they perceived to be scholarly, neutral, third party sources.

             394.   Furthermore, all Defendants knowingly failed to design and operate a system to

   disclose suspicious orders of controlled substances and failed to notify the appropriate DEA field

   division offices in their areas of suspicious orders, including “orders of unusual size, orders deviating

   substantially from a normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

             395.   The members of the Opioid Fraud Enterprise worked together to further the

   enterprise by and among the following manner and means:


                    (a)    jointly planning to deceptively market and manufacture opioids that were

   purportedly non-addictive, safe and effective for the treatment of chronic, long-term pain;

                    (b)    concealing the addictive qualities of the opioids from prescribers and the

   public;

                    (c)    misleading the public about the addictive quality and safety and efficacy

   of opioids;



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                   (d)     otherwise misrepresenting or concealing the highly dangerous nature of

   opioids from prescribers and the public;

                   (e)     illegally marketing, selling and/or distributing opioids;

                   (f)     collecting revenues and profits from the sale of such products for uses for

   which they are unapproved, unsafe or ineffective; and/or

                   (g)     failing to report suspicious sales as required by the CSA.

           396.    To achieve their common goals, Defendants hid from the general public the full

   extent of the unsafe and ineffective nature of opioids for chronic pain as described herein. Defendants

   suppressed and/or ignored warnings from third parties, whistleblowers and governmental entities

   about the addictive, unsafe and often ineffective nature of opioids.

           397.    The foregoing allegations support that Defendants were part of an association of

   entities that shared a common purpose, had relationships across the various members of the

   enterprise and collaborated to further the goals of the enterprise for a continuous period of time.

   Manufacturing Defendants knowingly and intentionally engaged in deceptive marketing practices,

   and incentivized pain foundations, marketing firms and physicians to do so as well. Defendants

   knowingly and intentionally failed to report suspicious orders as required by state and federal law

   and inundated the market with opioids.


           (b)     Mail and Wire Fraud.
           398.    To carry out and attempt to carry out the scheme to defraud, Defendants, each of

   whom is a person associated in fact with the enterprise, did knowingly conduct and participate,

   directly and indirectly, in the conduct of the affairs of the enterprise through a pattern of racketeering

   activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5), and 1962(c), and which employed the


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   use of the mail and wire facilities, in violation of 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire

   fraud).

             399.   Specifically, Defendants have committed, conspired to commit, and/or aided and

   abetted in the commission of, at least two predicate acts of racketeering activity (i.e., violations of

   18 U.S.C. §§ 1341 and 1343), within the past four years. The multiple acts of racketeering activity

   which Defendants committed, or aided and abetted in the commission of, were related to each other

   and also posed a threat of continued racketeering activity. They therefore constitute a “pattern of

   racketeering activity.” The racketeering activity was made possible by Defendants’ regular use of

   the facilities, services, distribution channels and employees of the enterprise. Defendants participated

   in the scheme to defraud by using the mail, telephone and Internet to transmit mailings and wires in

   interstate or foreign commerce.

             400.   In devising and executing the illegal scheme, Defendants devised and knowingly

   carried out a material scheme and/or artifice to defraud regulators, prescribers and the public to

   obtain money from Coral Gables by means of materially false or fraudulent pretenses,

   representations, promises or omissions of material facts. For the purpose of executing the illegal

   scheme, Defendants committed these racketeering acts intentionally and knowingly with the specific

   intent to advance the illegal scheme.

             401.   Defendants’ predicate acts of racketeering, 18 U.S.C. § 1961(1), include, but are not

   limited to:


                    (a)    Mail Fraud: Defendants violated 18 U.S.C. § 1341 by sending and receiving,

   and by causing to be sent and/or received, materials via U.S. mail or commercial interstate carriers

   for the purpose of executing the unlawful scheme to deceptively market, sell and distribute the

   opioids by means of false pretenses, misrepresentations, promises and omissions; and


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                   (b)     Wire Fraud: Defendants violated 18 U.S.C. § 1343 by transmitting and/or

   receiving, and by causing to be transmitted and/or received, materials by wire for the purpose of

   executing the unlawful scheme to defraud and obtain money on false pretenses, misrepresentations,

   promises and omissions.

           402.    Defendants’ use of the mails and wires include, but are not limited to, the

   transmission, delivery and shipment of deceptive marketing materials, the filling of suspicious

   orders, and the misleading of regulators and the public as to defendants’ compliance with their state

   and federal reporting obligations. These materials would not have been delivered, orders would not

   have been filled, and regulators would have not been misled but for Defendants’ illegal scheme,

   including, but not limited to:


                   (a)     the FSMB’s publication of opioid prescribing guidelines entitled

   “Responsible Opioid Prescribing: A Physician’s Guide,” by Fishman;

                   (b)     the FSMB’s publication of “Responsible Opioid Prescribing: A Clinician’s

   Guide (Second Edition, Revised and Expanded),” by Fishman;

                   (c)     the APF’s publication of Exit Wounds;

                   (d)     the AAPM’s “consensus statement” and educational programs featuring

   Fine;

                   (e)     the APA’s publication and dissemination of “Prescription Pain

   Medication: Preserving Patient Access While Curbing Abuse”;

                   (f)     false or misleading communications to the public and to regulators;

                   (g)     failing to report suspicious orders as required by state and federal law;


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                   (h)     sales and marketing materials, including slide decks, presentation materials,

   purported guidelines, advertising, web sites, product packaging, brochures, labeling, and other

   writings which misrepresented, falsely promoted, and concealed the true nature of opioids;

                   (i)     documents intended to facilitate the manufacture and sale of opioids,

   including bills of lading, invoices, shipping records, reports, and correspondence;

                   (j)     documents to process and receive payment for opioids, including invoices

   and receipts;

                   (k)     payments to the foundations and physicians that deceptively marketed the

   Manufacturing Defendants’ opioids;

                   (l)     deposits of proceeds; and

                   (m)     other documents and things, including electronic communications.

           403.    Defendants also used the Internet and other electronic facilities to carry out the

   scheme and conceal the ongoing fraudulent activities. For example, the Manufacturing Defendants

   made misrepresentations about opioids on their websites, YouTube, and through online ads, all of

   which were intended to mislead prescribers and the public about the safety, efficacy, and non-

   addictiveness of opioids.

           404.    Defendants also communicated by U.S. mail, by interstate facsimile, and by interstate

   electronic mail with various affiliates, regional offices, divisions, distributors, regulators, and other

   third-party entities in furtherance of the scheme. The mail and wire transmissions described herein

   were made in furtherance of Defendants’ scheme and common course of conduct to deceive

   prescribers, consumers, and regulators, oversupply the market, and fail to report suspicious sales.




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          405.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

   facilities are concealed from Coral Gables, and cannot be alleged without access to Defendants’

   books and records. However, Coral Gables has described the types of predicate acts of mail and/or

   wire fraud that occurred. The secretive nature of the enterprise’s activities made the unlawful tactics

   discussed herein even more deceptive and harmful.

          406.    The foregoing allegations support that: the Manufacturing Defendants engaged in a

   pattern of racketeering activity by repeatedly engaging in wire and mail fraud to deceptively market

   their products through the use of both print and electronic outlets; and all Defendants engaged in a

   pattern of racketeering activity by repeatedly engaging in wire and mail fraud to deceive regulators

   and oversupply the market while failing to report suspicious sales.


          (c)     Conspiracy Allegations.
          407.    Defendants have not undertaken the practices described herein in isolation, but as

   part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d), the Defendants

   conspired to violate 18 U.S.C. § 1962(c), as described herein.

          408.    Defendants conspired to incentivize and encourage various other persons, firms and

   corporations, including third-party entities and individuals not named as defendants in this

   complaint, to carry out offenses and other acts in furtherance of the conspiracy. Defendants conspired

   to increase or maintain revenues, increase market share and/or minimize losses for the Defendants

   and their other collaborators throughout the illegal scheme and common course of conduct. In order

   to achieve this goal, the Defendants engaged in the aforementioned predicate acts on numerous

   occasions. Defendants, with knowledge and intent, agreed to the overall objectives of the conspiracy

   and participated in the common course of conduct to commit acts of fraud and indecency in

   defectively marketing and/or selling opioids through the use of mail and wire fraud.



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           409.    For the conspiracy to succeed, each of the Defendants had to agree to deceptively

   market, sell, and/or distribute opioids while failing to report suspicious sales. The unanimity of the

   Manufacturing Defendants’ marketing tactics, and all Defendants’ failure to report suspicious sales,

   gave credence to their misleading statements and omissions to prescribers, consumers, and regulators

   and directly caused opioids to inundate the market in Coral Gables.

           410.    Defendants knew and intended that government regulators, prescribers, consumers,

   and others, including Coral Gables, would rely on the collective material misrepresentations and

   omissions made by them and the other enterprise members about opioids and suspicious sales.

   Defendants knew and recklessly disregarded the cost that would be suffered by the public, including

   Coral Gables.

           411.    The Manufacturing Defendants knew that by partnering with the pain foundations

   and individual physicians who carried a more neutral public image, they would be able to attribute

   more scientific credibility to their products, thereby increasing their sales and profits.

           412.    Defendants also knew that by filling and failing to report suspicious sales, they would

   significantly increase their sales and profits.

           413.    The foregoing illustrates Defendants’ liability under 18 U.S.C. § 1962(d), by

   engaging in their pattern of racketeering and conspiring to achieve their common goal of maximizing

   opioid sales.


           (d)     Effect on Coral Gables.
           414.    Defendants engaged in a pattern of related and continuous predicate acts for years.

   The predicate acts constituted a variety of unlawful activities, each conducted with the common

   purpose of obtaining significant monies and revenues from consumers, based on their

   misrepresentations and omissions. The predicate acts also had the same or similar results,



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   participants, victims, and methods of commission. The predicate acts were related and not isolated

   events. The predicate acts all had the purpose of generating significant revenue and profits for

   Defendants, at the expense of Coral Gables. The predicate acts were committed or caused to be

   committed by Defendants through their participation in the enterprise and in furtherance of their

   fraudulent scheme, and were interrelated in that they involved obtaining Coral Gables’ funds.

          415.    As fully alleged herein, Coral Gables, along with scores of other counties and

   municipalities, relied upon representations and omissions that were made or caused by Defendants.

          416.    Coral Gables’ injuries were proximately caused by Defendants’ racketeering activity.

   But for Defendants’ misstatements and omissions, and the scheme employed by the Opioid Fraud

   Enterprise, Coral Gables would not be bearing the costs of its current opioid epidemic.

          417.    By reason of, and as a result of the conduct of each of the Defendants, and in

   particular, their pattern of racketeering activity, Coral Gables has been injured in their business and

   property in multiple ways, including, but not limited to, suffering increased law enforcement and

   public works expenditures, increased expenditures for overtime, mental health treatment and

   workers’ compensation for its employees, increased emergency and treatment services, damage to

   emergency equipment and vehicles, and lost productivity, economic opportunity, and tax revenue.

          418.    Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly and proximately

   caused injuries and damages to Coral Gables, and Coral Gables is entitled to bring this action for

   three times its actual damages, as well as injunctive/equitable relief, costs, and reasonable attorneys’

   fees pursuant to 18 U.S.C. § 1964(c).


                                    PRAYER FOR RELIEF

          WHEREFORE, Coral Gables, acting on behalf of itself and on behalf of its residents, prays

   that the Court grant the following relief:


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          A.      Enjoin the Manufacturing Defendants from violating Fla. Stat. §501.021 et seq., by

   making any further false or misleading statements or omissions related to opioids;

          B.      Enjoin the Manufacturing Defendants and the Distributor Defendants from failing

   to report suspicious orders as required by the federal CSA, as incorporated by Fla. Stat. §

   499.0121(10) and (15)(b);

          C.      Order Defendants to pay costs, losses and damages for injuries sustained by Coral

   Gables, acting on its own behalf and on behalf of its residents, as a proximate result of the

   Manufacturing Defendants’ and the Distributor Defendants’ unlawful conduct as set forth herein,

   including restitution, disgorgement of unjust enrichment, actual damages, exemplary damages,

   punitive damages, and attorneys’ fees and costs; and

          D.      Grant any such further relief as this Court deems appropriate.

                                          JURY DEMAND


          Plaintiff Coral Gables demands trial by jury.



          Dated: June 26, 2018.                 Respectfully submitted,

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